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                           In the Matter of:

            FTC v. Credit Bureau Center, et al.

                          December 13, 2017
                           Michael Brown




                     Condensed Transcript with Word Index




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                                                                 EXHIBIT
                                                                    B
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                                                       Brown
FTC v. Credit Bureau Center, et al.                                                                       12/13/2017
                                                       1                                                              3
  1         IN THE UNITED STATES DISTRICT COURT              1                           I N D E X
               NORTHERN DISTRICT OF ILLINOIS                 2
  2                   EASTERN DIVISION
                                                             3   Examinations                                      Page
  3
      FEDERAL TRADE COMMISSION,        )                     4
  4                                    )                     5   By Mr. Levine                                       6
           Plaintiff,                  )
                                                             6
  5                                    )   Case No.
           vs.                         )   17-cv-194         7                      E X H I B I T S
  6                                    )                     8
      CREDIT BUREAU CENTER, LLC, et    )   Judge Kennelly    9   Number           Description                      Page
  7   al.,                             )
                                       )                    10
  8        Defendants.                 )                    11   Exhibit 1      Notice of Depositions               11
  9                                                         12   Exhibit 2      Email Mr. Cochell Sent to the       41
 10         The deposition of MICHAEL BROWN, called for
                                                            13                  FTC on Tuesday, December 12th
 11   examination pursuant to the Rules of Civil
 12   Procedure for the United States District Courts       14   Exhibit 3      Declaration, Docket 50-1            68
 13   pertaining to the taking of depositions, taken        15   Exhibit 4      Excerpted Portion of PI             72
 14   before Layli Phillips, Certified Shorthand            16                  Hearing Transcript
 15   Reporter of the State of Illinois, at 230 South
 16   Dearborn Street, Room 3030, Chicago, Illinois, on     17   Exhibit 5      Email From Danny to Witness in      91
 17   December 13, 2017, at 9:02 a.m.                       18                  the End of 2014
 18                                                         19   Exhibit 6      Email                              103
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 20   Reported by:   Layli Phillips, CSR, RPR, CRR
 21   License No.:   084.003900                             21   Exhibit 8      Email                              107
 22                                                         22   Exhibit 9      Email                              110
 23                                                         23   Exhibit 10     Email Between Witness and CS       112
 24
 25                                                         24                  Identity


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  1   APPEARANCES:                                           1   Exhibit 11      Email Between Witness and CSID     115
  2   For the Plaintiff:                                     2   Exhibit 12      Email Between Witness and an       123
            UNITED STATES FEDERAL TRADE COMMISSION
  3         MR. SAMUEL A.A. LEVINE                           3                   Underwriter At a Credit Card
            MR. GUY G. WARD                                  4                   Processer
  4         MR. DOUG MCKENNEY
                                                             5   Exhibit 13      Email Between Witness and Sara     132
            230 South Dearborn Street, Room 3030
  5         Chicago, Illinois 60604                          6                   Best
            (312) 960-5612                                   7   Exhibit 14      Email Between Witness and          141
  6         slevine1@ftc.gov
  7                                                          8                   Larry At Service First
      For the Defendants:                                    9                   Financial
  8         COCHELL LAW FIRM                                10   Exhibit 15      Email                              144
            MR. STEPHEN R. COCHELL
  9         2616 South Loop West                            11   Exhibit 16      Email From Tom to Witness          158
            Houston, Texas 77054                            12   Exhibit 17      Email Between Witness and Tom      162
 10         (346) 800-3500
            SRCochell@CochellLawFirm.com                    13   Exhibit 18      Text Messages                      170
 11                                                         14   Exhibit 19      Skype Conversation Between         183
 12                                                         15                   Danny and the Witness
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 14                                                         16   Exhibit 20      The Report on All the Revenue      202
 15                                                         17                   Orders, Refunds, and
 16                                                         18                   Chargebacks
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 22                                                         22                   Sent to the Copywriter, Josh
 23                                                         23                   Margulies
 24
 25                                                         24


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                                                      Brown
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                                                       5                                                         7
  1    Exhibit 24 Email Between Heather With     285        1         Let's hold off on that. Let me first
  2             CSID and Witness                            2   ask you if you have been deposed before.
  3    Exhibit 25 Email Between Witness and      291        3      A. Yes.
  4             Diego, Customer Service                     4      Q. And when was that?
  5             Supervisor                                  5      A. I don't recall the specific dates, but I
  6    Exhibit 26 Big Packet of What Was Filed 298          6   want to say probably around ten years ago.
  7             in Connection With the FTC's                7      Q. Okay. And what matter was that in
  8             Complaint                                   8   connection with?
  9    Exhibit 27 Email                   320               9      A. That was Mike Brown v. Experian.
 10    Exhibit 28 Email                   323              10      Q. And what was the nature of that lawsuit?
 11    Exhibit 29 Declaration Witness Filed in 346         11      A. Two main points. One was an invention
 12             November                                   12   disclosure agreement where I owned some
                                                           13   technology, wanted to be compensated for it.
 13    Exhibit 30 Complaint in the Lawsuit     350
                                                           14         The second one was a wage an hour
 14    Exhibit 31 A Website Called SimpleRefund 353
                                                           15   dispute.
 15    Exhibit 32 Email Between Witness and a 357          16      Q. And with respect to the first, the
 16             Copywriter, Josh Margulies                 17   invention disclosure agreement, what was, in
 17                                                        18   layman's terms, the invention?
 18                                                        19      A. It was a ticketing software for the
 19                                                        20   customer service department.
 20                                                        21      Q. And how did that software work?
 21                                                        22      A. It worked by enabling customer service
 22                                                        23   agents to enter in tickets that require further --
 23                                                        24   further work by another person.
 24                                                        25      Q. So the tickets sort of triggered

                                                       6                                                         8
  1                 MICHAEL BROWN                           1   something within the system that led to another
  2           the deponent herein, called as a              2   person being assigned a task?
  3     witness, after having been first duly sworn, was    3      A. Yeah, you could say that, yeah.
  4     examined and testified as follows:                  4      Q. And what was the outcome of that
  5                 EXAMINATION                             5   lawsuit?
  6     BY MR. LEVINE:                                      6      A. That was a confidential settlement.
  7        Q. Okay. Mr. Brown, this is a deposition         7      Q. I want to go over some rules to insure
  8     in the matter of FTC v. Credit Bureau Center,       8   that we get a good transcript and that we -- this
  9     17-cv-194.                                          9   is done as efficiently as possible.
 10           My name is Samuel Levine. I'm an             10         The first is that you understand that
 11     attorney with the FTC. I'll be conducting this     11   you're under oath and that even though this isn't
 12     deposition.                                        12   a courtroom, you're still under oath; and it has
 13           I thought we'd start by going around and     13   the same effect as if you're testifying in a
 14     identifying ourselves for the record.              14   courtroom.
 15           MR. WARD: Guy Ward for the Federal           15      A. Correct.
 16     Trade Commission.                                  16      Q. You're subject to the same penalty of
 17           MR. MCKENNEY: Doug McKenney for the          17   perjury as if you were testifying in court; you
 18     Federal Trade Commission.                          18   understand that?
 19           MR. COCHELL: Steve Cochell for Michael       19      A. Yes.
 20     Brown and CBC.                                     20      Q. So the reporter's job is to take down
 21        A. I'm Michael Brown.                           21   everything that's said by either you or counsel or
 22        Q. And Mr. Brown, you understand that           22   any visitors while we are on the record, so you
 23     you're being deposed today?                        23   can assume you're on the record unless everyone
 24        A. Correct.                                     24   agrees to go off the record; does that make sense?
 25        Q. I want to start off on an exhibit.           25      A. Yes.


                                                                                                 2 (Pages 5 to 8)
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                                                        Brown
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                                                         9                                                        11
  1        Q. I'm going to ask you a few routine              1   answer; does that make sense?
  2     questions about your ability to answer questions      2      A. Yes.
  3     today. Do not take them personally.                   3     Q. If at any time you need to take a break
  4            Are you suffering from any illness that        4   or get some fresh air, just let me know. If
  5     would affect your ability to testify today?           5   there's a question pending, I'll ask you to answer
  6        A. No.                                             6   the question. But I'm happy to give you a break
  7        Q. Are you under the effects of any drug           7   after that. Okay?
  8     that would affect your ability to testify today?      8      A. Okay.
  9        A. No.                                             9     Q. All right. Now to the exhibit. I'm
 10        Q. Are you under the effects of any               10   going to show you what's been marked for
 11     medication that would affect your ability to         11   identification as Exhibit 1.
 12     testify today?                                       12          And we give the reporter the stamped
 13        A. No.                                            13   copy, and I'll give you a copy.
 14        Q. Any -- under the effect of alcohol that        14               (Whereupon Deposition Exhibit
 15     would affect your ability to testify --              15                No. 1 was marked for
 16        A. No.                                            16                identification by the court
 17        Q. -- today?                                      17                reporter.)
 18            So one of the rules that I fear you may       18   BY MR. LEVINE:
 19     have just broken, not a big one, but please wait     19     Q. And, Mr. Brown, do you recognize the
 20     until the end of my question, even if you know       20   document that's been marked for identification as
 21     what the answer is going to be, before you -- even   21   Exhibit 1?
 22     if you know what the question is going to be         22      A. I believe so.
 23     before you answer so that the reporter can create    23     Q. Do you -- do you recognize this as a
 24     a clear record; does that make sense?                24   notice of depositions?
 25        A. Yes.                                           25      A. Yes.

                                                        10                                                        12
  1       Q. Okay. I'm going to try to make my                1      Q. And you understand that your counsel was
  2    questions clear. But if I ask a question and you       2   served with this notice?
  3    don't understand it, I'm going to expect that you      3      A. I believe so.
  4    tell me you don't understand it, and I'll try to       4      Q. One thing I want to be sure we're on the
  5    rephrase it; does that make sense?                     5   same page about is that this -- this is actually a
  6       A. Yes.                                             6   notice of two depositions. One deposition is of
  7       Q. The next rule I just went over is that           7   you in your individual capacity as Michael Brown,
  8    we don't speak over each other; you understood         8   and the other is in your capacity as what's called
  9    that?                                                  9   a 30(b)(6) representative of Credit Bureau Center
 10       A. Yes.                                            10   Corporation; does that make sense?
 11       Q. Another rule is that you have to answer         11      A. Yes. And I would, you know, love if you
 12    audibly and in complete words, so nodding the head    12   could clarify when you're asking the questions
 13    won't do it; does that make sense?                    13   what capacity you would like me to answer.
 14       A. Yes.                                            14      Q. Well, that's what I was getting at. I
 15       Q. For the benefit of the reporter.                15   was going to assume as I asked my questions that
 16           If you're -- if you're answering a             16   you would be speaking in both your individual
 17    question and you think of some documents that may     17   capacity and your capacity as a corporation.
 18    assist you in remembering the answer, let me know,    18          If we don't do it that way, we
 19    and I may be able to retrieve them for you; does      19   essentially have to take the -- conventionally
 20    that make sense?                                      20   take two depositions, one of the individual and
 21       A. Yes.                                            21   one of you on behalf of the corporation.
 22       Q. Sometimes it occurs to people that a            22          So the way I would like to proceed today
 23    previous answer they gave is not completely           23   is to have you answer questions; and if you're
 24    accurate. If that occurs, please let me know, and     24   speaking just individually or just in your
 25    so that you can make any corrections to your          25   corporate capacity to let me know, and we can


                                                                                                  3 (Pages 9 to 12)
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                                                       Brown
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                                                       13                                                        15
  1     adjust accordingly. Is that fair?                    1    believe, the complaint, PI transcripts, a lot of
  2            MR. COCHELL: Well, it may be or may not       2    the filings, text messages.
  3     be. What -- what I think that -- I mean, look, I     3       Q. When you say PI, was there a comma
  4     mean, typically, what I've done in the past is       4    between PI and transcripts? Do you mean the
  5     take the individual dep if he's the sole owner of    5    transcripts from the hearing?
  6     the company. Pretty much if -- if it's about the     6       A. Yes.
  7     corporation, you know, we're probably going to       7       Q. Did you speak to anyone other than your
  8     affirm anything like that, or the judge will         8    attorney in preparation for the deposition?
  9     likely just take that as a corporate answer as       9       A. No.
 10     well because he is essentially the company.         10       Q. All right. I want to start by learning
 11            You know, but if it's something unusual,     11    a little bit about your background.
 12     we may -- I'll make a note of it, and we'll try     12            Now, when this case was filed, you were
 13     and clarify it; but I don't know that he can make   13    the CEO of Credit Bureau Center Corporation,
 14     those distinctions on the spot.                     14    correct?
 15            MR. LEVINE: Well, Mr. Cochell, if you        15       A. I'm the managing director.
 16     think there's a question I'm asking that would      16       Q. Is there a CEO of Credit Bureau Center
 17     lead to some divergence between the corporation     17    Corporation?
 18     and Mr. Brown, I would ask that you alert me to     18       A. They are very similar. I would consider
 19     that, and we'll figure something out.               19    the managing director the CEO.
 20            MR. COCHELL: I'll say, objection,            20       Q. So there's no separate CEO?
 21     divergence.                                         21       A. No.
 22            MR. LEVINE: I think I'll be able to          22       Q. Now, Credit Bureau Center Corporation
 23     recognize that.                                     23    was previously known as MyScore, correct?
 24            MR. COCHELL: Okay. All right.                24       A. Correct.
 25     BY MR. LEVINE:                                      25       Q. And were you in the same capacity as

                                                       14                                                        16
  1        Q. Mr. Brown, does that make sense to you,        1   managing director as MyScore?
  2     what your attorney and I just discussed?             2      A. Yes.
  3        A. I believe so.                                  3      Q. And you are the sole owner of -- and by
  4            MR. COCHELL: So if you think there's a        4   the way, I'm going to refer to Credit Bureau
  5     different answer for you individually versus the     5   Center Corporation and MyScore simply as CBC; does
  6     company, if it occurs to you at the time, then       6   that make sense?
  7     just clarify it. Okay?                               7      A. Yes.
  8            THE WITNESS: Okay.                            8      Q. And once again, if there's a
  9            MR. LEVINE: I'm just trying to save           9   distinction, you can let me know.
 10     time here, and hopefully it won't be an issue.      10      A. Okay.
 11     But if it is, let's talk about it.                  11      Q. So you are the managing director, you
 12            MR. COCHELL: Yeah. We want to                12   are -- excuse me.
 13     corporate. We don't want to drag this thing out.    13          You are the sole owner of CBC, correct?
 14            MR. LEVINE: Understood.                      14      A. Correct.
 15     BY MR. LEVINE:                                      15      Q. And you were of MyScore as well.
 16        Q. Okay. All right. Mr. Brown, you               16      A. Correct.
 17     understand that you're here pursuant to a lawsuit   17      Q. I just broke my own rule.
 18     brought by the FTC against you, Credit Bureau       18          What were you doing before founding --
 19     Center, and two other individuals?                  19   and you were the founder of CBC too?
 20        A. Yes.                                          20      A. Correct.
 21        Q. Did you review any documents in               21      Q. And when did you found CBC?
 22     preparation for this deposition?                    22      A. I believe it was in or around 2011.
 23        A. Yes.                                          23      Q. Okay. What were you doing before that?
 24        Q. What generally did you review?                24      A. Before that, I think it was around 2009
 25        A. Too many specifically to recall; but, I       25   or so, and beyond that, I had worked for Experian.


                                                                                                4 (Pages 13 to 16)
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                                                       Brown
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                                                      17                                                         19
  1       Q. Starting in 2009?                               1      A. These were customers who were calling up
  2       A. No, ending in 2009.                             2   wanting to mainly cancel their membership for
  3       Q. Oh. What did you do between 2009 and --         3   FreeCreditScore and FreeCreditReport.com.
  4    what did you do between 2009 and when you founded     4      Q. So these were distinguishing -- I'm
  5    MyScore, CBC?                                         5   going to distinguish between business consumers
  6       A. Some of the prep work and creating the          6   and consumer consumers. These were individual
  7    CBC and also, you know, looking for work.             7   consumers?
  8       Q. Before 2009, you were at Experian. When         8      A. Well, for clarity sake, if we can refer
  9    did you start there?                                  9   to a business consumer as a partner because that's
 10       A. I don't recall the -- the year, but I          10   the term I'm used to using; and consumers we will
 11    was there approximately seven years.                 11   refer to as consumers, customers, consumers, yeah.
 12       Q. Okay. And what was the position there          12      Q. And you were talking to consumers?
 13    when -- what position did you hold at the time you   13      A. Correct.
 14    left Experian?                                       14      Q. Do you remember what kind of reasons you
 15       A. Senior software engineer.                      15   were getting from the consumers for why they were
 16       Q. And how long were you in that position?        16   cancelling or trying to cancel?
 17       A. I don't recall exactly. I want to say          17      A. Yeah. A lot of people were cancelling
 18    maybe approximately half or more of the time I was   18   because they wanted to solely enjoy the benefits
 19    there.                                               19   of the free trial. A lot of consumers were
 20       Q. Three or four years?                           20   cancelling because they were alleging this was
 21       A. Approximately.                                 21   fraud or a scam. A lot of consumers were
 22       Q. What did you do before -- before that?         22   cancelling because they didn't recognize the
 23       A. Before that, I held a position that was,       23   charge. A lot of the people were calling in to
 24    I would say, a cross between a software engineer     24   cancel because they wanted a lower price.
 25    and a customer service rep.                          25      Q. So, I'm sorry, you said that the

                                                      18                                                         20
  1       Q. Could you describe that for me?                 1   consumer-facing business that you were doing
  2       A. Yeah. So this might help if I give you          2   customer service with is called Free Score, say
  3    a little bit of the history of my work there.         3   that again?
  4            So I started out as a customer service        4      A. There's a couple, at least a couple
  5    agent, and they slowly learned that I was capable     5   different websites. One is FreeCreditScore.com.
  6    of assisting them in ways beyond the customer         6   The other is FreeCreditReport.com.
  7    service job. I have a knowledge of programming        7      Q. And these websites offered credit
  8    and developing websites.                              8   monitoring, it sounds like?
  9            And for some period of time, they kept        9      A. They offered credit monitoring as a
 10    me kind of in the customer service department        10   benefit. They also offered free credit reports
 11    doing tasks for them kind of part-time with          11   and/or free credit scores.
 12    customer service duties.                             12      Q. So, of course, we'll get to this later;
 13            Eventually I got noticed in the software     13   but it was a similar -- the business model of
 14    development department or software engineering       14   FreeCreditScore.com and FreeCreditReport.com was a
 15    department, and they snatched me up.                 15   similar business model to eFreeScore.com and
 16       Q. And was part of the reason that you were       16   CreditUpdates.com?
 17    noticed by the engineering department that you had   17      A. Yes. I took my knowledge and experience
 18    developed this software related to customer          18   at Experian and decided to do a similar business
 19    service?                                             19   for myself.
 20       A. That's one of the reasons, yes.                20      Q. In your role, let's start as a senior
 21       Q. So how many years were you doing               21   software engineer, did you manage other employees?
 22    customer service?                                    22      A. For a short period of time, yes.
 23       A. I don't recall specifically. It was            23      Q. And how many employees?
 24    about a little less than half.                       24      A. Just one.
 25       Q. And what kind of customers were these?         25      Q. And what kind of employee was he or she?


                                                                                                5 (Pages 17 to 20)
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                                                        Brown
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                                                        21                                                       23
  1        A. Software engineer. Mainly my                    1   describe the activity of compensating someone
  2     replacement.                                          2   known as an affiliate in order to drive orders or
  3        Q. Did you manage any employees as a               3   customers to your site.
  4     customer service, slash, software engineer in your    4     Q. Did you deal with any affiliate
  5     first half?                                           5   marketing while at Experian?
  6        A. No.                                             6     A. That's a difficult answer or difficult
  7        Q. Did you deal with any legal issues in           7   question to answer yes or no. You know, I dealt
  8     any of your time at Experian?                         8   with a lot of different types of marketing at
  9        A. Can you define legal issue?                     9   Experian which may encompass affiliate marketing.
 10        Q. Yeah. Did you ever deal with FCR -- are        10         There's affinity marketing, partnership
 11     you familiar with FCRA?                              11   marketing, working with companies such as American
 12        A. Yes.                                           12   Express, ChoicePoint, USAA, compensated in a
 13        Q. Fair Credit Reporting Act, I think.            13   number of different ways or maybe not at all.
 14        A. I'm pretty familiar with -- with that,         14   There's a lot of marketing involved.
 15     yeah.                                                15     Q. But to the best of your recollection,
 16        Q. Did you ever deal with the FCRA?               16   Experian did use affiliate marketers?
 17        A. I -- on a few different occasions, I had       17     A. Correct.
 18     worked with people at Experian regarding             18     Q. And do you recall if some of the
 19     compliance with FCRA and other rules.                19   consumers you talked to on the phone in your
 20        Q. Do you remember the particular FCRA            20   customer service capacity had been routed to the
 21     compliance issues you dealt with?                    21   Experian websites through affiliate marketers?
 22        A. Yeah. Namely, there was the compliance         22     A. The customers were routed to the
 23     with a lawsuit from the FTC on at least one          23   websites any number of ways.
 24     occasion.                                            24     Q. Did you ever -- I know you talked about
 25            And we were modifying the landing pages       25   software engineering on the customer service side.

                                                        22                                                       24
  1     and copy or text on the websites to insure            1   Did you engineer any software related to the
  2     compliance with the FCRA Free Credit Report Rule,     2   affiliate marketing side while at Experian?
  3     and I think it was Section 13(b) or Section 5 of      3      A. I worked on Experian's entire platform,
  4     the FTC Act as well.                                  4   which encompasses just about any major portion of
  5        Q. And among the allegations brought by the        5   the business you can imagine.
  6     FTC were that the advertisement of free reports       6      Q. What about specifically affiliate
  7     was deceptive?                                        7   marketing?
  8        A. To the best of my recollection, I think         8      A. It was so long ago, it's hard to recall
  9     it was nearly identical to this complaint that it     9   exact specifics; but I do recall working on the
 10     was deceptive, I believe so.                         10   entire system.
 11        Q. And when you say "this complaint,"             11      Q. And do you recall if Experian's system
 12     you're referring to the complaint brought in the     12   included a way to track affiliates?
 13     matter about which we're --                          13      A. I don't recall.
 14        A. The reason we're here today.                   14      Q. Okay. So returning to the lawsuit
 15        Q. In the matter FTC v. CBC, 17-cv-194?           15   brought by the FTC against Experian -- by the way,
 16        A. Correct.                                       16   was that lawsuit against -- was the defendant
 17        Q. Thank you.                                     17   Experian Consumer Direct, aka ConsumerInfo.com?
 18            Do you remember what year that lawsuit        18      A. I believe so.
 19     was brought?                                         19      Q. Did that affect your work at all?
 20        A. At this time, no.                              20          MR. COCHELL: Objection, form of the
 21        Q. Are you familiar with the term affiliate       21   question.
 22     marketing?                                           22   BY MR. LEVINE:
 23        A. Yes.                                           23      Q. You mentioned earlier that you engaged
 24        Q. And how would you define that?                 24   in conversations with -- after the lawsuit, you
 25        A. I think affiliate marketing is a term to       25   engaged conversations with management about


                                                                                                 6 (Pages 21 to 24)
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                                                        Brown
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                                                        25                                                        27
  1    compliance; is that accurate?                          1      Q. Did you select the contractors?
  2      A. Yes.                                              2      A. Yes.
  3      Q. Were there any other ways in which the            3      Q. Did you supervise --
  4    lawsuit affected what you did at Experian?             4      A. In most cases.
  5      A. What I did at Experian? I don't                   5      Q. In which cases did you not select the
  6    specifically recall. It was a while ago.               6   contractors?
  7      Q. When -- I'm sorry.                                7      A. I specifically recall one incident where
  8           You left Experian in 2009, correct,             8   I -- I did select the contractor in the end, but I
  9    approximately?                                         9   placed a great deal of weight in David Ling's
 10      A. Around there, yes.                               10   recommendation to select a contractor.
 11      Q. And why did you leave?                           11      Q. And this is the same David Ling who was
 12      A. I was laid off.                                  12   involved in the contempt proceeding in this
 13      Q. So that was not for cause?                       13   matter?
 14      A. No.                                              14      A. Correct.
 15      Q. Now, we talked about over the next two           15      Q. Which contractor was it that David Ling
 16    years, you sort of laid the groundwork for CBC; is    16   weighed in on?
 17    that fair to say?                                     17      A. Darcy Bardwell.
 18      A. No.                                              18      Q. And who was that?
 19      Q. No. Okay.                                        19      A. She was an affiliate manager.
 20           Tell me -- tell me what would be fair to       20      Q. Do you remember what year that was that
 21    say what you were doing during those two years.       21   you retained -- is Darcy a man or a woman?
 22      A. So after that period of time, I was              22      A. She's a woman.
 23    actively seeking employment. I believe, I think I     23      Q. Do you remember what year it is that you
 24    recall that was a difficult time to find              24   retained Darcy?
 25    employment, and eventually came to the conclusion     25      A. I think it was like a month before the

                                                        26                                                        28
  1     that I would start CBC.                               1   lawsuit or maybe even the same week that we were
  2        Q. Was that in maybe 2010 you came to that         2   growing pretty quick, and we wanted someone to pay
  3     conclusion?                                           3   more attention to and manage the affiliates; so we
  4        A. I can't give you an exact date.                 4   hired someone specifically for this position.
  5        Q. You started CBC on your own, correct?           5      Q. Could you spell the name of that
  6        A. When you say started CBC on my own, can         6   individual for the reporter and for me?
  7     you clarify that?                                     7      A. I believe the first name is D-a-r-c-y,
  8        Q. I'll be more specific. You already              8   and the last name is B-a-r-d-w-e-l-l. Not a
  9     testified that you have always been the sole owner    9   hundred percent confident in that spelling, but
 10     of CBC, correct?                                     10   that is close.
 11        A. Yes.                                           11      Q. Darcy was to be an affiliate manager,
 12        Q. Have you always been -- were you the           12   you said?
 13     sole employee of CBC at the time this lawsuit was    13      A. Correct.
 14     filed, at the time the lawsuit about which we're     14      Q. And was that to manage all the
 15     discuss -- that we're discussing was filed?          15   affiliates you had at the time?
 16        A. The sole employee, yes.                        16      A. I'm not sure.
 17        Q. And have you always been the sole              17      Q. You're not sure because you don't
 18     employee of CBC?                                     18   remember, or because you didn't make a
 19        A. I believe so.                                  19   determination at the time?
 20        Q. CBC did use contractors and vendors,           20      A. She was so new, I believe she was still
 21     correct?                                             21   in the training phase. I don't think we got to
 22        A. Yes.                                           22   that point yet.
 23        Q. And these contractors would have               23      Q. And what did you envision her
 24     received 1099s instead of W-2s, correct?             24   responsibility to be?
 25        A. I believe so, yes.                             25      A. I wanted her to oversee all the


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  1     affiliates.                                           1          So David Ling was a contractor?
  2        Q. And what does overseeing them involve?          2     A. Correct.
  3        A. Monitoring them, similar to an account          3     Q. CSID you had a contract with, correct?
  4     management job.                                       4     A. They are also, I believe, a contractor.
  5            Someone is -- has an increase or               5     Q. And they provided the -- we'll get to
  6     decrease in traffic, they will reach out to them,     6   this later, but they provided the credit
  7     try to get the affiliates to grow more business or    7   monitoring service?
  8     send more business.                                   8     A. That's one of the pieces they provide,
  9            Also monitoring them for compliance.           9   yes.
 10        Q. Prior to the -- prior to retaining             10     Q. Were there any other entities similar to
 11     Ms. Bardwell, it sounds like you didn't quite get    11   CSID that provided credit monitoring?
 12     to the point of retaining her, but up to the point   12     A. Can you specify a time period?
 13     of retaining Ms. Bardwell, were the                  13     Q. At any time during the existence of CBC.
 14     responsibilities you just described handled by       14     A. During the existence of CBC, no.
 15     you?                                                 15     Q. Mr. Fragala?
 16            MR. COCHELL: Objection, form of the           16     A. I would like to ask a question on that.
 17     question.                                            17   So you say during the existence of CBC. Is that
 18            Go ahead.                                     18   assuming it doesn't exist on the day the lawsuit
 19        A. So I believe we did get to the point           19   was filed, or are you assuming it exists now?
 20     retaining Bardwell. I remember signing an            20     Q. Tell me what you -- tell me what your
 21     agreement with her, so I just wanted to correct      21   concern is, and I'll see if I should rephrase the
 22     that.                                                22   question.
 23            But before that, you know, I -- I wore        23     A. So there was a -- another third-party
 24     that hat and many others.                            24   company called ID and Credit Services, I believe
 25        Q. So I'm going to take your lawyer's             25   you are aware of, that we had reached out to to

                                                        30                                                       32
  1    advice and ask you a follow-up question to             1   get services from that is similar to CSID. That
  2    clarify.                                               2   was after the lawsuit was filed.
  3          You -- you recall signing an agreement           3     Q. ID and Credit Services contracted
  4    with Ms. Bardwell. Do you remember when that was,      4   with -- strike that.
  5    more precisely?                                        5          Did ID and Credit Services actually
  6       A. It was very close to the filing of the           6   provide credit monitoring?
  7    lawsuit. It might have been a month or the same        7     A. Yes.
  8    week, around there.                                    8     Q. To whom?
  9       Q. 2017?                                            9     A. You would have to ask them.
 10       A. Around there. The lawsuit was                   10     Q. So you don't know who they provided
 11    January 10th. It was within a month or a week of      11   credit monitoring services to?
 12    the lawsuit.                                          12     A. Are you asking who their customers are?
 13       Q. Did you have the authority -- I would           13     Q. No.
 14    say to fire contractors, but I realize they are       14          Tell me your -- tell me what you hired
 15    not employees.                                        15   ID and Credit Monitoring Services to do.
 16          So what I'll say is: Did you have the           16          I'm sorry. Say the name of the company
 17    authority to terminate contractors? That sounds       17   again.
 18    like killing them. Let me rephrase that again.        18     A. I believe it's ID and Credit Services.
 19           Did you have the authority to terminate        19     Q. Okay. What was the nature of your
 20    relationships with contractors?                       20   relationship with ID and Credit Services?
 21       A. Yeah. I'm free to do anything in my             21     A. He was a contact.
 22    business.                                             22     Q. Who is "he"?
 23       Q. So some of these -- I just want to list         23     A. Matthew Connelly.
 24    some of the people I know to be contractors, and      24     Q. And you contacted him?
 25    you can tell me I'm right or wrong.                   25     A. I've been in contact with him over some

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  1     period of time.                                      1      A. Yes.
  2        Q. Did you contact him after the filing of        2      Q. And what point in time was that?
  3     the lawsuit, at this lawsuit?                        3      A. I don't recall the date specifically;
  4        A. I had been in contact with him after the       4   but it was around March, April, May.
  5     lawsuit, yes.                                        5      Q. Of 2017?
  6        Q. And what had you been in contact with          6      A. Yes.
  7     him about after this lawsuit?                        7     Q. Were these the customers who had also
  8        A. I don't specifically recall all the            8   been customers of CBC?
  9     conversations; but at least one of them, I had       9     A. These were customers that were owned by
 10     introduced him to David Ling.                       10   Zenfia.
 11        Q. For what purpose did you introduce him        11      Q. And what's your basis for saying they
 12     to David Ling?                                      12   were owned by Zenfia?
 13        A. David Ling's company needed a credit          13     A. So around the end of 2016, Zenfia was
 14     data provider.                                      14   recently formed. December 8th, 2016, Zenfia
 15        Q. And which company was that?                   15   became a service provider to CBC and executed a
 16        A. What was that?                                16   white label agreement similar to the white label
 17        Q. Which company was that?                       17   agreement that was executed by most white label
 18        A. ID and Credit Services.                       18   partners.
 19        Q. I'm sorry. So David Ling's company was        19          In the white label agreements, Zenfia
 20     called ID and Credit Services?                      20   has sole ownership of all the customer data,
 21        A. No. David Ling -- sorry. David Ling's         21   including billing data on the platform; so the
 22     company was the -- I'm drawing a blank as to the    22   customers are Zenfia's.
 23     company name, but it was named in the -- some of    23      Q. And what service did CBC -- excuse me.
 24     the court documents.                                24          You said Zenfia was a service provider.
 25        Q. Did David Ling's company do business as       25   What service did Zenfia provide to CBC?

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  1     CS123.com?                                           1      A. They provided the white label platform
  2        A. Yes.                                           2   on which CBC operates the websites.
  3        Q. Okay. So David Ling's company needed           3      Q. But CBC already had a white label
  4     an, I think you said, credit data feed, correct?     4   platform, correct?
  5        A. Correct.                                       5      A. It was transferred to Zenfia.
  6        Q. What is a credit data feed?                    6     Q. So what -- are you familiar with the
  7        A. So I would consider that to encompass          7   term consideration? Probably not, right?
  8     different credit products, right?                    8      A. I'm sure you'll define it for me.
  9            So part of servicing customers is             9      Q. Fair enough.
 10     there's an authentication piece. Customers have     10         Zenfia, as you describe it, was given
 11     to go through an identity verification process in   11   ownership of CBC's customer base; is that
 12     order to be able to access some benefits like       12   accurate?
 13     monitoring. There's the ability to pull reports     13      A. As a service provider, it has the
 14     and scores, maybe identity theft insurance, and     14   exclusive ownership of the data.
 15     other credit related benefits.                      15      Q. And it was given that ownership by CBC,
 16        Q. Do you know whether CS123 contracted          16   correct?
 17     with ID and Credit Services?                        17      A. I would need to refer to the specific
 18        A. Yes.                                          18   agreement.
 19        Q. And did -- they did contract with ID and      19      Q. In December 2016, did Zenfia provide
 20     Credit Services?                                    20   anything to CBC in exchange for that ownership,
 21        A. Yes.                                          21   whatever the nature of that ownership was?
 22        Q. Do you know did ID -- strike that.            22         MR. COCHELL: Objection; form,
 23            Did CS123 have customers?                    23   foundation.
 24        A. At what point in time?                        24   BY MR. LEVINE:
 25        Q. Any point in time.                            25      Q. You can answer it.


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  1       A. I would need to reference the agreement         1   don't remember if it was just for me personally or
  2    that you're referring to or we're referring to.       2   for Zenfia. Because of the receivership aspect of
  3           I know that Zenfia additionally had a          3   it, I'm a little unclear as to my responsibilities
  4    management services agreement with CBC. And there     4   regarding that.
  5    were management services being provided under that    5       Q. Okay.
  6    agreement as well.                                    6       A. And if I can also add, part of the
  7       Q. What were the management services?              7   confusion as to why it's unclear is Zenfia is not
  8       A. I would need to reference that                  8   included in the preliminary injunction as a CBC
  9    management services agreement.                        9   defendant. So it's very unclear if that is in the
 10       Q. Did Zenfia have any employees?                 10   receivership or not.
 11       A. No.                                            11       Q. The court didn't agree with you, but
 12       Q. You were the sole owner of Zenfia?             12   this isn't the forum to have a discussion about
 13       A. Yes.                                           13   that. But I appreciate the comment.
 14       Q. Did Zenfia have any income?                    14          Is it your position today that Zenfia --
 15       A. Yes.                                           15   well, I guess you just stated your position,
 16       Q. What was that income?                          16   correct?
 17       A. I would need to reference the bank             17       A. Can you repeat the question?
 18    statements maybe, financial statements. But I        18       Q. No. Never mind.
 19    know at a minimum, there was a management services   19          I want to go back to a list of your
 20    fee that was paid from CBC to Zenfia.                20   contractors. So we just had a discussion about
 21       Q. Do you recall Zenfia's accounts being          21   CSID. Another one was Tom Fragala, F-r-a-g-a-l-a;
 22    frozen as part of this lawsuit?                      22   is that correct?
 23       A. At what period of time? Or I'll say,           23       A. Correct.
 24    yes, I think it was around February, shortly after   24       Q. Another one whose name I've seen, but
 25    the lawsuit, you had frozen them.                    25   it's not -- I don't think it's his real name, is

                                                       38                                                        40
  1        Q. Were there any bank accounts of Zenfia         1   Steve Score?
  2     that were not frozen by the lawsuit? Let me          2      A. Correct.
  3     rephrase that.                                       3      Q. Do you remember his real name?
  4            Were there any bank accounts owned by         4      A. The name I recall may not be his real
  5     Zenfia -- no. I'll stick with how I phrased it.      5   name because he's -- I assume he's got a Chinese
  6            Were there any bank accounts owned by         6   name I can't pronounce, but I also know him as
  7     Zenfia that were not frozen by the lawsuit?          7   Gordon Yang.
  8        A. No.                                            8      Q. Y-a-n-g?
  9        Q. And would all the Zenfia's income have         9      A. I believe so.
 10     been reflected in the bank accounts that were       10      Q. Is he located overseas?
 11     frozen by the lawsuit?                              11      A. Yes.
 12        A. Yes.                                          12      Q. In China?
 13        Q. And would all of Zenfia's income been         13      A. Yes.
 14     reflected in the tax returns filed by Zenfia in     14      Q. Was he a programmer?
 15     2016?                                               15      A. Yes.
 16        A. I did not file any tax returns in 2016.       16      Q. What was Fragala's responsibility or
 17        Q. I should --                                   17   responsibilities?
 18        A. Actually, I want to correct that. I           18      A. He's had numerous responsibilities over
 19     don't recall if I filed tax returns for 2016. I     19   the years, everything from sales, marketing,
 20     did file something. I don't know if that included   20   partnership developing, business developing,
 21     Zenfia. It's a little unclear to me if I have to    21   website design, compliance, scripting. He wore
 22     file one or not for that.                           22   many hats like me at times.
 23        Q. Do you recall if you filed 2016 tax           23      Q. Affiliate marketers were contractors,
 24     returns for Zenfia in 2017?                         24   right?
 25        A. I filed something regarding taxes. I          25      A. Correct.

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  1       Q. So you had the ability to terminate              1   who had engaged in some sort of fraud. And we had
  2     them?                                                 2   disabled the affiliate and terminated the
  3       A. Correct.                                         3   agreement with the affiliate.
  4       Q. I want to -- I'm now showing you a               4          There was another we declined to work
  5     document that I have marked for identification as     5   with because he wanted to engage in activities
  6     Exhibit 2.                                            6   that were not lawful and did not comply with the
  7                 (Whereupon Deposition Exhibit             7   TCPA, which is known as the Telephone
  8                  No. 2 was marked for                     8   Communications Privacy Act.
  9                  identification by the court              9          We declined to work with affiliates who
 10                  reporter.)                              10   don't follow the rules and regulations, and we
 11     BY MR. LEVINE:                                       11   take that very seriously.
 12       Q. Do you recognize this document?                 12          There was another affiliate we
 13       A. No.                                             13   terminated for fraud; and I specifically recall in
 14       Q. Okay. Take a minute and look at -- I'll         14   addition to terminating them, we canceled all the
 15     represent to you that this is an email Mr. Cochell   15   customers' memberships and refunded all the
 16     sent to the FTC on Tuesday, December 12th.           16   customers because we don't want customers who are
 17           Take a look at the text of the document,       17   unhappy or signed up fraudulently on our website.
 18     and tell me if you're familiar with it.              18      Q. Okay. The first affiliate you mentioned
 19            MR. COCHELL: Is there an exhibit number       19   you said was a he or a she?
 20     on this?                                             20      A. First one, I believe, was a he.
 21            MR. LEVINE: This is 2.                        21      Q. So you said he was -- the first
 22            MR. COCHELL: Okay.                            22   affiliate you mentioned, you said he was
 23       A. I read it.                                      23   terminated for some sort of fraud, correct?
 24       Q. Do you see at the top of the email, it          24      A. Yes. And I actually recall there was
 25     says, "The defense now reads, colon"?                25   another. There was another case that was

                                                        42                                                        44
  1       A. Yes.                                             1   terminated for fraud as well.
  2       Q. And there's a paragraph that follows             2      Q. Another affiliate?
  3    ending in the term "legal obligations," correct?       3      A. Yeah.
  4       A. Yes.                                             4      Q. Okay. I want to go one by one. So
  5       Q. Are you familiar with that paragraph?            5   let's talk about that first one. Okay?
  6       A. I just read it now, yes.                         6      A. Mm-hmm.
  7       Q. Have you ever seen it before?                    7      Q. What kind of fraud was he terminated
  8       A. I believe it looks similar to one that's         8   for?
  9    in the amended answer.                                 9      A. It's hard to say all the exact instances
 10       Q. If you go -- let me back up.                    10   of the fraud; but to the best of my recollection,
 11           Did you -- never mind.                         11   he was deceiving customers, promising them a gift
 12           If you go six lines from the bottom, it        12   card or incentive in exchange for completing an
 13    says, "Mr. Brown terminated other affiliates who      13   offer.
 14    engaged in deceptive and/or fraudulent conduct and    14           For example, I will give you a hundred
 15    declined working with various companies for           15   dollar Walmart gift card in exchange for getting
 16    noncompliance."                                       16   your credit report from CBC.
 17           Do you see that?                               17      Q. And what time period was that?
 18       A. Yes.                                            18      A. I don't recall specifically. I would
 19       Q. Do you recall which affiliates you              19   need to see the email.
 20    terminated?                                           20      Q. What email?
 21       A. It's hard to recall the names                   21      A. It's in the 44,000-plus emails we turned
 22    specifically without the document in front of me.     22   over to you.
 23    But I can describe the affiliates.                    23      Q. What email are you referring to though?
 24       Q. Sure.                                           24      A. The email where I'm terminating the
 25       A. There's a few instances. There was one          25   affiliate or investigating the fraud, something

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  1    along those lines.                                    1      Q. Okay. I want to return to the
  2        Q. How did you learn that this affiliate          2   affiliates you terminated.
  3    was promising Walmart gift cards, et cetera?          3          Now, the first one we already discussed.
  4        A. I would need to reference that specific        4          And by the way, when I say first, I'm
  5    email to refresh my memory.                           5   not referring necessarily chronologically. I'm
  6        Q. So you don't recall presently how you          6   referring how you explained it to me.
  7    learned of the fraud?                                 7          So the first one we discussed.
  8        A. No.                                            8          Another affiliate you said you declined
  9        Q. Do you remember the name of the                9   to work with because they were going to violate
 10    affiliate?                                           10   the TCPA; is that accurate?
 11        A. No.                                           11      A. Correct.
 12        Q. Did the affiliate have a company?             12      Q. Do you remember the name of that
 13        A. I believe so.                                 13   affiliate?
 14        Q. Do you remember the name of the company?      14      A. I don't remember. I remember it started
 15        A. No.                                           15   with an M. And it was in a Skype chat, and it was
 16        Q. Do you remember any words in the email        16   copy and pasted into an email by Tom Fragala to
 17    that would help us identify it?                      17   me.
 18        A. I believe the word fraud was definitely       18      Q. Okay. Do you remember the time period?
 19    in the email.                                        19      A. I do not.
 20        Q. This may be more directed to Mr. Cochell      20      Q. Another affiliate you said you
 21    than to you. But since the emails have been --       21   terminated for fraud and then canceled all the
 22    since the CBC emails have been produced, if you      22   memberships of everyone they had driven to your
 23    want to produce that email to us, we'd love to see   23   company; is that right?
 24    it.                                                  24      A. Uh-huh.
 25           MR. COCHELL: It's already been                25      Q. Is that a yes?

                                                       46                                                       48
  1    produced. I mean, if -- as part of our                1      A. Yes.
  2    preparation, we may identify that email. And if       2      Q. Do you remember the name of that
  3    we do identify it, we'll give it to you --            3   affiliate?
  4          MR. LEVINE: Fair enough.                        4      A. No.
  5          MR. COCHELL: -- happily. Okay?                  5      Q. Individual or company?
  6    BY MR. LEVINE:                                        6      A. I believe it was a company. I would
  7      Q. Okay. Another affiliate you said you             7   need to see the email to refresh my memory.
  8    declined to work with because he or she or it         8      Q. So there would have been -- there would
  9    wanted to violate the TCPA, so let's start with       9   be an email reflecting the fact that you
 10    the pronouns. Is it a he, a she, or an it?           10   terminated this individual?
 11      A. I don't know.                                   11      A. Yes.
 12      Q. You don't remember?                             12          MR. COCHELL: That one I can tell you I
 13      A. No. I don't know because this was               13   can produce to you. I've seen that one. I
 14    specifically a chat conversation.                    14   remember seeing it. So I'll get that to you.
 15          MR. WARD: Maybe we should take just a          15          MR. LEVINE: Okay. Thank you.
 16    short break. Is that okay with everyone?             16          MR. COCHELL: Uh-huh.
 17          THE WITNESS: Sure. That sounds good.           17   BY MR. LEVINE:
 18                 (Whereupon, a short break was           18      Q. You also -- you also stated that you
 19                  taken.)                                19   canceled all the memberships of everyone who had
 20    BY MR. LEVINE:                                       20   been signed up through that affiliate, correct?
 21      Q. Don't tell me what you said, Mr. Brown.         21     A. Correct, and refunded those customers.
 22    But you spoke with your attorney during the break?   22      Q. And would those cancellations be
 23      A. Correct.                                        23   reflected -- let me strike that.
 24      Q. You understand you're still under oath?         24          You're familiar with the term CRM?
 25      A. Correct.                                        25      A. Yes.


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  1       Q. This is the database --                         1   fraud; but I sent an email either investigating
  2       A. Customer relationship management                2   it, terminating the affiliate, something to that
  3    database system.                                      3   effect, and probably multiple emails.
  4       Q. And you used a CRM?                             4       Q. Okay. There was one more affiliate, I
  5       A. Yes.                                            5   think, you referenced as you remember terminating
  6       Q. And the CRM tracked affiliates?                 6   for fraud, correct?
  7       A. Some, some CRMs track affiliates.               7          Your counselor is shaking his head.
  8       Q. Your CRM had a record of affiliates?            8           MR. COCHELL: No. I've been taking
  9       A. Not exactly. I would love to clarify            9   pretty copious notes. There were four
 10    that for you if you would like.                      10   terminations. I think you just covered the last
 11       Q. I do want you to clarify it. Let's hold        11   one.
 12    off on that for now.                                 12          MR. LEVINE: No. I think I only covered
 13           But when I say CRM, I'm going to be           13   three.
 14    talking about the CRM that you used through your     14           MR. COCHELL: Oh, really? Then I stand
 15    company, CBC; does that make sense?                  15   corrected, or I sit corrected.
 16       A. We used multiple. But I understand,            16   BY MR. LEVINE:
 17    yes.                                                 17       Q. Can you remember another affiliate you
 18       Q. How about the one on AWS?                      18   terminated for fraud?
 19       A. Yes.                                           19       A. I believe I recall four. But since
 20       Q. There was only one, correct?                   20   we're just going through them in the random order,
 21       A. Correct.                                       21   I'm getting a little lost in the questions you're
 22       Q. So we're going to talk about that CRM.         22   asking. So I believe there's four that I can
 23    Okay?                                                23   recall.
 24       A. Okay.                                          24       Q. For any of the affiliates you terminated
 25       Q. By the way, AWS is Amazon Web Services,        25   for fraud at any time, do you remember how you

                                                       50                                                        52
  1     right?                                               1   learned about the fraud?
  2        A. Correct.                                       2      A. In one particular case, I now recall it
  3        Q. That's kind of a big cloud platform            3   got escalated from the call center to me.
  4     owned by Amazon --                                   4      Q. This is the call center in Colombia?
  5        A. Yes.                                           5      A. Correct.
  6        Q. -- sort of. Okay.                              6      Q. Do you recall which -- what type of
  7            Okay. So getting back to that affiliate       7   fraud that involved?
  8     terminated for fraud, the memberships you            8      A. It's hard for me to say exactly without
  9     canceled, would those cancellations be reflected     9   refreshing my memory without the email. But I
 10     in the CRM?                                         10   believe it had something to do with credit card
 11        A. Yes. And additionally, the refunds            11   fraud, using the same credit card multiple times,
 12     would be reflected there as well.                   12   someone trying to -- yeah. It's hard for me to
 13        Q. Okay. Okay. And I think there was one         13   say without specifically seeing the email.
 14     more affiliate you said you terminated -- oh, I'm   14      Q. Now, that sounds like the kind of fraud
 15     sorry.                                              15   that's a fraud on you by the affiliate; am I
 16            How did you -- how did you find out --       16   misunderstanding?
 17     what -- excuse me.                                  17      A. All fraud is a fraud on me if they are
 18            What kind of fraud was that terminate --     18   an affiliate of mine.
 19     affiliate we just discussed engaged in?             19      Q. Okay. But you -- the customer service
 20        A. It's hard to say without seeing the           20   escalated that issue to you via email?
 21     specific email. I don't recall specifically what    21      A. I don't recall the form, but they
 22     it was. I need to see the email.                    22   escalated it to me; but that was the general
 23        Q. But the way you learned about the fraud       23   policy.
 24     was from an email.                                  24          We had a policy of, you know, these are
 25        A. I don't recall how I learned about the        25   the known scams. If you see these scams in

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  1     particular, escalate them to me to deal with it.     1   departments?
  2            And above and beyond that, it's kind of       2     A. There was some period of time where I
  3     like a see something, say something policy. If       3   engaged someone directly as a contractor, wasn't a
  4     you see something suspicious, which this was         4   company to my knowledge, to help out in a
  5     outside of that policy, if you see something         5   supervisory QA type role outside of the Colombia
  6     suspicious, escalate it to me, and we will           6   company.
  7     investigate it.                                      7     Q. And that's the country, C-o-l-o,
  8            And like we did in this case, we              8   correct?
  9     terminated the affiliate because they were doing     9     A. Correct.
 10     fraud; and we canceled and refunded the customers   10     Q. What was the name of the supervisor?
 11     because this is not something that we stand for.    11     A. Name was Stephanie G.
 12        Q. Okay. You can put that exhibit to the         12     Q. You don't know her last name?
 13     side. I may return to it.                           13     A. I would butcher it if I tried to say it,
 14            CBC had -- I'm just going to go back to      14   so...
 15     talking about CBC. Okay?                            15     Q. Do you remember what time period that
 16        A. Mm-hmm, yes.                                  16   was?
 17        Q. And the way the company was organized.        17     A. No.
 18     Okay?                                               18     Q. Okay. Let's go back to talking about
 19        A. Okay.                                         19   Virtual Teleservices.
 20        Q. CBC had bank accounts, correct?               20     A. Mm-hmm.
 21        A. Yes.                                          21     Q. Do the names David Rojas and Diego M.,
 22        Q. You opened those bank accounts?               22   as in Mary, ring a bell?
 23        A. Yes.                                          23     A. Yes.
 24        Q. You were the only signatory on those          24     Q. Those were the managers of Virtual
 25     bank accounts?                                      25   Teleservices?

                                                       54                                                       56
  1       A. Yes.                                            1      A. One is a manager, one is a supervisor.
  2       Q. You controlled the funds in those bank          2      Q. And which is which?
  3     accounts?                                            3      A. David Rojas was the manager. Diego is
  4       A. Yes.                                            4   the supervisor. Sometimes the manager will play a
  5       Q. CBC had a customer service department,          5   supervisory role, kind of wears multiple hats.
  6     correct?                                             6      Q. When you say supervising, that's
  7       A. CBC had a customer service company it           7   supervising the sort of line customer service
  8     contracts with.                                      8   folks?
  9       Q. Fair. Was that the same company                 9      A. The lying customer?
 10     throughout the time you ran CBC?                    10      Q. No, the line, l-i-n-e.
 11       A. Mostly.                                        11      A. Okay.
 12       Q. Let's start, what was the name of the          12          MR. COCHELL: It's that Chicago accent.
 13     company?                                            13          MR. LEVINE: Right, right.
 14       A. Virtual Teleservices.                          14          MR. COCHELL: You all talk funny here.
 15       Q. And you said mostly. During what               15          MR. LEVINE: I'll just rephrase it.
 16     periods -- let me rephrase that.                    16   BY MR. LEVINE:
 17           Were there periods during which you had       17      Q. The supervisors supervised the customer
 18     multiple customer service departments -- by the     18   service staff, correct?
 19     way, when I say departments, I realize they were    19      A. Correct.
 20     not part of the company, that they were             20      Q. Did you have any contacts at the -- were
 21     contractors; but I'm going to use the term          21   you in contact with Mr. Rojas and Diego M.?
 22     departments. Okay?                                  22      A. Yes.
 23       A. Okay.                                          23      Q. Were you in contact with anyone else at
 24       Q. All right. So was there a time during          24   that -- at Virtual Teleservices?
 25     which CBC had multiple customer service             25          MR. COCHELL: Objection, form of the

                                                                                              14 (Pages 53 to 56)
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  1     question.                                             1   before this lawsuit?
  2     BY MR. LEVINE:                                        2      A. I don't recall specifically, but it was
  3        Q. You can --                                      3   maybe about a week.
  4            MR. COCHELL: You can answer if you can.        4      Q. And how long did you spend at Virtual
  5        A. Not that I specifically recall. But I           5   Teleservices?
  6     remember in the early years of the business, I was    6      A. I did not go to Virtual Teleservices.
  7     very intimately involved in the training,             7      Q. Did you have any interaction with the
  8     monitoring and QA, and developing processes and       8   customer service folks while you were down there?
  9     procedures.                                           9      A. Yes. I met with Diego and David in
 10            I believe I recall getting on some sort       10   Cartagena.
 11     of conference call or training calls and helping     11      Q. But you met with them essentially off
 12     in those early years to develop sound processes      12   site, correct?
 13     and procedures.                                      13      A. They are all work-at-home agents, so --
 14        Q. When you say "early years," the company        14      Q. Oh, okay. The customer service people
 15     wasn't around for a whole -- hasn't been a whole     15   work at home?
 16     lot of years. How many years are we talking          16      A. (Nodding head.)
 17     about?                                               17      Q. What was the nature of your discussion
 18        A. The company has been around for, I             18   with Diego and David?
 19     think, over six years; and I believe it was the      19      A. It was mostly personal conversations. I
 20     first one or two that I was more intimately          20   don't specifically recall any business
 21     involved and developed good processes and            21   conversations.
 22     procedures to where the customer service can         22      Q. Backing up a little bit, did Virtual --
 23     follow those processes and procedures.               23   did your customer service department operate email
 24        Q. And there were times during which you          24   addresses?
 25     actually trained the customer service employees      25      A. Do you mean did they use an email

                                                       58                                                         60
  1     directly?                                             1   address?
  2        A. There were times when, you know, I was          2      Q. Sure.
  3     involved in what you would call coaching, right?      3      A. Yes.
  4           So we would do calls together, I would          4      Q. Among those email addresses they used
  5     take calls, they would listen to them, they would     5   was support@eFreeScore.com?
  6     take calls, I would listen to them, and we would      6      A. Correct.
  7     do role playing with phone calls and come up with     7      Q. Did you set that email address up?
  8     good procedures and practices and guidelines.         8      A. I set one of them up at some point in
  9        Q. Did you ever visit the nation of                9   time, but I don't know if I set up the one that
 10     Colombia?                                            10   you know today as the support email.
 11        A. Yes.                                           11      Q. There's also a
 12        Q. And was that to visit the customer             12   support@CreditUpdates.com, correct?
 13     service operations?                                  13      A. Yeah. And they're -- they're not known
 14        A. Not specifically to visit the customer         14   as separate emails. They are more of like an
 15     service operations.                                  15   alias to one mailbox.
 16        Q. How many occasions during the time that        16      Q. Do you remember what that mailbox was
 17     you ran CBC, how many times did you go to            17   that they fed into?
 18     Colombia?                                            18      A. It was the Google account that we turned
 19        A. One.                                           19   over.
 20        Q. And do you remember when that was?             20      Q. So you had access to the -- to those
 21        A. It was about a week or two before this         21   email accounts? I guess I should rephrase that.
 22     lawsuit.                                             22          You had access to the email account to
 23        Q. And what took place during that meeting?       23   which those addresses fed emails?
 24     Let me back up. Strike that.                         24      A. I don't know if I -- I don't think I
 25           How long were you in Colombia a week           25   specifically had access to that because I had to

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  1     reset the password forcefully in order to gain        1   escalate any known scams, any known issues, tech
  2     access to these emails to produce them.               2   issues, customer issues, website issues, any sort
  3            So this is something that the customer         3   of issue to us so at that point, you know, there
  4     service department had access to.                     4   were -- the customer service supervisors were
  5        Q. Were you aware of whether customer              5   primarily monitoring the phone calls.
  6     service recorded calls from consumers?                6          But there are instances, you know, going
  7        A. Yes. I set up the customer service call         7   back to this affiliate fraud situation where we
  8     recording feature and paid extra for this in order    8   terminated this affiliate and refunded all the
  9     to have good practices and procedures and make        9   customers, situations like that, I do get in there
 10     sure calls can be QA'ed. That stands --              10   and actively listen to the phone calls and try to
 11        Q. That's quality --                              11   trace down the source of the fraud, what was said,
 12        A. -- for quality assurance.                      12   how it's being done, and try to block the fraud.
 13        Q. Thanks.                                        13      Q. And speaking of tracing the source of
 14            You had access to those recordings?           14   the fraud, we'll get into this later, but CBC
 15        A. Yes.                                           15   assigned IDs to each affiliate; is that a fair
 16        Q. What did your quality assurance process        16   description?
 17     involve?                                             17      A. You know, there is an identifier to
 18        A. Quality assurance process is quite a           18   tracking an affiliate, yes.
 19     lengthy process. I believe it was about two or       19      Q. And that's a number.
 20     three pages of questions that we go through to       20      A. It can be. It's some unique identifier.
 21     insure good quality assurance.                       21   It could be alphanumeric.
 22            It's everything from greeting the             22      Q. What -- sorry, what did you call that,
 23     customer correctly to not having dead air to         23   an identifier?
 24     addressing customers' concerns to having a           24      A. Yes, alphanumeric.
 25     first-call resolution, which means that if you're    25      Q. Alphanumeric identifier?

                                                        62                                                        64
  1     able to satisfactorily identify and resolve the       1      A. Yeah.
  2     customer's concern without additional follow-up       2      Q. Customer service -- are you familiar
  3     phone calls.                                          3   with the BBB?
  4            It's about overall just having a good          4      A. Yes.
  5     impression on the customer. At the end of the         5      Q. Better Business Bureau?
  6     call, you want the customer to be happy, feel         6          Did customer service review BBB
  7     resolved, and to be a good, happy customer.           7   complaints?
  8        Q. Did you ever check in and check the             8      A. Yes.
  9     recordings to see if the customer service staff       9      Q. Is that throughout the six years of CBC?
 10     was following the procedures?                        10      A. So just like the call process, right,
 11        A. I think the --                                 11   the first year or two, I was intimately involved
 12            MR. COCHELL: Objection as to lack of          12   in BBB complaints; and I personally handled the
 13     time frame.                                          13   BBB complaints and developed sound processes and
 14     BY MR. LEVINE:                                       14   procedures to handle them successfully.
 15        Q. Did you ever?                                  15          And eventually at some point in time,
 16        A. Yeah. So the first couple years, first         16   the customer service department took over that
 17     year or two, I should clarify, I was very            17   responsibility to successfully handle the BBB
 18     intimately involved in the customer service          18   complaints.
 19     operations.                                          19      Q. And you said with respect to calls that
 20            I monitored many calls, developed good        20   customer service was instructed to escalate
 21     QA processes and procedures that eventually were     21   complaints of known scams; is that accurate?
 22     used by the customer service supervisors and         22      A. Correct.
 23     managers and customer service agents.                23      Q. Did the same go for BBB complaints?
 24            Eventually, that was delegated to them        24      A. That was the policy across any channel
 25     to follow these processes and procedures and         25   of communication.


                                                                                               16 (Pages 61 to 64)
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  1        Q. Did customer service personnel have             1       Q. Okay. Okay. Now, you just explained
  2     access to the CRM?                                    2   what I was going to ask you about next, just kind
  3        A. Yes. And by CRM, I assume you're                3   of the business model for CBC; but I have another
  4     talking about the AWS.                                4   question about it.
  5        Q. Yeah. Thank you for clarifying that.            5          You said in the declaration, which I do
  6     Let's just assume going forward, if I say CRM,        6   have somewhere, but I think we can just talk about
  7     that's what I mean. And I'll try to be precise if     7   it, you said in the declaration that essentially
  8     I mean something else.                                8   CBC's business model was required scale because
  9        A. Okay.                                           9   purchasing credit monitoring service is expensive,
 10        Q. So the identifier that you just                10   and you need a scaleable solution to deliver that
 11     explained to me, could customer service see the      11   to individual consumers.
 12     identifier for the affiliate marketer that brought   12          Does that sound right to you?
 13     in the customer they were speaking with?             13       A. Can you refresh my memory with this
 14        A. In some cases.                                 14   document?
 15        Q. When would they not have been able to          15       Q. Sure. Let's see if I have it.
 16     see the identifier?                                  16          I'm not going to introduce this as an
 17        A. So I would need to -- it's not a simple        17   exhibit yet. Let's just see if we can talk about
 18     question, but I would need to give you a little      18   it.
 19     bit of history about the CRM.                        19          But you wrote in it's Docket 50-1,
 20            So there's a couple different concepts        20   Page 3, "The simple reason companies like CBC
 21     or a few different concepts in the CRM, you know.    21   exist is to implement scaleable solutions for the
 22     And I think we went over this in the PI hearing.     22   end user. A direct credit data service API feed
 23            But a customer can be a white label           23   for a single consumer or company is cost
 24     website or an affiliate or a partner. It can be a    24   prohibitive."
 25     white label website, a cobranded website, an         25          Do you recall that?

                                                       66                                                        68
  1    affiliate on our website; so there's different         1     A. Can I see the document and get some
  2    levels of tracking.                                    2   context?
  3           So some details are visible to all              3     Q. Sure, certainly.
  4    customer service agents, and some details are not.     4         Why don't we mark this as Exhibit 3.
  5           For example, if a customer calls in and         5               (Whereupon Deposition Exhibit
  6    they want to see what website did this customer        6                No. 3 was marked for
  7    call up on, if it's an eFreeScore.com customer or      7                identification by the court
  8    CreditUpdates.com customer or whatever other white     8                reporter.)
  9    label website we have, they can see that               9   BY MR. LEVINE:
 10    information because they need to know what website    10     Q. And I'll ask you to please turn to
 11    the customer is on.                                   11   Page 3. So you're looking at Exhibit 3, Docket
 12           If it's a specific affiliate ID, they          12   50-1, Page 3, Paragraph 10. It's right at the
 13    may not have that level of detail because it's not    13   bottom of Page 3.
 14    necessarily relevant to the task that they are        14     A. Yes, I recall.
 15    performing.                                           15     Q. And do you agree with what you wrote in
 16       Q. But within the CRM, affiliate IDs               16   the declaration?
 17    were -- each customer was -- let me strike that.      17     A. Of course.
 18           Each customer who came in through an           18     Q. And the way I interpret this, and you
 19    affiliate, the affiliate ID for that customer was     19   can tell me if I'm wrong, is that you need a
 20    recorded, correct?                                    20   company that can achieve some scale in order to
 21       A. So, again, there's essentially these            21   cover the cost of the CSID's services; is that
 22    three different types of affiliates or partners.      22   accurate?
 23    So at each level, there's some sort of recording      23     A. No.
 24    to mark, you know, and associate this customer        24     Q. Okay. Tell me -- tell me where I went
 25    with that source.                                     25   wrong.

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  1        A. So what this is saying is that if you          1      A. Traffic involves the act of someone
  2     are a small business and you have a hundred          2   directing a visitor to a site.
  3     customers a month you are signing up, you cannot     3      Q. And is that site sometimes called the
  4     go to CSID, Experian, TransUnion, or any of the      4   offer?
  5     credit bureaus and say, I want to pull credit        5      A. Yes.
  6     reports from you via API because, first of all,      6      Q. Another term I've seen, out -- another
  7     you're going to have very expensive setup fees.      7   term I've seen is data feed. And I've seen it in
  8            Second of all, they are not going to          8   two ways. I'm just going to ask you to clarify
  9     want to waste their time on someone that small;      9   this for me. Okay?
 10     and it's just cost prohibitive.                     10      A. Mm-hmm.
 11            You have certain minimum obligations you     11      Q. So I've seen data feed mean what we just
 12     have to satisfy with the bureaus to achieve         12   described, which is the service CSID provides. Is
 13     competitive pricing additionally.                   13   that called a data feed?
 14            There's a lot of reasons why a smaller       14      A. It can be.
 15     business cannot interact directly with the          15      Q. The other way I've seen data feed is the
 16     bureaus.                                            16   source of the traffic. Is that -- is the source
 17       Q. That makes sense to me. I just want to         17   of the traffic referred to as a data feed?
 18     quickly go through some of the things you said.     18      A. No. Just to clarify, so a data feed is
 19            So you said a small business with a          19   literally exactly what it sounds like, a feed of
 20     hundred customers, so basically you need a lot of   20   data.
 21     the customers in order to make -- among other       21           You know, so if you're getting a feed of
 22     things you described, you need a lot of the         22   credit reports or you're getting a feed of, you
 23     customers to cover those fixed costs you            23   know, leads, if you're getting a feed of anything,
 24     described; is that accurate?                        24   you can get a data feed of it.
 25        A. I mean, there is a lot of reasons why a       25      Q. And by leads, you mean consumers who may

                                                       70                                                        72
  1    bureau wouldn't want to work with a small company.    1   become customers, right?
  2    You know, not having a lot of customers could be      2     A. It could be a feed of prospective
  3    one of them.                                          3   customers, yes.
  4      Q. Another thing you said was that there            4     Q. Okay. Well, some of this might be
  5    were high fixed costs to getting a data feed; is      5   redundant; but I do want to make sure I get a good
  6    that accurate?                                        6   understanding of the CRM.
  7       A. I said there is a high setup fee --             7         So this is going to be a -- this is
  8      Q. That's right.                                    8   going to be Exhibit 4.
  9       A. -- and there's a -- potentially monthly         9               (Whereupon Deposition Exhibit
 10    minimums you need to hit.                            10                No. 4 was marked for
 11      Q. Monthly minimums of what?                       11                identification by the court
 12       A. Of revenue.                                    12                reporter.)
 13      Q. Okay.                                           13   BY MR. LEVINE:
 14       A. Or data costs.                                 14     Q. Now, Mr. Brown, I'm showing you a
 15      Q. Okay. We may return to this exhibit,            15   document that's been marked for identification
 16    but we're done with it for now. Thank you.           16   Exhibit 4.
 17          Now, you already said that -- we've            17         You testified earlier that you reviewed
 18    already discussed that CBC used some affiliate       18   the transcript of the PI hearing in advance of
 19    marketers, correct?                                  19   this deposition, correct?
 20       A. Correct.                                       20     A. Yes.
 21      Q. I just want to go over some terms. You          21     Q. I will represent to you that this is an
 22    already defined affiliate marketing. Are you         22   excerpted portion of that transcript that includes
 23    familiar with the term traffic?                      23   only your examination at that hearing. Okay?
 24      A. Yes.                                            24     A. Okay.
 25      Q. And what does that mean?                        25     Q. So, you know, we'll refer to this -- we


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  1    may refer to this later; but for now, I just want    1   tracking platform?
  2    to zero in on the issue about the CRM.               2      A. Yes.
  3          So I'm going to ask you to please turn         3      Q. LinkTrust, affiliate tracking platform?
  4    to docket page -- I better back up here.             4      A. Yes. And some of these companies do
  5          So there are two types of page numbers         5   multiple things, but it is an affiliate tracking
  6    that appear on this document. There's the page       6   platform.
  7    number in the upper right-hand corner. And then      7      Q. And the internal one is the CRM on AWS?
  8    if you look at the file stamp from the court,        8      A. Correct.
  9    there's the ECF page number that says X out of       9      Q. Okay. Do you remember when LinkTrust
 10    190; do you see that?                               10   was put in place?
 11       A. Yes.                                          11      A. No.
 12       Q. So I'm not going to promise to be             12      Q. Okay. Okay. We're actually done for
 13    consistent throughout this deposition. But right    13   now with that exhibit, Exhibit 3.
 14    now, what I'm referring to is docket Page 101,      14          MR. COCHELL: That's 4.
 15    okay, which is Page 201 on the sheet.               15          MR. LEVINE: Thank you. We're done for
 16       A. So near the end?                              16   now with Exhibit 4.
 17       Q. Near the end. That's it.                      17          Now I'm going to attempt to pull some
 18          And actually, there's a page I -- it          18   things up on the computer, and just bear with me
 19    starts with, "Yeah. It looks like they might have   19   one moment. We can stay on the record.
 20    gone to a print page of report."                    20          Guy, can you hand me my outline?
 21          Do you see that?                              21          MR. WARD: I'm sorry. What did you
 22       A. Yes.                                          22   want?
 23       Q. Okay. And you recall testifying in this       23          MR. LEVINE: The outline right there
 24    hearing?                                            24   (indicating).
 25       A. Yes.                                          25          So what we're going to do now, I hope,

                                                      74                                                        76
  1        Q. Okay. So the court here, I'll represent       1   is have you help explain the CRM to me.
  2     to you, but I'm sure you know, is the judge; and    2          MR. COCHELL: Could you maybe put that
  3     the witness is you. Does that make sense?           3   between the two of us --
  4        A. Yes.                                          4          MR. LEVINE: Yeah, sure.
  5        Q. Okay. So the court says, "So it sounded       5          MR. COCHELL: -- so I could see it? Guy
  6     like you have three affiliate tracking systems.     6   could come around or Doug if you want to.
  7     This is the Offerit one."                           7          MR. LEVINE: I'm not going to introduce
  8            THE REPORTER: The what?                      8   this as an exhibit for the complications that
  9            MR. LEVINE: Offerit, one word,               9   Mr. Cochell is probably familiar with.
 10     O-f-f-e-r-i-t.                                     10          But I'm opening a document that has been
 11     BY MR. LEVINE:                                     11   exported from the CRM. The file name is
 12        Q. "There was the other one called, dash, I     12   userprofiles.XLSX.
 13     want to say landscape, but that's the wrong -- "   13          It's been produced to defendants
 14           And you say, "LinkTrust."                    14   attorneys' eyes only, but we're going to review it
 15           And then the court says, " -- LinkTrust,     15   for the purposes of this deposition.
 16     and then the third one was the internal one."      16   BY MR. LEVINE:
 17           Do you see that?                             17      Q. I just want you to go through,
 18        A. Yes.                                         18   Mr. Brown, and I'm going to ask you what the
 19        Q. And then you say, "I believe there might     19   columns mean. And if you know, I would like you
 20     have been more."                                   20   to tell me what each column means. Okay?
 21        A. Yes.                                         21      A. I can do that, except I'm not familiar
 22        Q. Okay. So now that we've established I        22   with what you're presenting to me. It's not in
 23     know how to read, when you refer to the internal   23   the original format that we provided it to you, so
 24     one -- well, let's start one by one.               24   some columns may mean different things in
 25           So Offerit, is that an affiliate             25   different tables.


                                                                                             19 (Pages 73 to 76)
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  1            So I just want to give you that               1   would have been recorded for each customer of CBC
  2     disclaimer.                                          2   that you can recall now?
  3        Q. Fair enough. Okay. Let's try it all            3      A. What information is recorded on a
  4     the same.                                            4   customer?
  5            I see the first column, profile,              5      Q. Mm-hmm.
  6     underscore, ID. Could you tell me what that          6      A. All the information we collect.
  7     refers to?                                           7      Q. And which -- what information do you
  8        A. And where is this data from again?             8   collect?
  9        Q. The CRM.                                       9      A. So depending on the type of customer and
 10        A. What part of the CRM?                         10   the type of site and the type of product, it may
 11            MR. WARD: This is called user profiles.      11   vary.
 12        A. User profiles. Okay.                          12          For someone who signs up on
 13            So profile ID would be an identifier for     13   CreditUpdates looking to check their credit
 14     the user profile table, I would assume, or file.    14   report, you know, at a minimum, we collect their
 15        Q. Okay. User ID?                                15   first name, last name, email, phone, address,
 16        A. That would be an ID for the user.             16   social security number, date of birth, credit
 17        Q. And that -- would that be the consumer        17   card.
 18     or the --                                           18      Q. And if a customer comes in at 1:00
 19        A. That would be the user in the CRM which       19   o'clock, and then another customer comes in at
 20     may or may not be consumer.                         20   1:01 -- by the way, when I say come in, I'm going
 21        Q. So this would be you or one of the            21   to refer to conversions. Okay? That's a term
 22     customer service people?                            22   you're familiar with?
 23        A. Customer service agent, could be a            23          THE REPORTER: Refer to what?
 24     consumer, anyone, a user.                           24          MR. LEVINE: Conversions.
 25        Q. A lead ID?                                    25   BY MR. LEVINE:

                                                       78                                                        80
  1        A. I don't know in this case.                     1      Q. Is that a term you're familiar with?
  2        Q. Okay. Would it help if I showed you            2      A. Mm-hmm.
  3    what -- if I did a little drop-down so you could      3      Q. Yes?
  4    see all --                                            4      A. Yes.
  5            MR. LEVINE: There's a mouse over there.       5      Q. And you track when there's a conversion,
  6    Could you grab the mouse?                             6   correct?
  7            MR. MCKENNEY: Yeah.                           7      A. Yes, conversions are tracked.
  8    BY MR. LEVINE:                                        8      Q. Is the time that the consumer converted
  9        Q. Let's see. If you don't know, you don't        9   recorded in the CRM?
 10    know. But just tell me if this would help.           10      A. So there's some translation or
 11            I apologize for the delay. This is not       11   translating of terms that happen when you define a
 12    my strong suit.                                      12   conversion. You know, a conversion in one system
 13            MR. COCHELL: I have frequently tried to      13   is not the same in another.
 14    do presentations on big screens from my computer     14          And what I mean by that is there's
 15    and have not succeeded.                              15   multiple events that take place, right? Customer
 16            MR. WARD: We'll just take a break, a         16   signs up, and we save their information on Page 1.
 17    little short conference off the record.              17   Sign up on Page 2, their credit card is
 18            MR. COCHELL: Okay.                           18   authorized. They go through an ID verification
 19                  (Whereupon, a short break was          19   process with questions.
 20                   taken.)                               20          So, you know, there's multiple steps to
 21    BY MR. LEVINE:                                       21   happen along the way, if that helps.
 22        Q. All right. So let's back up before we         22      Q. And there's sort of a time stamp for
 23    go through the specifics.                            23   each step?
 24            Now, in the CRM as it existed while the      24      A. There can be.
 25    company was in operation, what kind of information   25          MR. LEVINE: Okay. I think I'm going to


                                                                                              20 (Pages 77 to 80)
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  1     skip around here. So if you don't want me to,         1      Q. Okay. What about site ID? This is
  2     come over here.                                       2   Column S.
  3            MR. WARD: No. Go ahead. I've looked            3      A. Site ID would be the ID of the site.
  4     at it.                                                4      Q. These are CBC's sites?
  5            MR. LEVINE: Okay.                              5      A. They can be.
  6     BY MR. LEVINE:                                        6      Q. What other -- or white label or --
  7        Q. Okay. Now, do you recall -- I think I           7      A. It's literally any -- any type of sites
  8     already asked you this, so I apologize.               8   that's using the CRM.
  9            Do you recall what the user ID refers          9          So going back to the other examples,
 10     to?                                                  10   you're right, it could be white label, it could be
 11        A. I believe it's the ID of the user.             11   cobranding, it could be our own site.
 12        Q. Okay. And is that generated                    12      Q. It's the site to which the customer is
 13     automatically, or does the user enter that           13   directed?
 14     manually?                                            14      A. Yes, or not always to where they are
 15        A. Generated as an auto incrementing field.       15   directed, but it is a site that they may have come
 16        Q. What about the lead ID?                        16   through or are going to at some point in time.
 17        A. I believe that's an auto incrementing          17      Q. Fair enough.
 18     field as well, but I'm not sure in this particular   18          And is that automatically generated,
 19     view.                                                19   that input?
 20        Q. And do you know what the -- that would         20      A. No.
 21     signify?                                             21      Q. Someone manually puts the site ID in for
 22        A. No.                                            22   each user?
 23        Q. Okay. First and last name of the --            23      A. No. The site ID is recorded based on
 24     this is the first, middle, and last name of the      24   where they're -- where they came from or where
 25     customer, right?                                     25   they are going to.

                                                        82                                                       84
  1        A. Yes.                                            1      Q. But it's recorded automatically?
  2        Q. Okay. Looking at Column H, the company,         2       A. Yes.
  3    would that be -- there's some codes here. Do you       3       Q. Okay. That's what I meant. Okay.
  4    remember what the company refers to?                   4          Let's move over to column -- oh, I'm
  5        A. I would assume it's -- I would assume           5   sorry.
  6    it's the company.                                      6          Column T is site version ID. Tell me
  7            I mean, I see a lot of real estate             7   what that refers to.
  8    companies in here; Century 21, Coldwell Banker,        8       A. So it's a -- the version of the sites.
  9    FMC Lending, Frontgate Properties, Vision One          9   It's an ID.
 10    Realty, a lot of real estate and lenders.             10      Q. Now, how is that different than site ID?
 11            So I would assume that's the company of       11       A. So each sites may have multiple
 12    the user.                                             12   versions; and a version of the site, the site
 13        Q. I'm not going to ask you what a phone          13   version ID would identify the version of that
 14    number is.                                            14   site.
 15            What about entity ID, do you know what        15       Q. Okay. Thank you.
 16    that refers to?                                       16          Now I'm looking at Column U, source
 17        A. Yes. So entity ID is similar to a type         17   code. What does that refer to?
 18    of system. It's to provide some separation            18       A. So source code is a code that designates
 19    between different types of business processes or      19   the source of whatever record this is, which in
 20    logic.                                                20   this case is a user profile; so this user profile
 21            For example, something involving credit       21   came from this source code.
 22    reports could be on one entity. Something             22       Q. So earlier, we talked about identifiers.
 23    involving credit restoration could be on another      23   Would the identifiers be the same as the source
 24    entity because they involve different code,           24   code?
 25    different logic.                                      25       A. I don't understand the question.

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  1        Q. Fair enough.                                     1   MyScoreDB-MemberTables.XLSX.
  2            Would a given affiliate's identifier be         2          Mr. Brown, I'll first ask you, feel free
  3     the same as a given affiliate's source code?           3   to scroll around the spreadsheet, and tell me if
  4        A. Not always.                                      4   you're familiar with it.
  5            If I can maybe help provide some                5      A. I'm definitely not familiar with this
  6     clarification, I can see in this list, Source Code     6   data or even this view, and the reason for that is
  7     35, I know that this is Pierce and Lloyd, if that      7   is I use an interface on a website to interact
  8     helps understand this column.                          8   with Offerit as a company; and I assume this to be
  9        Q. It does.                                         9   some sort of database back end access that I would
 10            Sub ID, Column V.                              10   never see and our customer of Offerit would never
 11        A. Sub ID is another identifier used for           11   see.
 12     multiple purposes whenever additional identifiers     12      Q. Is it fair to say that any information
 13     may be needed.                                        13   that would be in this database you would have also
 14        Q. So is an example of when that would be          14   had access to?
 15     used when a -- when an affiliate has                  15      A. Not necessarily.
 16     subaffiliates?                                        16      Q. Would there be some data in Offerit that
 17        A. No. Typically that would be a                   17   you did not have access to?
 18     subaffiliate ID.                                      18      A. Definitely.
 19        Q. Oh, okay. So this would -- Column V is          19      Q. Which data would that be?
 20     not subaffiliate ID?                                  20      A. We would have to ask Offerit.
 21        A. I don't believe so.                             21      Q. Are you aware of any data that you did
 22        Q. Okay. That might be it for the CRM.             22   not have access to that's at Offerit?
 23     Yeah.                                                 23      A. In general, with any CRM or tracking
 24            Referral source, is that the IP address?       24   platform, there's almost always data that's not
 25        A. No. That may be in some cases, a                25   visible to a user of the application.

                                                         86                                                       88
  1     customer's browser may pass a source.                  1          Just like in our CRM, you know, a user
  2        Q. Okay. And that was Column Z.                     2   may not know, for example, a user ID. But we have
  3             Do you remember what refer keyword is in       3   a user ID. That would be one example.
  4     Column AA?                                             4      Q. Okay. So I'm going to go faster through
  5        A. Yeah. There used to be a point in time           5   this, but I'm going to do the same thing we did
  6     where search engines such as Google would pass in      6   with the CRM and ask you about some of these
  7     the keyword the customer searched in order to land     7   columns.
  8     on their website.                                      8          So I want to first ask you about Column
  9             So looking at this, for a keyword, you         9   C, which is the log-in ID. In our last exchange,
 10     notice there's a lot of customers who came in         10   you sort of predicted my question, but I'm going
 11     searching for one dollar credit report, one dollar    11   to ask you what the log-in ID means.
 12     credit score, all three credit scores, all three      12      A. I cannot tell you what any of these
 13     credit scores free, credit report, three free,        13   columns mean in someone else's CRM database
 14     right?                                                14   without guessing.
 15             So this would designate at some point in      15      Q. And by CRM database, you mean the
 16     time when they were still passing the keyword what    16   Offerit database?
 17     the keyword was the customer used to land on our      17      A. I assume that's what this is, yes.
 18     website.                                              18      Q. Are you familiar -- in your -- in
 19        Q. Okay. I think we're done with the CRM.          19   whatever interface you had access to Offerit
 20     I'm waiting for a signal from Guy if I'm wrong,       20   through, was the term log-in ID used in that
 21     but I think that's all from that for now. Okay?       21   interface?
 22             We're not going to save.                      22      A. Not that I recall.
 23             Now I want to show you a spreadsheet          23      Q. Do you recall any -- do you recall what
 24     that's been extracted from the Offerit platform.      24   the field was to identify the source of the
 25     Its file name, it's been produced, is                 25   traffic?


                                                                                                22 (Pages 85 to 88)
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  1       A. I don't recall.                                1      Q. What is it?
  2       Q. Okay. Do you -- are you familiar with          2      A. It looks like an email from Danny to me
  3    Column F, converted joined? Is that a field that     3   in the end of 2014.
  4    you would have used in your Offerit interface?       4      Q. Okay. Does this refresh your
  5       A. That's not something I recognize.              5   recollection as to when Danny Pierce reached out
  6       Q. Okay. Okay. I think we're done with            6   to you?
  7    the spreadsheet. Thank you.                          7      A. Yeah.
  8          Well, I'm really happy to put the              8      Q. And that would have been September 2014?
  9    computer away.                                       9      A. Correct.
 10          Let's talk about Danny Pierce. You said       10      Q. That's it for this exhibit.
 11    his name when we were talking about the CRM. You    11          And let me back up on the exhibit. The
 12    said he was Source Code 35 was my recollection,     12   email address Mike@MyScore360.com is your email?
 13    correct?                                            13      A. Was my email, yes.
 14       A. Yes.                                          14      Q. When did it cease being your email?
 15       Q. Okay. Now, who is Danny Pierce?               15      A. Somewhere around when the lawsuit was
 16       A. Danny Pierce was an affiliate of CRM.         16   filed.
 17       Q. Now, are you aware that he also operated      17          MR. COCHELL: I'm sorry. I didn't hear
 18    a company called Revable?                           18   that.
 19       A. Yes.                                          19      A. Somewhere around when the lawsuit was
 20       Q. When I refer to Danny Pierce, I'm also        20   filed.
 21    going to be referring to Revable; is that fair?     21          MR. COCHELL: Okay.
 22       A. Yes.                                          22   BY MR. LEVINE:
 23       Q. If there's an instance where there's any      23      Q. So access to it was turned over in
 24    divergence, counselor can make the divergence       24   connection with the lawsuit?
 25    objection.                                          25      A. Yeah.

                                                      90                                                       92
  1           MR. COCHELL: Objection, divergence.           1      Q. And do you recognize
  2           MR. LEVINE: Yeah.                             2   DannyDPierce@gmail.com as Danny's email address?
  3           MR. COCHELL: Just like the movie.             3      A. I don't.
  4           MR. LEVINE: Right.                            4      Q. What about Danny@Revable.com?
  5    BY MR. LEVINE:                                       5      A. I'm familiar with that one.
  6      Q. How did you first come into contact with        6      Q. Do you recognize this phone number as
  7    Danny Pierce?                                        7   Danny Pierce's phone number?
  8       A. So Danny Pierce emailed me a while ago,        8      A. No.
  9    reached out to me via email.                         9      Q. But you had Danny Pierce's phone number?
 10      Q. Do you remember approximately when that        10      A. Yes.
 11    was?                                                11      Q. Who is Roger?
 12      A. I think it was, you know, beginning of         12      A. Roger was someone that sat in between a
 13    2015 or end of 2014, somewhere around there.        13   company called -- I can't recall the company, but
 14      Q. All right. Let's quickly do -- I think         14   there was a company that we provided a white label
 15    this is Exhibit 5.                                  15   website to; and they did business, I believe,
 16                (Whereupon Deposition Exhibit           16   through Roger who I found out in September did
 17                 No. 5 was marked for                   17   business with Pierce.
 18                 identification by the court            18      Q. Do you know what Roger's line of
 19                 reporter.)                             19   business was?
 20           MR. COCHELL: Thank you.                      20      A. I don't know.
 21    BY MR. LEVINE:                                      21      Q. Well, what did you find out about his
 22      Q. All right. Mr. Brown, I'm showing you a        22   business with Pierce?
 23    document that's been marked for identification as   23      A. I don't understand.
 24    Exhibit 5. Do you recognize it?                     24      Q. Well, first of all, do you know Roger's
 25       A. I believe so.                                 25   last name?


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  1        A. I think it's Ferguson.                         1   companies.
  2       Q. Okay. So Danny says -- Danny Pierce             2      Q. And do you remember what that company
  3     says in his email, "No longer dealing with Roger.    3   does?
  4     He's a child."                                       4      A. I think it does some sort of marketing.
  5            You respond, "Thanks for reaching out.        5      Q. You said "one of Roger's companies," so
  6     What happened?"                                      6   you're aware of Roger having multiple companies?
  7            And then you say you'll talk soon.            7      A. I'm not aware of him having multiple
  8            Did you ever have the conversation with       8   companies, but I know that he was working with
  9     Danny Pierce in which you talked about Roger?        9   another company I did business with; but I can't
 10        A. Yes.                                          10   recall the name right now, but I'm sure it will
 11       Q. Was that conversation shortly after this       11   come to me in a little bit.
 12     email was sent?                                     12           But I don't understand the relationship
 13        A. I don't recall, but I assume so.              13   between the two of them, but I don't know if he
 14       Q. And what, if anything, did you learn           14   was working for both or just one; but I'm not
 15     about Roger Ferguson?                               15   aware of any other companies besides the one
 16        A. I don't recall the specific                   16   that's -- I can't recall the second.
 17     conversation, but the general topic of Roger was    17      Q. So there were two companies you recall
 18     that -- something to the effect of he's not         18   Roger running?
 19     working with him anymore or was difficult to work   19      A. I don't know if he ran the other one;
 20     with.                                               20   but I know that when I interacted with them, they
 21       Q. But you didn't talk about what kind of         21   talked about Roger, so he was somehow involved
 22     work Roger did?                                     22   with the second company.
 23        A. I don't recall.                               23      Q. Fat Cat Enterprises, you said, was a
 24       Q. You don't recall what he did, or you           24   marketing company, correct?
 25     don't recall whether you talked about it?           25      A. I believe so.

                                                      94                                                         96
  1            MR. WARD: Go off the record.                  1      Q. What kind of marketing did it do?
  2                  (Whereupon, a short break was           2      A. I assume affiliate marketing.
  3                   taken.)                                3      Q. Why do you assume that?
  4     BY MR. LEVINE:                                       4      A. Because it's my understanding that he
  5        Q. So I want to understand better this            5   was in some way an affiliate.
  6     Roger. So you said Roger's last name is Roger        6      Q. So you understood that Roger was an
  7     Ferguson.                                            7   affiliate marketer?
  8        A. I believe so.                                  8      A. Mm-hmm.
  9        Q. At the time Danny Pierce emailed you in        9      Q. Roger Ferguson.
 10     September 2014, he simply said Roger.               10      A. Yes, yes.
 11        A. Mm-hmm.                                       11      Q. And what was the basis for your
 12        Q. That suggests, doesn't it, that you knew      12   understanding that Roger Ferguson was an affiliate
 13     who he was at the time?                             13   marketer?
 14        A. You know, I think I have talked to him        14      A. So it will help to give some context to
 15     or at least heard of him. No. I've definitely       15   this to answer that question.
 16     talked with him before, yeah.                       16          So, you know, Danny essentially came or
 17        Q. When did you talk to him?                     17   Pierce essentially came from a long line of
 18        A. Sometime before 2014.                         18   referrals.
 19        Q. Do you remember what you talked about?        19          So at one point in time, a referral
 20        A. No.                                           20   partner, Tom Fragala, referred a company to do
 21        Q. Does the name Fat Cat Enterprises mean        21   business with me as a white label website. They
 22     anything to you?                                    22   had a white label website and, I believe, used
 23        A. Yes.                                          23   Roger who in turn used Danny who in turn used
 24        Q. What is it?                                   24   Lloyd.
 25        A. I believe that's one of Roger's               25          At some point in time, Roger came to me


                                                                                              24 (Pages 93 to 96)
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                                                      97                                                         99
  1    directly to be an affiliate cutting out the one       1      A. Tom Fragala. Tom Fragala referred a
  2    link in the chain.                                    2   company to work with me, and I set them up with a
  3           And then on this date, Danny came to me        3   white label website.
  4    directly cutting out --                               4      Q. What's the company?
  5       Q. And Danny is coming to you after Roger          5      A. I don't remember the company name, but I
  6    had already been an affiliate for you?                6   recall one of the principals.
  7       A. Mm-hmm, yes.                                    7      Q. Who is that?
  8       Q. And after Danny had already been an             8      A. Colt Moody.
  9    affiliate for Roger?                                  9      Q. Okay. Go on. I'm sorry.
 10       A. I -- I assume he's an affiliate for            10      A. Colt Moody and his partner, whose name I
 11    Roger. I don't know for sure; but I believe so,      11   don't recall, operated this white label website
 12    yeah.                                                12   hosted by CBC. They used I don't know how many
 13       Q. Well, you said you knew that Roger --          13   affiliates or what forms of traffic, but they
 14    you said you knew that Lloyd was doing affiliate     14   generated sales for their white label website.
 15    marketing for Andrew -- excuse me, for Danny and     15      Q. How did you know that Andrew Lloyd was
 16    that Danny was doing affiliate marketing for Roger   16   involved with those sales?
 17    and that Roger was doing affiliate marketing for     17      A. I have no idea if Andrew Lloyd was
 18    you.                                                 18   involved in those sales.
 19       A. I just want to clarify though, I did not       19      Q. You mentioned him. I didn't even ask.
 20    know at this time Lloyd works with Danny. I know     20          MR. COCHELL: Objection, misstates the
 21    that now as I sit here today.                        21   evidence.
 22       Q. What's your basis for believing Lloyd          22   BY MR. LEVINE:
 23    worked with Roger?                                   23      Q. Why did you mention Andrew Lloyd?
 24       A. No, that Lloyd -- I did not know that          24          MR. COCHELL: Same objection.
 25    Lloyd worked with Danny. I don't have any            25      A. I don't understand.

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  1    knowledge either way to whether Lloyd worked with     1      Q. You said the words Andrew Lloyd.
  2    Roger.                                                2   We'll -- we can read -- go back over the
  3       Q. Lloyd is defendant Andrew Lloyd,                3   transcript. Can you --
  4    correct?                                              4      A. I mean, it's possible I could be naming
  5       A. Correct.                                        5   the wrong names. I'm trying to establish a
  6       Q. You said that there were this chain of          6   history of multiple people involved. But I'm
  7    affiliate marketers, and they were trying to          7   telling you right now the link in the relationship
  8    leapfrog each other to work directly with you; is     8   as I understand them.
  9    that more or less accurate?                           9          So --
 10           MR. COCHELL: Objection, form of the           10      Q. What is --
 11    question.                                            11      A. -- we have Fragala, a referral partner
 12    BY MR. LEVINE:                                       12   salesperson who referred a company to me to set up
 13       Q. You can answer it.                             13   a white label website.
 14       A. I don't understand the question. Can           14          I know one of the principals to be Colt
 15    you rephrase it?                                     15   Moody. Colt Moody is out there operating his
 16       Q. Okay. You said that Roger was doing            16   white label website doing whatever he can to grow
 17    affiliate marketing for you, Danny Pierce was        17   his site hosted by CBC.
 18    doing affiliate marketing for Roger, and Andrew      18          At some point in time, he decided, I
 19    Lloyd was doing affiliate marketing for Danny.       19   don't want to do this anymore, for who knows what
 20           And I'm wondering what your basis for         20   reason.
 21    that understanding is.                               21          At that point in time, Roger reached out
 22       A. So what I said is that a referral              22   to me and said, "Hey, I was sending traffic or
 23    partner or salesperson named Tom referred a          23   referrals to Colt Moody's site; and I would like
 24    company --                                           24   to keep doing that through you."
 25       Q. This is Tom Fragala. You know his name.        25          And he came through a trusted line of


                                                                                             25 (Pages 97 to 100)
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  1    referrals, again, from Tom, through Colt, have a      1   bills. CBC had to pay CSID for its credit data
  2    good history, so I worked with him directly.          2   services, correct?
  3           At this point in time, I have no               3      A. Correct.
  4    knowledge of Pierce, let alone Lloyd. All right?      4      Q. Now showing you -- I'm about to show you
  5           Sometime after that, you know, Pierce          5   a document that's been marked for identification
  6    reaches out to me directly and says -- you know,      6   as Exhibit 6.
  7    you presented this email -- says he's not working     7               (Whereupon Deposition Exhibit
  8    with him anymore.                                     8                No. 6 was marked for
  9           So it appears that Pierce is now working       9                identification by the court
 10    with me directly, so I set up a relationship with    10                reporter.)
 11    Pierce. At this point, I have no idea who Lloyd      11   BY MR. LEVINE:
 12    is.                                                  12      Q. Do you recognize this document?
 13           That's how we got to this email.              13      A. I believe so, yeah.
 14        Q. Now, at the time this email was sent,         14      Q. MBrown@ZoomCreditScore.com is your email
 15    you had apparently known Pierce long -- excuse me.   15   address?
 16           At the time this email had -- was sent,       16      A. It was.
 17    you knew Roger Ferguson for a longer period than     17      Q. Dominic Mastronunzio, do you recognize
 18    you knew Danny Pierce, correct?                      18   that name as someone from CSID?
 19        A. Yeah. When this -- when I received this       19      A. I do.
 20    email, this was my first time hearing Danny's name   20      Q. The subject line is "past due invoices,"
 21    or knowing who he is.                                21   and it appears that you were extremely past due;
 22        Q. So when you testified earlier you didn't      22   do you see that?
 23    know who Roger was, that wasn't true.                23      A. Yes.
 24        A. I don't think I testified I don't know        24      Q. And that your company owed 46,000-plus
 25    who Roger is.                                        25   dollars, correct?

                                                     102                                                        104
  1       Q. Well, you remembered who Danny Pierce           1      A. Correct.
  2    was, right?                                           2      Q. And that was in January of 2014,
  3       A. Can you play back the transcript?               3   correct?
  4       Q. Can't play it back.                             4      A. Yes.
  5       A. Read it back?                                   5      Q. Okay.
  6       Q. But you -- we don't have to read it             6      A. The reason for this is that I believe
  7    back.                                                 7   this was at the time when we had a merchant
  8          You knew who Roger was when you received        8   account close, purportedly due to chargebacks; but
  9    this email, didn't you?                               9   it was because of the bank Power Pay who had new
 10       A. Of course. He was an affiliate of mine.        10   credit policies issued by EVO and instructed Power
 11       Q. Okay. CBC struggled to pay its bills,          11   Pay, the credit card processer, that free trial
 12    didn't it?                                           12   merchants or negative option merchants are now on
 13       A. There were --                                  13   the prohibited list.
 14          MR. COCHELL: Objection, form of the            14          And so they had gone through and
 15    question.                                            15   terminated contracts with merchants. And so at
 16       A. There were periods of time when cash           16   that time, we were unable to process recurring
 17    flow was an issue.                                   17   transactions for customers.
 18          Do you mind if we break for the restroom       18          So we had a cash flow crunch until we
 19    again?                                               19   were able to find new credit card processing
 20          MR. LEVINE: Sure.                              20   because nothing changed with our business. It was
 21          THE WITNESS: Thanks.                           21   the credit policy of the bank who decided to no
 22                (Whereupon, a short break was            22   longer work with free trial merchants for one
 23                 taken.)                                 23   reason or another.
 24    BY MR. LEVINE:                                       24      Q. When did the cash crunch end?
 25       Q. Okay. So we were talking about paying          25      A. I don't recall.


                                                                                            26 (Pages 101 to 104)
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  1       Q. Do you recognize Jerry Jensen, Fabian         1      Q. And Tina Tripoli we already talked
  2     Garcia, Tina Tripoli, and Juhee Lindley as CSID    2   about, right?
  3     employees?                                         3      A. Mm-hmm.
  4       A. I believe I recognize all of them except      4      Q. Yes, yes?
  5     Juhee perhaps, but yes.                            5      A. Yes.
  6                (Whereupon Deposition Exhibit           6      Q. At the bottom of Exhibit 8, do you see
  7                 No. 7 was marked for                   7   that you wrote an email to Heather Havins and Tina
  8                 identification by the court            8   Tripoli?
  9                 reporter.)                             9      A. Yes.
 10     BY MR. LEVINE:                                    10      Q. And this was in July 2014?
 11       Q. I'm now showing you a document that's        11      A. Yes.
 12     been marked for identification as Exhibit 7.      12      Q. Do you recall this email?
 13        A. Mm-hmm.                                     13      A. Yes.
 14       Q. This is -- well, let's go through it.        14      Q. What prompted this email? What prompted
 15           Do you recognize this as another email      15   you to send this email?
 16     from CSID?                                        16      A. I don't specifically recall, but it
 17       A. Yes.                                         17   appears to be an email about growth.
 18       Q. This one is to both your email               18      Q. The last sentence, you say you want to
 19     addresses, Mike@MyScore360.com and                19   stick with our proposed payment schedule; do you
 20     MBrown@MyScore360.com; do you see that?           20   see that?
 21       A. Yes.                                         21      A. Yes.
 22       Q. Do you recognize Jan Abasolo as an           22      Q. Is that an indication that you -- that
 23     account manager from CSID?                        23   you were behind on payments with CSID?
 24       A. Yes.                                         24      A. It's an indication that we came to an
 25       Q. And we already talked about those names      25   agreement on an agreed payment schedule; and we

                                                    106                                                       108
  1     on the cc.                                         1   were -- you know, planned on honoring that agreed
  2           This looks like your unpaid balance had      2   schedule.
  3     actually grown to $107,000; do you see that?       3      Q. The first sentence, you say, "To confirm
  4        A. Yes.                                         4   our conversation, we started focusing on
  5        Q. And do you recall owing $107,000 to CSID     5   developing our affiliate channel around November
  6     in May 2014?                                       6   and December of last year. We are seeing great
  7        A. Yes.                                         7   growth with this channel."
  8            MR. LEVINE: Okay?                           8          Do you see that?
  9            MR. WARD: (Nodding head.)                   9      A. Yes.
 10     BY MR. LEVINE:                                    10      Q. So was part of your plan to make good
 11        Q. This is going to be Exhibit 8.              11   with CSID to grow your affiliate traffic?
 12                (Whereupon Deposition Exhibit          12          MR. COCHELL: Objection, form of the
 13                 No. 8 was marked for                  13   question.
 14                 identification by the court           14      A. I don't read what you're reading here,
 15                 reporter.)                            15   but can you rephrase the question?
 16     BY MR. LEVINE:                                    16      Q. No. You can reread it.
 17        Q. Mr. Brown, I'm showing you a document       17      A. I don't understand your question.
 18     that's been marked for identification as          18      Q. Okay. That's all right.
 19     Exhibit 8.                                        19          You're saying, "We are seeing great
 20           Do you know who Heather Havins is?          20   growth with this channel. Over the last six
 21        A. Yes.                                        21   months, we have gone from 4,000 active members to
 22        Q. Who is she?                                 22   now 12,000 active members and adding an increasing
 23        A. She is someone who works for CSID --        23   3 to 5,000 new members per month."
 24        Q. And Tina --                                 24          Do you see that?
 25        A. -- also known as Experian.                  25      A. Yes.


                                                                                          27 (Pages 105 to 108)
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  1        Q. And you described this email as a growth       1      A. And I want to also add that, you know, I
  2     plan, right?                                         2   don't -- I wouldn't take this email as an
  3        A. Well, the subject of it is MyScore             3   inability to pay as we didn't have that much money
  4     growth, so we're definitely talking about growth.    4   in the bank account.
  5        Q. And the growth you're referring to is          5          Typically I like to have balances that
  6     growing your traffic, right?                         6   are not zero or near zero in the bank account in
  7        A. Growing our business, yes.                     7   order to support any sort of cash flow need, so we
  8        Q. And one of the ways you want to grow           8   may have had greater than this in the bank account
  9     that business is through an -- your affiliate        9   at that time.
 10     channel, correct?                                   10      Q. Okay. I'm showing you a document that's
 11        A. Correct.                                      11   marked for identification as Exhibit 10.
 12        Q. And in the second paragraph, second to        12                 (Whereupon Deposition Exhibit
 13     last sentence, you say your goal in 12 months is    13                  No. 10 was marked for
 14     to be doing at least 1,000 new orders a day; do     14                  identification by the court
 15     you see that?                                       15                  reporter.)
 16        A. Correct.                                      16   BY MR. LEVINE:
 17        Q. Okay. So those are 1,000 -- strike            17      Q. Do you recognize it?
 18     that.                                               18      A. Yes.
 19            Okay. Okay. This is going to be 9,           19          MR. COCHELL: Do you have a copy for me?
 20     Exhibit 9.                                          20          MR. LEVINE: Sorry. I'm going too fast.
 21                 (Whereupon Deposition Exhibit           21          MR. COCHELL: Thank you.
 22                  No. 9 was marked for                   22          MR. LEVINE: I got it.
 23                  identification by the court            23          MR. WARD: Oh.
 24                  reporter.)                             24   BY MR. LEVINE:
 25                                                         25      Q. I'm sorry. Do you recognize that?

                                                     110                                                        112
  1    BY MR. LEVINE:                                        1      A. Yes.
  2       Q. Okay. I'm showing you a document that's         2      Q. What is the document?
  3    been marked -- no, I'm not.                           3      A. The document is email between myself and
  4           MR. COCHELL: I personally have never           4   CS Identity.
  5    done that.                                            5      Q. Kind of an email chain, right?
  6    BY MR. LEVINE:                                        6      A. Yes.
  7       Q. Mr. Brown, I'm showing you a document           7      Q. If you go to the second to last page at
  8    that's been marked for identification as              8   the bottom, it's July 9th, 2015, do you see that,
  9    Exhibit 9.                                            9   second to last page?
 10          I believe you've already identified Tina       10      A. Okay. Yes. It says, "Hi Mike."
 11    Tripoli and Heather Havins, the CSID folks,          11      Q. So this is almost a year after
 12    correct?                                             12   Exhibit 9, correct? This email was sent almost a
 13       A. Yes.                                           13   year after Exhibit 9 was sent, correct?
 14       Q. And Mike@MyScore360.com is you, correct?       14      A. Yes.
 15       A. Yes.                                           15      Q. And Heather Havins in her email, which
 16       Q. This appears to be an email indicating         16   is on if you look at the Bates Stamp 6274, says,
 17    that your company now owes a balance of $117,000;    17   "You have outstanding balances and open invoices."
 18    do you see that?                                     18          Do you see that?
 19       A. Correct.                                       19      A. Yes.
 20       Q. So your balance had actually grown since       20      Q. So it's true that you continued to owe a
 21    your cash crunch in January; is that accurate?       21   balance to CSID as of July 2015, correct?
 22       A. Yeah. We were essentially using CSID,          22      A. Yeah. I mean, there's frequently times
 23    who appears to be very flexible in their payment     23   where, you know, we may pay a bill late, have more
 24    terms, to support cash flow.                         24   cash in the bank, especially given how flexible
 25       Q. Okay.                                          25   CSID is. We have net 30 payment terms; and we've


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  1    gone net 60, net 90, and it's been okay.               1                (Whereupon Deposition Exhibit
  2            It's about managing a business and             2                 No. 11 was marked for
  3    managing cash flow.                                    3                 identification by the court
  4       Q. Well, if you look at the second page of          4                 reporter.)
  5    Exhibit 10, it's an email from Heather Havins on       5   BY MR. LEVINE:
  6    August 4th, 2015. She says she's looking for           6     Q. Mr. Brown, I'm now showing you an
  7    "consistent communication, in addition to the          7   exhibit marked for identification as Exhibit 11.
  8    payment. I've continued to be an advocate for          8   Do you recognize the document?
  9    your business, but going dark doesn't help my          9     A. Yes.
 10    case. Please send payment and a proposed payment      10     Q. What is it?
 11    schedule ASAP."                                       11     A. It's an email between myself and CSID.
 12            Do you see that?                              12     Q. Between Trina Pirtle being a
 13       A. Yeah. And I also see above that in that         13   representative of CSID?
 14    email talks about, again, some sort of merchants      14     A. Yes.
 15    processing issue where we're unable to bill           15     Q. CSID appears to be telling you that you
 16    existing merchants.                                   16   owe $50,000 approximately for July and another
 17            Again, I would assume by the bank that        17   hundred thousand dollar plus for August; do you
 18    purported to close an account due to chargebacks,     18   see that?
 19    but it's in almost every case I've encountered, a     19     A. The hundred thousand dollars is not due
 20    bank suddenly changes their risk profile with the     20   yet. It says it will be due on Friday. The only
 21    wind of the day that they no longer like free         21   amount that's due in this email is $53,000.
 22    trial businesses, and this is one of those            22     Q. And Trina also says, "We really need to
 23    scenarios.                                            23   receive payments on time to keep your account
 24       Q. It certainly doesn't seem from these            24   current."
 25    emails that CSID was okay with your not paying        25          Do you see that?

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  1     your bills on time, does it?                          1      A. That would make sense.
  2            MR. COCHELL: Objection; form of the            2      Q. So this is the fourth or fifth email
  3     question, argumentative.                              3   where CSID was emailing you to pay your bills,
  4        A. CSID definitely has the ability to turn         4   correct?
  5     off your credit data feed any they'd like.            5      A. Like I said, we frequently used CSID to
  6            I know we were a good profitable               6   maintain high balances in our bank account; and we
  7     customer for them, and I know they continued to       7   like having five- and six-figure balances in the
  8     work with us through different payment terms over     8   bank account at all times, even if that means
  9     the course of many years.                             9   paying an invoice a little late.
 10        Q. They were emailing you repeatedly to try       10      Q. Well, you paid it late enough that CSID
 11     to get you to just respond, right?                   11   forced you to agree to a payment schedule, didn't
 12            MR. COCHELL: Objection, misstates the         12   they?
 13     evidence.                                            13          MR. COCHELL: Objection, form of the
 14        A. I don't think it says exactly that.            14   question.
 15            I mean, there's periods of time where I       15      A. I don't think anybody forced us to do
 16     may not be completely responsive, you know, I        16   anything. I think we came to an agreement on us
 17     might take a few days or more to respond; but, you   17   being allowed to pay late.
 18     know, partners like having good communication.       18      Q. If you turn to the second page of
 19        Q. And they wanted to get paid on time,           19   Exhibit 11, that's the agreement you're referring
 20     didn't they?                                         20   to?
 21        A. Sure. And they also love my business.          21      A. Yes, one of them.
 22        Q. Okay.                                          22      Q. If you turn to the -- "one of them"?
 23                                                          23   There were multiple agreement -- there were
 24                                                          24   multiple payment schedules you had to reach with
 25                                                          25   CSID?


                                                                                             29 (Pages 113 to 116)
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  1        A. Sure. We just went through a few emails         1   rates go high enough, are merchant processors, in
  2     where we're talking about payment schedules, so       2   your experience, is it possible that they will
  3     definitely.                                           3   stop processing for a merchant?
  4        Q. Is that your signature on Page 435?             4      A. So the way a merchant processer works is
  5        A. Yes.                                            5   when you apply for a merchant account, it's
  6        Q. All right. I think we're done with              6   essentially a loan. If I go to them and I say, I
  7     Exhibit 11.                                           7   need to process a hundred thousand dollars a month
  8            MR. LEVINE: Go off the record for a            8   in credit card transactions, the bank says, hey, a
  9     minute.                                               9   consumer can call their bank and ask for a refund
 10                  (Whereupon, discussion was held         10   six months after the first charge.
 11                   off the record.)                       11          So the credit card processer looks at
 12            MR. LEVINE: Back on.                          12   every dollar you process through a merchant
 13     BY MR. LEVINE:                                       13   account as a loan because you may get a dollar
 14        Q. We just spent some time talking about          14   today from a consumer, and they may change their
 15     CBC's financials, correct?                           15   mind in six months.
 16        A. No. I think we spent some time talking         16          So it's up to them to determine what
 17     about some payments to CSID.                         17   sort of risk they are comfortable with and how
 18        Q. Okay. Are you familiar with the term           18   much they let you process, what refund rates you
 19     chargeback?                                          19   have, what chargeback rates you have in order for
 20        A. Yes.                                           20   them to have a compliant and profitable account.
 21        Q. And what is a chargeback?                      21      Q. And the way these merchant processors
 22        A. Chargeback is when a bank -- I'm sorry.        22   view the merchant is through the concept of a
 23            A chargeback is when a consumer decides       23   merchant ID; is that right?
 24     not to contact the company or the merchant, so CBC   24      A. There is an identifier for each merchant
 25     in this scenario, to ask for a refund; and instead   25   account, yes.

                                                       118                                                       120
  1     they contact the bank.                                1     Q. It's called a MID or merchant ID.
  2        Q. And ask for a refund because they are           2      A. Correct.
  3     dissatisfied for some reason?                         3     Q. And can one merchant have multiple MIDs,
  4        A. Could be any number of reasons they want        4   M-I-D-s?
  5     a refund.                                             5      A. Sure.
  6        Q. And a chargeback is not good for a              6     Q. Are you familiar with the term load
  7     merchant, right?                                      7   balancing?
  8        A. I mean, besides having to refund that           8      A. Yes.
  9     customer in a chargeback scenario, we also get        9     Q. And what is load balancing?
 10     charged a fee for a chargeback; so it's definitely   10      A. Load balancing would be balancing the
 11     preferable for us to refund a customer.              11   load.
 12        Q. And merchant processors, you're familiar       12     Q. You got --
 13     with that term?                                      13      A. In what --
 14        A. Yes.                                           14     Q. -- to be more specific.
 15        Q. Merchant processors track the chargeback       15      A. -- context are you referring to load
 16     rate for any given merchant ID, correct?             16   balancing?
 17        A. I would assume so, yeah.                       17     Q. That's fair. Load balancing in the
 18        Q. You would assume, or do you know?              18   context of -- load balancing in the context of
 19        A. You would have to check with the               19   chargebacks among multiple MIDs.
 20     merchant processors what they track; but I know      20      A. I mean, I don't think -- I mean, you can
 21     chargeback rates are recorded, right.                21   load balance transactions. You can't pick where a
 22        Q. And the merchant processors you worked         22   chargeback goes unfortunately.
 23     with tracked chargebacks, correct?                   23     Q. And why would you load balance
 24        A. Yes.                                           24   transactions?
 25        Q. Are you familiar with if chargeback            25      A. Because different banks have different


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  1     risk profiles. And like we pointed out in the        1   Mastercard which describes when chargebacks
  2     previous example, some banks may change credit       2   require further looking into.
  3     policies with the wind. They may love a free         3     Q. Okay.
  4     trial negative option merchant one month; next       4               (Whereupon Deposition Exhibit
  5     month, they may not.                                 5                No. 12 was marked for
  6            So it's always a good idea and a good         6                identification by the court
  7     business practice to at least have two merchant      7                reporter.)
  8     accounts per site so not only the descriptor can     8   BY MR. LEVINE:
  9     accurately match on the consumers' billing           9     Q. All right, Mr. Brown. I'm showing you a
 10     statement, but you have some sort of redundancy     10   document I marked for identification as
 11     for your business.                                  11   Exhibit 12. Do you recognize it?
 12        Q. And if the chargeback rate for one MID        12     A. I believe so.
 13     gets too high, can you then balance it by           13     Q. And what is it?
 14     rerouting sales to the other MID?                   14     A. It's an email between myself and an
 15        A. What do you mean by "too high"?               15   underwriter at a credit card processer.
 16        Q. Well, there's a point at -- you said the      16     Q. Which is like a merchant processer like
 17     different merchant processors have different risk   17   we were just talking about, right?
 18     tolerance, correct?                                 18     A. Correct.
 19        A. Correct.                                      19     Q. So you recognize
 20        Q. And how do they measure -- at some            20   Underwriting@VantagePayments.com as being the
 21     point, a merchant becomes too risky; and they       21   email of a representative of a merchant processer?
 22     won't do business with them, right?                 22     A. Yes.
 23        A. You have to ask the merchants how they        23     Q. Same with Dustin@VantagePayments.com and
 24     come to those decisions, but there are numerous     24   KenMusante@VantagePayments -- @EurekaPayments.com?
 25     factors they take into consideration in an          25     A. I know the name Ken. I don't know who


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  1     account. It could be their credit policy, credit     1    Dustin is.
  2     of the individual, such as myself, to open up the    2           So, I mean, in this email, just like the
  3     merchant account. It could be the type of offer      3    interaction with almost every merchant account
  4     that it is.                                          4    provider, they may change credit policies with the
  5        Q. What about the chargeback rate?                5    wind; and instead of telling you, hey, we as a
  6        A. Could be how many chargebacks you have         6    bank changed our policy on who we work with, they
  7     on the account. Could be the refund rate. Could      7    say, we have an issue with chargebacks.
  8     be the percent of charges that go through            8           Now, the reason they say that is because
  9     successfully. Could be the address verification      9    now they have an excuse to hold onto your reserve.
 10     rate, the CVV verification rate.                    10    A lot of these companies hold six-figure reserves,
 11             There's a number of -- a high number of     11    sometimes more, sometimes less, right?
 12     factors that go into analyzing an account.          12           And if they tell you, we changed our
 13        Q. Did you testify earlier that you started      13    credit policy, then you're going to want those
 14     doing business with Danny Pierce in around          14    reserves back because it's not because of us, it's
 15     September 2014?                                     15    because of them.
 16        A. I think it was around then, yeah.             16           All right. If they say that suddenly
 17        Q. And he was an affiliate marketer for          17    your account is having a chargeback issue, and I
 18     you?                                                18    say that in air quotes, then now they can hold
 19        A. Yes.                                          19    onto your reserve for 6, 9, maybe even 12 months
 20        Q. And about that time, chargebacks became       20    (indicating).
 21     a problem for CBC, didn't they?                     21       Q. You put chargeback in air quotes. Is it
 22        A. I don't agree with that statement.            22    your contention that Vantage Payments wasn't
 23        Q. Okay.                                         23    accurately counting your chargebacks?
 24        A. And the reason I don't agree with this        24       A. No. What I'm stating is Visa and
 25     is because there are set rules by Visa and          25    Mastercard has chargeback guidelines that we were


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  1    in compliant with -- in compliance with, and we        1   or off switch with an account. A lot of it has to
  2    did not exceed those chargeback guidelines working     2   do with volume, right?
  3    with Vantage.                                          3          So if they may be uncomfortable, for
  4           But Vantage above and beyond those              4   example, with the amount of volume we put on the
  5    guidelines decided they wanted to close the            5   account, if we put a hundred thousand dollars on
  6    account due to purportedly chargebacks.                6   the account, maybe we're only approved for $75,000
  7       Q. Well, Vantage literally said you did             7   a month, they may close it due to chargebacks.
  8    exceed their chargebacks. They said you had            8          But in reality, it may not -- have
  9    excessive chargebacks; and he had terminated your      9   nothing to do with it. They are just
 10    merchant account, didn't they?                        10   uncomfortable with the volume. So that's kind of
 11       A. No. So the way it works is Visa and             11   the go-to answer.
 12    Mastercard have certain rules that they follow        12          So I'm pointing out that we can lower
 13    regarding chargebacks. And I'll break it down how     13   the volume, which would probably lower the
 14    it works.                                             14   chargebacks as well --
 15           So they have different programs. You           15      Q. You said no new volume.
 16    have the normal Visa merchants. If you go above a     16      A. Lower the volume, decrease it. It says
 17    certain threshold, you go into a chargeback           17   right here, "Volume will decrease every month," so
 18    monitoring program, which gives you a certain         18   decrease the volume on the accounts, which should
 19    number of months --                                   19   decrease the volume of chargebacks as well.
 20       Q. Certain threshold of what?                      20      Q. And you say you wanted to work on
 21       A. Chargeback-to-sale ratio.                       21   reducing chargebacks; do you see that?
 22           So if you go above a certain ratio, they       22      A. Correct.
 23    give you, I think it's about three months,            23      Q. Did you want to work on reducing
 24    sometimes six, depends, to work out your ratio to     24   chargebacks, or were you just saying that?
 25    get to a lower ratio.                                 25      A. No. We've always worked on reducing

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  1            After that, if you don't successfully do       1   chargebacks.
  2     that, you may go on to the next chargeback            2       Q. So when you put them in air quotes, you
  3     program, which is a little bit more strict. It's      3   do care about chargebacks, don't you?
  4     called the High-Risk Chargeback Monitoring            4       A. Definitely.
  5     Program. And they give you an additional workout      5       Q. So they hit your bottom line --
  6     period to come into compliance.                       6       A. Cost us money, yes.
  7            So we did not even get into the                7           THE REPORTER: You have got to speak a
  8     chargeback monitoring program as defined by Visa.     8   little slower and one at a time, please.
  9     In fact, we were not even on Visa's radar.            9           MR. LEVINE: I apologize.
 10            But suddenly we get hit with this             10   BY MR. LEVINE:
 11     undefined term of excessive chargebacks that our     11       Q. And if you had too many chargebacks, you
 12     account is closed, so we did not even go through a   12   can lose a merchant account, right?
 13     chargeback monitoring program at any point in time   13       A. It's up to the merchant processer to
 14     with Vantage.                                        14   determine what risk they want to have on an
 15        Q. When you responded to Vantage, you said,       15   account.
 16     "I will not throw any new customers at it," or you   16           And I will say, we have never gone
 17     suggest that that is an option for keeping it        17   through a chargeback monitoring program, not
 18     open.                                                18   coming into compliance with it, causing a merchant
 19            Do you see that?                              19   account to be closed by the card issuers, never.
 20        A. Correct.                                       20           MR. COCHELL: Can you mark the question
 21        Q. Was that kind of an example of                 21   about not wanting to -- reducing -- that they
 22     balancing, what we were talking about earlier?       22   wanted to reduce chargebacks? I want to come back
 23        A. This is an example of helping Vantage          23   to that.
 24     understand that there's other ways they can          24   BY MR. LEVINE:
 25     mitigate their risk. It's not necessarily an on      25       Q. You said, "Volume will decrease every


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  1    month till the existing membership base runs out."    1   you're referring to Exhibit 12. It doesn't appear
  2            What did you mean by that?                    2   on Exhibit 12.
  3       A. Meaning the credit card processer has an        3          MR. LEVINE: Do you have an objection,
  4    opportunity to keep the relationship, keep the        4   Steve?
  5    account open, while accomplishing their supposed      5          MR. COCHELL: I do.
  6    goal of excessive chargebacks.                        6          MR. LEVINE: What is it?
  7            So if you reduce your volume and the          7          MR. COCHELL: You're misstating the
  8    chargebacks go down, then they would no longer be     8   evidence.
  9    excessive.                                            9   BY MR. LEVINE:
 10            So if we stopped sending new business to     10     Q. You said you want to work on reducing
 11    this credit card processer and let old business      11   chargebacks; do you see that?
 12    continue to process, customers cancel every month;   12      A. Are you talking about in the email?
 13    so it's going to be a forever decreasing curve of    13     Q. Yes.
 14    lower volume and lower chargebacks.                  14          MR. COCHELL: I stand corrected. I'm
 15            So if the credit card processer was          15   sorry. It's on the third sentence. I didn't see
 16    truly interested in excessive chargebacks, then      16   that, "reducing CB's." Okay.
 17    they would quickly become nonexcessive had we        17      A. Yeah. As a general policy, like I said,
 18    stopped sending new traffic to it.                   18   we always want to reduce chargebacks because it's
 19            That's another reason I don't believe        19   more profitable to us to interact with the
 20    they are being fully honest and transparent on       20   customer and issue a refund.
 21    what the true reason is.                             21     Q. I understood.
 22       Q. Okay. Now, when you say new business or        22          And for future reference, CB, can we use
 23    new traffic, your plan here wasn't to cut off new    23   that as meaning chargeback, fair?
 24    traffic. It was to send it to a different            24          MR. COCHELL: Yeah. It's my mistake.
 25    merchant ID, correct?                                25   BY MR. LEVINE:

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  1        A. Correct, through a merchant that's             1      Q. Okay. We're all on the same page?
  2     comfortable accepting new orders and comfortable     2      A. Yes.
  3     with our growth.                                     3      Q. Okay. No problem.
  4        Q. Did you have any reason to believe that        4          MR. COCHELL: There's a lot of acronyms
  5     your new traffic would have a higher chargeback      5   here.
  6     rate than your current traffic?                      6          MR. LEVINE: I know it.
  7        A. I don't understand the question.               7          This is going to be 13.
  8        Q. Well, you say that your goal is to             8                 (Whereupon Deposition Exhibit
  9     reduce chargebacks. You say in the email,            9                  No. 13 was marked for
 10     Exhibit 12, the goal is to reduce chargebacks and   10                  identification by the court
 11     that you'll do it by keeping the existing           11                  reporter.)
 12     membership base with Vantage but moving new         12   BY MR. LEVINE:
 13     traffic to another MID; is that accurate?           13      Q. Okay. Mr. Brown, I'm showing you a
 14            MR. COCHELL: Objection, objection,           14   document that's been marked for identification as
 15     misstates his testimony.                            15   Exhibit 13. Do you recognize it?
 16            MR. LEVINE: I'm not quoting his              16      A. Yes.
 17     testimony. I'm quoting the email, so --             17      Q. What is it?
 18            MR. COCHELL: You're not quoting the          18      A. Sorry. I don't recognize this email in
 19     email. There's nothing in there that says that      19   particular, but I recognize it as an email.
 20     his goal was to reduce excessive chargebacks.       20          So it looks like it's an email between
 21     BY MR. LEVINE:                                      21   myself and Sara Best, who I don't recall who she
 22        Q. Well, you say -- you say, Mr. Brown,          22   is. But it looks like she's a -- someone who
 23     don't you, that you will work on reducing           23   assists in obtaining a merchant account.
 24     chargebacks, right?                                 24      Q. What about Maria Luisa, Maria Luisa
 25            MR. COCHELL: Where? That's not --            25   De Luca; do you recognize that name?


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  1       A. I don't recall her name.                        1      A. If they were from the bank, I would
  2       Q. Do you recognize her email address?             2   assume so.
  3       A. No.                                             3      Q. So you actually blew way past the limit
  4       Q. Do you remember you used the email              4   of a hundred chargebacks, didn't you?
  5    address -- excuse me.                                 5      A. She's not specifying. There's no limit
  6          Mike@MyScore360.com is your email               6   on a hundred chargebacks total. There's a limit
  7    address though, correct?                              7   of a hundred chargebacks per Visa.
  8       A. Yes.                                            8      Q. Per month, right?
  9       Q. And you were the only one with access to        9      A. Per month.
 10    that email, correct?                                 10      Q. It says --
 11       A. Yes.                                           11      A. I don't know how many of these are from
 12       Q. Okay. So let's turn to the second page         12   Visa, and that's not a hard limit.
 13    of Exhibit 13. So this is February 25th --           13      Q. Well, Maria De Luca says, "I doubt any
 14    February, actually, 18th, 2015. It's the same day    14   processer would want to touch the account."
 15    that you got the email. It's the same day that       15         And you went to her to open up a
 16    you sent the email we discussed on Exhibit 12. Do    16   merchant ID, right?
 17    you see that?                                        17      A. Correct.
 18       A. Yes.                                           18      Q. So you were relying on her to navigate
 19       Q. Okay. And you write on February 18th,          19   this process of obtaining a MID, correct?
 20    2015, at 2:57 p.m., "We had an account closed with   20      A. Yeah. The way the process works is --
 21    Humboldt, so EMB would be the only option. I need    21      Q. I'm just asking you if you relied on her
 22    a replacement account fast. Chargebacks are          22   to manage the MID, and then I'll let you say
 23    high."                                               23   whatever you want.
 24          Do you see that?                               24      A. Sorry. I don't think I can answer that
 25       A. Yes.                                           25   as a yes or no question.

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  1        Q. So your chargeback rate as of February         1         So I'm going to say that these people
  2     2015 was high.                                       2   work as an agent or contractor with multiple
  3        A. I mean, I also go to say that it's             3   banks. So a person like Maria will have contacts
  4     always below the limit. So we're constantly          4   with certain banks, and they may be different than
  5     within the limit to comply with the Visa and         5   the next person who has contacts with different
  6     Mastercard limitations.                              6   banks.
  7            And like I said before, we have never         7         So while it's true that Maria may not
  8     ever had an account close by Visa or Mastercard      8   have a home for this type of business with this
  9     after exceeding a chargeback monitoring program.     9   type of statements, I can tell you with certainty
 10        Q. And the limit is a hundred?                   10   we found a bank who is comfortable with our risk
 11        A. Limit is a hundred or a percentage.           11   and who will happily take our business.
 12        Q. Let's go to the first page of                 12      Q. Well, who is "we"?
 13     Exhibit 13. It looks like you sent Maria Luisa      13      A. I'm saying myself and CBC when I say
 14     De Luca some statements on February 18 at 3:11      14   "we".
 15     p.m. Do you see that?                               15      Q. But you go ahead and tell her the next
 16        A. Correct.                                      16   day, midnight, that you're going to set up a whole
 17        Q. And she responds, "You had 128                17   new corporation with a whole new signer so you can
 18     chargebacks in January and 134 in December."        18   start up a MID, right?
 19            Do you see that?                             19      A. That's what I wrote in the email, yep.
 20        A. Sorry. What page are we on?                   20      Q. And do you remember doing that?
 21        Q. First page of Exhibit 13.                     21      A. I need to see an email that reflects or
 22        A. Okay.                                         22   refresh my memory. But 2015, I think -- I think
 23        Q. Do you see that?                              23   we did that with Tom.
 24        A. Yes.                                          24      Q. Tom Fragala?
 25        Q. Were the statements you sent accurate?        25      A. Tom Fragala, yeah.


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  1       Q. So you say that your corporation could          1         So it's --
  2    have set up a bank account -- a merchant account      2     Q. But you said it would be easy for CBC to
  3    elsewhere, but you felt at the time that you          3   get a merchant account under its own name. That's
  4    needed to set up a whole new company just so          4   not true, is it?
  5    merchants would process your traffic -- excuse me,    5     A. We -- we haven't had any significant
  6    process your transactions, right?                     6   problems getting accounts.
  7       A. I think that when you have a company            7     Q. Well, there --
  8    that has -- is fresh, you may be -- may be better     8     A. There has been periods --
  9    off than existing company.                            9         THE REPORTER: One at a time, please.
 10       Q. What I said correct then, isn't it?            10     A. There has been periods of time where
 11       A. Can you repeat that?                           11   there has been tightening in the credit card
 12           MR. LEVINE: Can you repeat it, please?        12   processing market, largely in part due to FTC
 13                  (Whereupon, record was read as         13   actions and different things out there in the
 14                   requested.)                           14   industry.
 15       A. I think that completely misstates what's       15         People change their view on our type of
 16    happening here.                                      16   business, for example, not wanting to do business
 17           So CBC has, and always has had for quite      17   with negative option, which is kind of frequent.
 18    a period of time, multiple relationships with        18         So EVO might love us one day, Power Pay
 19    multiple merchants.                                  19   might love us the other, Humboldt might love us
 20           So it just so happens that Nick with          20   the next day. It's a constant shifting scenario
 21    underwriting@Vantage decided to not process this     21   where we're constantly wanting to work with a
 22    account, and I wanted to find a new home for this    22   business who values our traffic.
 23    particular account.                                  23     Q. When you say "our" though, you actually
 24           So we have the option of moving this          24   had to set up a new company to get anyone's
 25    traffic to any of our existing relationships or      25   business, didn't you?

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  1    establishing a new one.                               1      A. No, because CBC always had credit card
  2           So that completely mischaracterizes this       2   processing.
  3    email.                                                3      Q. You had Tom Fragala set up his own
  4       Q. But Luisa says you need a new signer, a         4   processing, correct?
  5    new corp, a new URL, a new name, a new address,       5      A. Tom Fragala helped with credit card
  6    and a new phone number.                               6   processing, but CBC always had credit card
  7           Do you see that?                               7   processing.
  8       A. Yeah. This would be an option, right.           8      Q. But you had him create a new corporation
  9    We have --                                            9   just to sign up a merchant processer, correct?
 10       Q. Why would you -- I'm sorry. Go ahead.          10      A. He offered to help with credit card
 11       A. Again, like I said, we always have had         11   processing.
 12    multiple relationships with merchant banks. We       12      Q. And you decided to go through those
 13    have the option to move this volume anywhere.        13   steps rather than seek a merchant processer on
 14       Q. So if it were so easy to move the volume       14   your own, correct?
 15    anywhere, why would you go through the trouble of    15      A. We were doing both in parallel.
 16    setting up a new URL, a new name, a new address,     16      Q. Okay. I think I'm done with 13.
 17    and a new phone number with a new signer?            17               (Whereupon Deposition Exhibit
 18       A. Because like I mentioned earlier, a lot        18                No. 14 was marked for
 19    of these banks limit -- a lot of these banks view    19                identification by the court
 20    credit card processing almost as a loan.             20                reporter.)
 21           Think of it as a credit line where I may      21   BY MR. LEVINE:
 22    be approved only up to a hundred thousand dollars    22      Q. Okay. Mr. Brown, I'm showing you a
 23    a month on one account. And while I may be able      23   document that's been marked for identification as
 24    to go over that, it's a soft limit, there are        24   Exhibit 14. Do you recognize the document?
 25    risks in doing that.                                 25      A. Yes.


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  1        Q. What is it?                                     1          If you'll notice at the end of
  2        A. It's an email between myself and Larry          2   Exhibit 14, it says, do you have any -- asking
  3     at Service First Financial.                           3   about the credit monitoring model, he says, "I
  4        Q. So that's ServiceFirst@earthlink.net,           4   don't have a place domestically."
  5     that's Larry?                                         5      Q. Well, he says that after he says, "You
  6        A. Yeah, Larry Cohn.                               6   were terminated at Humboldt and flagged by Visa."
  7        Q. So you know who he is?                          7          So he was talking about you, correct?
  8        A. Yes.                                            8      A. I take this to believe that his only
  9        Q. Who is he?                                      9   relationship for the credit monitoring model is
 10        A. He is a representative or a sales rep          10   Humboldt, whom we had a relationship with
 11     for multiple banks or merchant account providers.    11   previously; so that was not an option.
 12        Q. Kind of like the lady Maria Luisa in           12      Q. So it was your understanding that Larry
 13     Exhibit 13, right?                                   13   Cohn had no domestic options for MID -- no
 14        A. Yeah, in one way or another.                   14   domestic MIDs for any credit monitoring business?
 15        Q. And actually this was the -- Exhibit 14        15      A. According to this email, I said, Do you
 16     was the same day you had received an email from      16   have any options for the credit monitoring model?
 17     Maria Luisa De Luca in Exhibit 13, correct?          17          Larry replies, I see you're with
 18        A. I'm sorry. Can you repeat that?                18   Humboldt. "I don't have another place
 19        Q. The email you sent on the second page of       19   domestically."
 20     Exhibit 13 -- excuse me, of Exhibit 14 was sent on   20      Q. He doesn't say, I see you're with
 21     the same day as the email Maria Luisa sent on the    21   Humboldt. He says they terminated you --
 22     first page of Exhibit 13; do you see that?           22      A. Yeah --
 23        A. Yes.                                           23      Q. -- and we know --
 24        Q. Okay. And after Maria Luisa told you           24      A. -- "terminated at Humboldt, and I don't
 25     that no processer would touch the account, you       25   have another place domestically."

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  1    asked Larry whether he had any good offshore           1          So this leads me to believe this was the
  2    options. What did you mean?                            2   only option for the credit monitoring model that
  3       A. So I mean that Maria obviously didn't            3   he had domestically.
  4    have a sufficient Rolodex of companies who would       4      Q. Okay.
  5    appreciate this type of business, so I reached out     5      A. Which is an example of a tightening that
  6    to someone who might have different contacts and       6   I was referring to in the credit card processing
  7    different relationships with banks that will           7   space.
  8    accept this risk.                                      8      Q. Okay.
  9           So in this email, he looks to talk about        9      A. It's not a good situation where there's
 10    a credit card processer called Synovus; and we're     10   only one bank in the U.S. apparently who will take
 11    talking about offshore credit card processing         11   this type of model.
 12    options because, you know, Visa EU has different      12      Q. All right. I'm now showing a document
 13    chargeback rules and regulations to where banks       13   that's been marked for identification as
 14    may be more comfortable with the risk.                14   Exhibit 15. Take a look at it. Tell me if you
 15       Q. But you weren't -- he could not identify        15   recognize it, please.
 16    any domestic merchant processer who would work        16                (Whereupon Deposition Exhibit
 17    with you, correct?                                    17                 No. 15 was marked for
 18       A. I don't -- does it say that somewhere?          18                 identification by the court
 19       Q. Well, on Page 2 of Exhibit 14, he says,         19                 reporter.)
 20    "I don't have another place domestically."            20      A. Yep.
 21       A. Yeah. According to this email, he says          21      Q. You do recognize that?
 22    he doesn't have a place domestically for credit       22      A. Yes.
 23    monitoring, not anything to do with our               23      Q. Okay. And I see a number of names on
 24    chargebacks, just the credit monitoring business      24   this. I see your name and email; do you see that?
 25    in general.                                           25      A. Mm-hmm.


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  1       Q. Yes?                                             1      A. Yes.
  2       A. Yes.                                             2      Q. But this was your business ultimately,
  3       Q. You see Tom Fragala, who we talked about         3   right?
  4    earlier, right?                                        4      A. No.
  5       A. Yes.                                             5      Q. Tell me what you mean.
  6       Q. That's his email, Tom@mytruston.com?             6      A. Tom was set up as a white label
  7       A. Yes.                                             7   customer. He had a white label agreement with
  8       Q. You also see Nick Qualman, Vantage               8   CBC. He had his own company, Online Credit
  9    Payments. We saw him earlier, right?                   9   Systems, and his own domain that he purchased and
 10       A. On the email below, yes.                        10   had, ScoreOutlook.com.
 11       Q. That's the same Nick Qualman who                11          And now I was unable to grow my business
 12    appeared on Exhibit 12 from @VantagePayments,         12   further under my personal credit, and he offered
 13    right?                                                13   to help and became a white label customer.
 14       A. Yes.                                            14      Q. But your personal business in part, not
 15       Q. Who had terminated your -- or who had           15   completely, but in part, relied on this merchant
 16    notified you that your MID was terminated, right?     16   ID referenced in Exhibit 15, correct?
 17       A. Yes.                                            17      A. I don't understand what you're saying.
 18       Q. So it looks like Nick from Vantage is           18   I think you're misstating what this says. So --
 19    now working directly with Tom Fragala; is that        19      Q. Okay. Let's go through it --
 20    right?                                                20      A. -- as a sole owner of CBC, there's
 21       A. Yes.                                            21   certain limits on how I can grow on my own
 22       Q. Do you recall that?                             22   personal credit.
 23       A. Yes.                                            23          Tom offered to jump in and help with the
 24       Q. And was this the situation in which you         24   growth and did that in the form of a white label
 25    asked Tom Fragala to set up a new company and         25   website.

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  1     apply for a MID?                                      1      Q. You see at March 16th, 2015, at 2:13
  2        A. At the time, I believe I reached out to         2   p.m., Tom forwarded his exchange with Nick
  3     him to ask if he had any contacts regarding credit    3   Vantage, right -- Nick from Vantage?
  4     card processing.                                      4      A. Yes.
  5             And I'm not a hundred percent confident,      5      Q. And you tell Tom Fragala how to reply.
  6     but I think that might be who this Maria girl was     6      A. Yeah. I was giving him feedback. I
  7     because I don't remember her. I think she might       7   believe this was a new process to him, interacting
  8     have been referred by Tom.                            8   with merchant account providers; so I was
  9             And when she was unable to help, I think      9   definitely there to help him along the way.
 10     this is when Tom offered to help.                    10      Q. Well, this isn't feedback. This is
 11        Q. Help by applying for a MID on his own?         11   you're ghostwriting an email, right?
 12        A. Correct.                                       12      A. I think you're mischaracterize it.
 13        Q. With a new corporation?                        13      Q. You said, "Reply with this, colon."
 14        A. Correct.                                       14          And then you write some things down.
 15        Q. Let's turn to the second page of               15          Is it your testimony that you were not
 16     Exhibit 15, please. Was that new corporation         16   telling Tom Fragala to reply with a text that
 17     ScoreOutlook.com?                                    17   follows the phrase, "Reply with this"?
 18        A. No.                                            18      A. I see what you're talking about on the
 19        Q. What was the new corporation?                  19   first page, so, yeah. I was definitely giving him
 20        A. I believe it was called Online Credit          20   information on how to reply.
 21     Systems.                                             21      Q. And why would you have had this
 22        Q. And the d/b/a was ScoreOutlook.com?            22   information if this was Tom's business?
 23        A. Yes.                                           23      A. Because Tom has his own separate
 24        Q. That table you see with the number under       24   business, and we are directing -- directing
 25     merchant, is that the merchant ID number?            25   traffic to that business. So if he's looking for

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  1     guidance on forecasting, that's something I would     1     A. Again, we would need to see the
  2     be able to provide him.                               2   database.
  3        Q. Which traffic?                                  3     Q. But you would have had access to the
  4        A. The traffic on ScoreOutlook.com.                4   database as of March 2015, correct?
  5        Q. Would that include traffic generated by         5     A. Correct. Both myself and Tom would have
  6     Danny Pierce?                                         6   had access.
  7        A. I would need to see the database to tell        7     Q. And you would have been able to see the
  8     you specifically what traffic that was.               8   source of the traffic that was going to white
  9        Q. So when you tell Tom to say, "I stopped         9   label -- that was going to ScoreOutlook.com,
 10     all new orders to the site to prevent it from        10   correct?
 11     going to a hundred," what was your basis for         11     A. I mean, everything is recorded in the
 12     telling him to say that?                             12   database; so --
 13        A. It appears to be immediately below from        13     Q. So the answer is yes?
 14     Nick, he said, Hey, do you think you can "stay       14     A. Would we be able to see? You're asking
 15     under a hundred through the rest of the month?"      15   me if I can see the data or if it's there? I
 16            And so the basis was in order to comply       16   don't understand. Can you clarify?
 17     with the requests, that's how we did it.             17     Q. Would you have been able to see the
 18        Q. Were you stopping orders, or was Tom           18   source of the data?
 19     Fragala stopping orders?                             19          You said that everything was in the
 20        A. We were working with him to work within        20   database, right?
 21     the parameters of his merchant account.              21     A. Everything is in the database, correct,
 22        Q. Can you clarify that?                          22   yes.
 23        A. I was working with Tom to work within          23     Q. Go to the second page of Exhibit 15.
 24     the parameters of his merchant account for that      24   Tom tells Nick, "It must be a rogue traffic source
 25     white label website.                                 25   from a CPA network."

                                                      150                                                       152
  1        Q. What do you mean, "work within the              1          Do you know what he meant by that?
  2     parameters"? Do you mean get --                       2      A. No.
  3        A. In other words, his merchant processing         3      Q. But you would have been able to identify
  4     company made a request to stay within a certain       4   that traffic source in the CRM, right?
  5     limit; and I worked with Tom to honor that request    5      A. I don't know what rogue traffic source
  6     to stay within that limit.                            6   he's referring to.
  7        Q. And how -- what were you going to do to         7      Q. Well, I know that; but you could have
  8     help honor that request?                              8   determined it, right?
  9        A. It has to do with volume of traffic and         9      A. This is not an email to me.
 10     orders.                                              10      Q. That's right. But I'm asking you if you
 11        Q. So you controlled the volume of traffic        11   would have been able to determine the traffic
 12     that went to Tom's white label site?                 12   source.
 13        A. Definitely I don't think I -- that's an        13      A. If there's a customer I can relate to an
 14     accurate characterization of this.                   14   affiliate, then, yes, I can determine this
 15            So I worked with Tom to determine what's      15   customer came from this affiliate.
 16     acceptable for his site.                             16      Q. After receiving this email, did you
 17            Again, going back to my site, every site      17   undertake any effort to identify what Tom Fragala
 18     and processer has certain predefined limits, just    18   called a rogue traffic source?
 19     as Tom's site, ScoreOutlook.com.                     19      A. This wasn't in an email to me. And this
 20            So, again, we want to work with the           20   is on his white label website. So I got no
 21     banks in good faith hand in hand and work within     21   instructions from Tom to investigate what he's so
 22     those limits, which is what we're doing in this      22   calling a rogue traffic source.
 23     email.                                               23      Q. That didn't give you some concern that
 24        Q. Where was Tom Fragala getting traffic          24   there was a reference to a rogue traffic source?
 25     for ScoreOutlook.com?                                25      A. This is on his website in his merchant


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  1     account, on his white label website.                 1   this.
  2        Q. Yeah. But you're telling him what to           2      Q. But you told Tom how to reply, so you
  3     say and how to manage the traffic. You had           3   must have read it.
  4     control over it, didn't you?                         4      A. I told --
  5        A. What I'm doing is I'm working with Tom         5         MR. COCHELL: Objection; form of the
  6     to follow the guidelines issued by the merchant      6   question, argumentive.
  7     bank.                                                7      A. If you'll read my reply, my reply was in
  8        Q. Okay. So you're working to follow the          8   response to the email from Nick, "Can you stay
  9     guidelines; and one of those guidelines involved     9   under a hundred for the rest of the month?"
 10     chargebacks, right?                                 10         That's what my reply is helping him
 11        A. One of the guidelines involved what type      11   with.
 12     of volume they wanted to see on the account for     12      Q. Tom was your business partner, right?
 13     the rest of the month.                              13         MR. COCHELL: Objection, form of the
 14        Q. And one of the -- answer my question          14   question.
 15     now.                                                15   BY MR. LEVINE:
 16            One of the guidelines involved               16      Q. You worked with Tom, right?
 17     chargebacks, right?                                 17      A. I worked with Tom.
 18        A. One of the guidelines for what?               18      Q. You were trying to help Tom stay in
 19        Q. One of the guidelines that you just           19   compliance, right?
 20     referred to that the merchant processer had in      20         MR. COCHELL: Objection, form of the
 21     place involved keeping the chargebacks under a      21   question.
 22     certain figure, correct?                            22      A. I was helping Tom with a request from a
 23        A. That was the request from Vantage,            23   merchant bank.
 24     correct.                                            24      Q. Did you speak to Tom regularly?
 25        Q. And you were working with Tom, you just       25      A. Yes.

                                                     154                                                       156
  1    testified, to bring him into compliance, right?       1      Q. On the phone?
  2       A. It's not that he was out of compliance.         2      A. Yes.
  3       Q. I'm not asking that. I'm just asking,           3      Q. In text?
  4    that's what you were trying to do.                    4      A. Yes.
  5       A. You said to bring him in compliance as          5      Q. In email?
  6    if he wasn't in compliance.                           6      A. Yes.
  7           This is a request from the bank. They          7      Q. Did Tom ever say, I think I have a rogue
  8    only want to see a certain amount of volume. I        8   traffic source and that's why we're having all
  9    helped Tom craft a response to deal with this         9   these problems?
 10    process.                                             10          MR. COCHELL: Objection, form of the
 11       Q. So Tom says -- so Nick wrote, "Your            11   question.
 12    account is trending to break a hundred               12      A. I don't recall him saying that he's ever
 13    chargebacks."                                        13   had a rogue traffic source; but, I mean, there are
 14           And Tom says that "must be a rogue            14   scenarios where he has been concerned about
 15    traffic source," as in a traffic source that's       15   different types of traffic.
 16    generating -- whose customers are generating a lot   16      Q. So he's on the verge of losing a
 17    of chargebacks.                                      17   merchant processer, tells that processer it's due
 18           That's how that would be interpreted,         18   to a rogue traffic source, and he never mentions
 19    right?                                               19   that to you, the guy who is trying to help him
 20       A. You would have to ask Tom.                     20   stay in compliance?
 21       Q. But having read this email, you didn't         21      A. You're completely mischaracterizing this
 22    do anything to investigate the possibility of a      22   email. This has no indication that he is at risk
 23    rogue traffic source, did you?                       23   of losing the merchant account --
 24       A. Again, this wasn't an email that was           24      Q. It literally says that.
 25    directed to me. I think you're misinterpreting       25      A. This is literally a request that says,

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  1     Can you stay below a hundred for the rest of the    1      Q. And Tom immediately asks you how to
  2     month?                                              2   respond. I shouldn't say immediately. Let me
  3        Q. "If your account does that, it runs the       3   rephrase the question.
  4     risk of being terminated."                          4          Tom then asks you how to respond; do you
  5        A. Okay. So on the third email or third          5   see that?
  6     page.                                               6      A. No. I think you're mischaracterizing
  7            MR. WARD: We should break for lunch.         7   this email. It clearly says, "Mike, please
  8     What do you think?                                  8   review. Went over a hundred chargebacks."
  9            MR. LEVINE: Let's do one more. One           9      Q. This merchant account referenced in
 10     more exhibit, then we'll do lunch?                 10   Exhibit 16 is the same one that we saw in
 11            THE WITNESS: Sure.                          11   Exhibit 15, correct?
 12            MR. COCHELL: I don't want to interrupt      12      A. Yes.
 13     you when you're on a roll.                         13      Q. And this was used --
 14            MR. LEVINE: I think I have to do two        14      A. This --
 15     more exhibits. So, okay. They are tied together.   15      Q. This merchant account involved CBC's
 16     All right. So that was Exhibit 15.                 16   traffic, correct?
 17                 (Whereupon Deposition Exhibit          17      A. This is traffic on ScoreOutlook.com,
 18                  No. 16 was marked for                 18   which is a white label website owned by Online
 19                  identification by the court           19   Credit Systems.
 20                  reporter.)                            20          And now, I mean, looking at these two
 21     BY MR. LEVINE:                                     21   emails, it already says on Number 15 that he says,
 22        Q. Okay. I'm now showing you a document         22   "You're trending to break a hundred."
 23     that's been marked for identification -- did I     23          So when you get an email in the next
 24     give you two copies, Mike?                         24   month saying you broke a hundred, I mean, that
 25        A. No.                                          25   seems it was already stated.

                                                     158                                                      160
  1        Q. I'm now showing you a document that's         1      Q. Well, you wrote in Exhibit 15 that you
  2     been marked for identification as Exhibit 16. Do    2   expected chargebacks to go down dramatically.
  3     you recognize this document?                        3   What was your basis for that in Exhibit 15 if you
  4        A. Yes.                                          4   had no control over the traffic?
  5        Q. Put it side by side, if you will, with        5      A. Because we worked with Tom to adjust the
  6     Exhibit 15, please.                                 6   traffic to his site to insure he's honoring the
  7            Now, what is Exhibit 16?                     7   requests from the merchant processer.
  8        A. It's an email from Tom to myself.             8      Q. So you did control the traffic to Tom's
  9        Q. And this is Tom Fragala?                      9   website?
 10        A. Correct.                                     10      A. I worked with Tom to help him with his
 11        Q. And Tom's forwarding an email from Nick      11   white label website to adjust traffic to his
 12     Qualman from Vantage Payments, right?              12   website to be in compliance with the merchant
 13        A. Correct.                                     13   processer.
 14        Q. This is the same individual -- the same      14      Q. And how did you adjust -- how did you
 15     individuals we saw in Exhibit 15, correct?         15   work with Tom to adjust traffic to his website?
 16        A. Correct.                                     16      A. It was very simple. He emailed me and
 17        Q. Except this email is being sent a little     17   said he was going over, and we talked and
 18     less than a month after the exchange in            18   discussed appropriate changes to make sure we
 19     Exhibit 15; do you see that?                       19   don't go over the limit.
 20        A. Correct.                                     20      Q. And what were the changes with respect
 21        Q. Okay. And Nick says, "Here's your            21   to traffic?
 22     report for the end of the month. It looks like     22      A. I don't specifically recall, but I
 23     you broke a hundred chargebacks."                  23   believe it was -- involved the volume of the
 24            Do you see that?                            24   traffic. He was capable of only accepting a
 25        A. Correct.                                     25   certain amount of volume.

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  1        Q. And this was traffic generated by              1     Q. Tom's initial email is a quote. Do you
  2     affiliates?                                          2   see that?
  3        A. I would need to see the database to            3     A. Yes.
  4     answer that.                                         4     Q. Do you know who he's quoting?
  5        Q. At the time, you would have known who          5     A. It doesn't say in the email. I'm not
  6     was generating the traffic, correct?                 6   sure.
  7        A. I mean, everything is in the database,         7     Q. Probably a merchant processer, right?
  8     yes.                                                 8     A. It looks like they are talking about a
  9            And I should also point out again that        9   merchant account, yes, I would assume so.
 10     this isn't a rule or a compliance where we're       10     Q. Tom asked if you have any ideas. You
 11     over. This is a number that the merchant bank       11   respond, "Unfortunately not."
 12     picks that they are comfortable with this type of   12         Do you see that?
 13     risk.                                               13     A. Yes.
 14            So think of it as a credit card with a       14     Q. And then you follow up, and you say,
 15     credit limit. If you have a hundred dollar credit   15   "Actually guarantee them you will be under 1
 16     limit, you go over that, they are not comfortable   16   percent chargebacks within 60 days."
 17     with that risk. They may decline those              17     A. Correct. He asked me for any ideas. I
 18     transactions.                                       18   provided him an idea.
 19            So this is not something where you go        19     Q. And then he followed up, "Any ideas on
 20     over and then you're not compliant. This has to     20   what I would use as the guarantee?"
 21     do with the risk tolerance that they are willing    21         And you say, "Remind them that the
 22     to take.                                            22   number of chargebacks is going down."
 23            So I just want to point out that             23         Do you see that?
 24     distinction.                                        24     A. Yeah. He seemed a little confused as to
 25        Q. One last exhibit. This time I promise.        25   what a guarantee is. It's not a guarantee as if

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  1     And then we'll do lunch.                             1   you're pledging an asset. It's a guarantee as in
  2           MR. COCHELL: Okay. Is that a                   2   I'm going to reach this metric.
  3     contractual promise or just a lawyer promise?        3      Q. So you were committed to working with
  4           MR. LEVINE: It's a contractual promise.        4   Tom to reach that metric, right?
  5           MR. COCHELL: Lawyer time.                      5      A. I committed to Tom to reach that metric,
  6                 (Whereupon Deposition Exhibit            6   is that what you're asking me?
  7                  No. 17 was marked for                   7      Q. To work with Tom to reach that metric.
  8                  identification by the court             8      A. So Tom is a white label customer. I
  9                  reporter.)                              9   committed to Tom when we executed the white label
 10     BY MR. LEVINE:                                      10   agreement, so I'm definitely working with Tom.
 11        Q. Okay, Mr. Brown. I'm showing you a            11          I'm not committing to him on anything
 12     document marked for identification as Exhibit 17.   12   regarding merchants' accounts.
 13     Do you recognize it?                                13      Q. Well, you testified earlier that you
 14        A. Yes.                                          14   worked with Tom to help him stay within compliance
 15        Q. What is it?                                   15   of the merchant account guidelines.
 16        A. It's an email between myself and Tom.         16          I know you don't like the word
 17        Q. This is a different email address for         17   compliance, but within -- you testified earlier
 18     Tom, I think; but this is the same Tom Fragala,     18   that you worked with Tom to stay within the
 19     right?                                              19   merchant account guidelines, correct?
 20        A. Correct.                                      20          MR. COCHELL: Objection, form of the
 21        Q. And this Exhibit 17, that email that --       21   question.
 22     the emails on Exhibit 17 were sent about two        22          MR. LEVINE: Yeah. Let me restate the
 23     months after the emails on Exhibit 16; do you see   23   question.
 24     that?                                               24   BY MR. LEVINE:
 25        A. Correct.                                      25      Q. You worked with Tom -- you testified


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  1    earlier that you worked with Tom to insure that       1      A. Yeah, that's --
  2    you stayed within the merchant account guidelines,    2      Q. -- processing, that's the final step,
  3    correct?                                              3   right?
  4       A. I mean, I think my testimony reflects           4      A. No. That's -- you're completely --
  5    what I clearly said.                                  5   you're not understanding the process at all.
  6       Q. Okay. So you told Tom to guarantee a            6          So this account, like the others, is
  7    merchant processer that you'll be under 1 percent     7   within the guidelines --
  8    chargebacks within 60 days.                           8      Q. No, it wasn't.
  9       A. And that's actually what happens on a           9      A. -- programs -- listen.
 10    merchant account when the traffic stops, so --       10          This account is within the guidelines
 11       Q. And you had control over that traffic.         11   and the procedures within Visa and Mastercard.
 12       A. No. The account was closed.                    12          I'm going to explain the process again
 13       Q. It was closed?                                 13   really quick so we all understand.
 14       A. According to this email.                       14          So a merchant account has to stay within
 15       Q. It says, "We're at great risk."                15   certain limits, and it's the transaction-to-sale
 16          Oh, yes. That's --                             16   ratio.
 17       A. It says, "We are unable to reopen."            17          If you go above those limits, you have a
 18       Q. That's true. That's true.                      18   three- to six-month workout period where you're in
 19          So this account was actually closed            19   a monitoring program.
 20    because the chargebacks were so high, correct?       20          So Visa doesn't just terminate your
 21       A. It says, It's above what they are              21   relationship. They want to work with you. They
 22    "allowed in our portfolio."                          22   want businesses to accept Visa. That's how it
 23          So this is a -- again, not a compliance        23   works.
 24    thing. We are always in compliance with the Visa     24          If you don't work out the ratios within
 25    and Mastercard regulations on chargebacks.           25   that three- to six-month period, you go into an

                                                     166                                                       168
  1           This is a business decision this               1   additional monitoring program. So in total, you
  2    particular credit card processer made on what is      2   may have up to a year to work out any issue.
  3    allowed in their portfolio.                           3          So according to this email, Tom did not
  4       Q. Your prediction two months earlier that         4   get into this monitoring program. He was not
  5    chargebacks would go down dramatically turned out     5   afforded the opportunity to work out any issues
  6    not to be realized, correct?                          6   with chargebacks, and -- and was -- in a very
  7       A. I think you're completely misstating            7   preliminary stage, they didn't even get to that
  8    what this email says. There is no figure in here      8   point. It's simply the bank decided, we're not
  9    as to what the chargeback percentage is now as        9   going to allow this in our portfolio.
 10    opposed to two months ago.                           10          And like I said, these banks change what
 11       Q. Well, it was high enough that you were         11   they allow with the winds. It could be due to
 12    terminated, right -- that ScoreOutlook was           12   chargebacks. It could be due to something else.
 13    terminated, right?                                   13   We don't know.
 14       A. The merchant processer appears to say it       14      Q. Well, they told you chargebacks.
 15    was above what is allowed in their portfolio.        15      A. They always tell us chargebacks.
 16       Q. And that's kind of the death penalty in        16      Q. Okay. No further questions for this
 17    this world, isn't it?                                17   portion of the deposition.
 18           MR. COCHELL: Objection, form of the           18          MR. COCHELL: All right. Sure. Of
 19    question.                                            19   course.
 20       A. I don't understand the question.               20          MR. WARD: Off the record.
 21       Q. Well, you lose all merchant processing,        21                (Whereupon, a lunch break was
 22    that's kind of the death penalty, right?             22                 taken.)
 23          You talked about all these remedial            23   BY MR. LEVINE:
 24    steps; monitoring, supervision, whatever. When       24      Q. Okay. Mr. Brown, we just came back from
 25    you cut off --                                       25   lunch. You understand you're still under oath?


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  1       A. Yeah.                                           1      A. That was my phone number, yes.
  2           Can we also check if that water is             2      Q. And you described this document as text
  3    refilled?                                             3   messages.
  4       Q. I just filled it.                               4      A. Mm-hmm.
  5       A. Okay.                                           5      Q. Yes?
  6           MR. COCHELL: Yeah. Michael remembered          6      A. Yes.
  7    the name of a company that you had asked him about    7      Q. And you recall that you texted -- it's
  8    earlier.                                              8   fair to say that you texted regularly with Danny
  9           MR. LEVINE: Oh, great.                         9   Pierce?
 10           MR. COCHELL: So you might want to start       10      A. You know, fairly, fairly regularly.
 11    off with that and follow up if you need to.          11      Q. Okay.
 12           MR. LEVINE: Yeah. Let's start with            12      A. Yes.
 13    that.                                                13      Q. Okay.
 14       A. The company I referred to when I               14      A. There's times where there's more, and
 15    referred to one of the owners of -- the principal    15   there's times where there's less; but it's just...
 16    as being Colt Moody, the name of the company is JC   16      Q. Okay. I want to start on Page 1. Do
 17    Media.                                               17   you know who the gray is and who the blue is in
 18       Q. Any other information you recall over          18   the document?
 19    lunch?                                               19      A. I believe the blue is Pierce, and the
 20       A. I remember another principal of that           20   gray is myself.
 21    company, I believe, named Jamie. That might be       21      Q. Okay. And the gray is on the left, and
 22    the reason for the J and the C in the JC Media,      22   the blue is on the right.
 23    Jamie, Colt.                                         23      A. Correct.
 24       Q. Okay. Anything else?                           24      Q. Okay. Let's go down to 10-14-14 at
 25       A. No.                                            25   6:21 p.m. You write, "Let me know if I can do

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  1       Q. CBC's largest affiliate was Danny               1   anything to get this back over a hundred a day."
  2    Pierce, correct?                                      2          Do you see that?
  3       A. Yes.                                            3      A. Correct.
  4       Q. And that was Source Code 35 in the CRM?         4      Q. And then a couple weeks later, you
  5       A. Correct.                                        5   write, "Traffic looked bad today. What happened?"
  6       Q. Okay.                                           6          Do you see that?
  7                (Whereupon Deposition Exhibit             7      A. Yeah.
  8                 No. 18 was marked for                    8      Q. So you monitored Pierce's traffic pretty
  9                 identification by the court              9   carefully, right?
 10                 reporter.)                              10      A. We're always monitoring the volume of
 11    BY MR. LEVINE:                                       11   traffic from our affiliates.
 12       Q. Okay. I'm showing you a document that's        12      Q. Turn to Page 4. This is in
 13    been marked for identification as Exhibit 18. Do     13   February 19th, 2015. Go to the -- I'm sorry.
 14    you recognize the document?                          14          If you could turn to Page 4 and look at
 15       A. I believe this looks like -- it doesn't        15   February 11th, 2015, you say, "Look like -- looks
 16    have the name here anywhere; but I think this is     16   like traffic broken. Please check."
 17    text messages with me, and can you refresh my        17          Do you see that?
 18    memory who this is with? Is this Pierce?             18      A. Yep.
 19       Q. I'll represent that this was produced by       19      Q. And at the bottom, you say, "Traffic was
 20    Pierce.                                              20   strong on the 16th. Was that just because" -- and
 21       A. Okay.                                          21   now I'm going on to Page 5 -- "of a backlog, or
 22       Q. And I think another version of it, some        22   are we going to see that as the new normal?"
 23    variances, was also produced by you.                 23          Do you see that?
 24       A. Okay.                                          24      A. Yeah.
 25       Q. And your phone number is (714) 906-9949?       25      Q. So you were continuing to monitor Danny


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  1     Pierce's traffic?                                     1      Q. So you were continue -- you were able to
  2        A. Yeah. I mean, we want all of our                2   monitor the traffic all the way up until the
  3     affiliates to send more traffic. We can make          3   filing of the lawsuit, correct?
  4     more -- make more revenue.                            4      A. Yeah. I'm definitely able to see the
  5        Q. Okay. Could you turn, please, to                5   volume of the traffic, and I'm definitely asking
  6     Page 29 under October 1st, 2015?                      6   him to resume the traffic. We wanted more
  7        A. Mm-hmm.                                         7   traffic.
  8        Q. You write, "Traffic been going down.            8      Q. And you were able to control how much
  9     Any issues? Did we get all those domains              9   traffic Pierce generated, correct?
 10     updated?"                                            10      A. No, definitely not.
 11        A. Yeah.                                          11          You know, we can control to accept his
 12        Q. And this is just more monitoring, right,       12   traffic or not. I can control if I'm going to pay
 13     of the -- of the --                                  13   Pierce or not. I can't control what Pierce does,
 14        A. This is normal dialogue with the               14   how much he sends.
 15     affiliate checking in, seeing how things are         15          I can make requests. And just like this
 16     going, see if there's anything we can do to get      16   request right here, can you resume today, that's
 17     traffic up.                                          17   what I'm doing, requesting Pierce.
 18        Q. When you were monitoring, or whatever          18      Q. Okay. So if you turn -- I'm sorry to do
 19     word you want to use, this traffic, which program    19   this.
 20     did you generally use to monitor Pierce's traffic?   20          If you turn back to Page 13, please,
 21        A. So I had a dashboard that had some             21   we're looking now toward the bottom at July 1st,
 22     graphs that shows the -- in a graphical format       22   2015. And Pierce in the blue says, "By the way,
 23     kind of the volume of the traffic per month, per     23   traffic will be increasing by like 30 percent next
 24     day, and per hour.                                   24   week."
 25            So occasionally, I would see dips in          25          And you write, "Please hold off on

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  1    traffic and say, "Well, why did that happen?"          1   increase."
  2            And I'll go in there and see what the          2         Do you see that?
  3    dip was from.                                          3      A. Yeah.
  4       Q. And was that -- did you describe it as a         4      Q. So you were able to tell Pierce when to
  5    dashboard, right?                                      5   slow down traffic, correct?
  6       A. Yeah.                                            6      A. I'm able to tell Pierce and set limits
  7       Q. Was that dashboard connected to the CRM?         7   on how much I want to accept. It's my business,
  8       A. Yeah.                                            8   my website. And, yeah, that's it.
  9       Q. And did the dashboard reflect which              9      Q. And that was true throughout your time
 10    traffic source was rising or falling?                 10   working with Danny Pierce?
 11       A. No. But I had a way to filter different         11      A. Yeah. I mean, that's true with any --
 12    things in there so I could get an idea.               12   any website. They can control what they choose to
 13       Q. Such that you could tell Danny Pierce,          13   accept.
 14    your traffic is up, or your traffic is down?          14      Q. Okay. We talked earlier about -- very
 15       A. Yeah. Specifically for him, I could             15   briefly about a subaffiliate; do you recall that
 16    literally click on Source Code 35 and see sign-ups    16   discussion?
 17    per hour and per day. And if it went down, then I     17      A. Today?
 18    can ask what the issue is.                            18      Q. Yes.
 19       Q. Okay. One final point on this. If you           19      A. Yes.
 20    turn to Page 59, toward the bottom, this is           20      Q. So some affiliates have affiliates of
 21    January 9th, 2017, you say, "When you -- when you     21   their own, correct?
 22    resuming traffic? Still see zero coming," I           22      A. Yes.
 23    assume you meant through.                             23      Q. Were you aware whether Pierce had
 24            Do you see that?                              24   subaffiliates?
 25       A. Yeah.                                           25         MR. COCHELL: Objection; form of the


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  1    question, lack of time frame.                         1   has only one --
  2    BY MR. LEVINE:                                        2      Q. Okay. Turn to page --
  3       Q. Are you aware today that Pierce had             3      A. -- or if his partner is even his
  4    subaffiliates or sub --                               4   affiliate.
  5       A. I am aware he did today because of the          5      Q. Okay. Let's turn to Page 34. I'm
  6    existence of Lloyd, whom I didn't know previously.    6   looking at July 22, 2016. And this is a text from
  7       Q. Were you aware before the lawsuit that          7   you. And you say, "Well, I'm trying to get up
  8    Pierce had a subaffiliate or subaffiliates?           8   ASAP so you have more to offer your guy to keep
  9       A. I had no idea how many he had or if he          9   him happy and the CR running."
 10    had one. I did know in general he is an affiliate    10          Do you see that?
 11    network, which does imply he subcontracts out to     11      A. Yeah.
 12    affiliates and manages other affiliates.             12      Q. So, once again, you're -- this time,
 13       Q. Okay. Same document. We were looking           13   it's you referring to one person who works with
 14    at Exhibit --                                        14   Danny Pierce; do you see that?
 15           MR. WARD: 18.                                 15      A. I mean, I think he just said he has at
 16           MR. LEVINE: Thank you.                        16   least a partner. I don't know. You know, are we
 17    BY MR. LEVINE:                                       17   talking about his affiliates, his partner? I
 18       Q. Exhibit 18. If you turn please to              18   don't know. Whoever is helping him manage this.
 19    Page 25, toward the bottom, this is -- the date on   19      Q. What did you mean by "your guy"?
 20    this is September 2nd, 2015. And Pierce writes,      20      A. He has referred to in -- somewhere in
 21    "My partner wants to continue scaling, and our ROI   21   these text messages, I believe, he's referred to a
 22    is so damn low."                                     22   guy who helps him run this.
 23           Do you see that?                              23      Q. Did he ever refer to multiple people?
 24       A. I'm sorry. Where did you get this date         24      A. I don't know. I would need to read
 25    from?                                                25   these chats and refresh my memory. Not that I

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  1       Q. Page -- okay. Good. That would be               1   recall.
  2    Page 21.                                              2      Q. Do you recall -- what you wrote is, "I'm
  3       A. And what date was it? Okay.                     3   trying get up ASAP so you have more to offer your
  4       Q. I see September 2nd, 2015, on 21.               4   guy and keep him happy and the CR running."
  5       A. Okay.                                           5          Do you see that?
  6       Q. And then no other dates prior to                6      A. Yeah.
  7    Page 25; do you see that?                             7      Q. CR refers to the credit report offer,
  8       A. Okay. Now, what section am I looking on         8   right?
  9    on Page 25?                                           9      A. Yeah.
 10       Q. Okay. Bottom of Page 25, Pierce writes,        10      Q. So this single guy who worked with
 11    "My partner wants to continue scaling, and our ROI   11   Pierce seems to be important enough that you
 12    is so damn low."                                     12   thought keeping him happy was necessary to keep
 13           Do you see that?                              13   the operation running, right?
 14           MR. COCHELL: This is Page 21?                 14      A. You know, it's a constant, I would say,
 15           MR. LEVINE: Page 25.                          15   negotiation dealing with an affiliate.
 16           MR. COCHELL: Oh, Page 25. I'm sorry.          16           And I say it's a negotiation because
 17       A. Can you point me where is this on at           17   they are always wanting more, right? So they are
 18    that again?                                          18   going to say, I'm not happy with the payout, I'm
 19       Q. I can point it to you (indicating).            19   not happy with the conversions, you know.
 20       A. Okay.                                          20           Sometimes there's one or more guys,
 21       Q. So at this time, you knew that Pierce          21   sometimes it's just one guy, sometimes they sound
 22    had a partner, didn't you?                           22   like they are a big company, sometimes they are an
 23       A. Appears so, yeah.                              23   individual. They'll say, I'm not happy.
 24       Q. He didn't say partners.                        24           And so it's a constant negotiation.
 25       A. I have no idea how many he has or if he        25   We're doing things to keep our partners happy.


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  1       Q. You already testified you don't remember         1   there. And are these fake profiles? Do these
  2    Pierce ever talking about other guys other than        2   people exist? What do they do? I don't know.
  3    this one guy, correct?                                 3          And if they are working with other
  4       A. Yeah. I don't recall him talking about           4   credit report offers, I mean, I -- this -- this is
  5    any -- any other guys.                                 5   very interesting.
  6       Q. Okay.                                            6          MR. WARD: Off the record.
  7       A. I do know that, you know, having looked          7                (Whereupon, discussion was held
  8    at Revable online, there are multiple guys that        8                 off the record.)
  9    represent to be from Revable, specifically, you        9          MR. LEVINE: Let's go back on the
 10    know, multiple affiliate managers.                    10   record. I might just be slower.
 11           So I don't know how many of these guys         11          Actually, let's go off.
 12    he worked with, if he worked with just one of the     12                (Whereupon, discussion was held
 13    guys or he has a guy who is a partner, an             13                 off the record.)
 14    affiliate.                                            14          MR. LEVINE: Back on. I apologize for
 15           But, you know, obviously I want to keep        15   the delay.
 16    Revable happy and get more traffic from them at       16                (Whereupon Deposition Exhibit
 17    this point in time.                                   17                 No. 19 was marked for
 18       Q. You said "keep him happy," as in the            18                 identification by the court
 19    guy.                                                  19                 reporter.)
 20       A. Keep -- keep Revable happy.                     20   BY MR. LEVINE:
 21       Q. Okay. Let's go to 49. Now we're in              21     Q. Okay. Mr. Brown, I'm showing you a
 22    November 19th, 2016. And Pierce in the middle of      22   document that's been marked for identification as
 23    the page says, "Anyway, my boy is starting to get     23   Exhibit 19. Do you recognize this document?
 24    really pissy and wants to push all the traffic to     24     A. It appears to be a conversation between
 25    the other CR," the other offer.                       25   Danny and myself.

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  1            Do you see that?                               1      Q. Okay. Do you know the medium?
  2        A. Yeah.                                           2      A. I believe this is Skype.
  3        Q. So this is now a third instance where           3      Q. Okay. Danny is Danny Pierce?
  4     either you or Mr. Pierce is referring to a single     4      A. Correct.
  5     partner; isn't that right?                            5      Q. So let's go to Page 12, and now I'm
  6        A. He's referring to a guy, you're right.          6   looking at the pages noted at the bottom of the
  7            Like I said, this is a constant                7   document.
  8     negotiation. He's saying he's not happy, his guy      8      A. Okay.
  9     is not happy. All right. They want to send their      9      Q. So looking at Page 12 of Exhibit 19.
 10     traffic to another offer, and they do that to        10   And if you look at December 11th, 2015, at
 11     negotiate payouts.                                   11   9:41 a.m., Danny Pierce says, "My partner and I
 12            And was I the only credit report offer        12   are going over different strategies to increase
 13     that they sent this fraudulent traffic to?           13   profits while sending to your offer and don't want
 14        Q. So you're saying "they". So you knew           14   to step on your toes."
 15     there were at least two guys, right?                 15          Do you see that?
 16            MR. COCHELL: Objection,                       16      A. Yeah.
 17     mischaracterizes the testimony.                      17      Q. So this is another instance where
 18     BY MR. LEVINE:                                       18   Mr. Pierce is referring to only one partner,
 19        Q. No. I'm asking a question.                     19   right?
 20        A. Come on. I mean, we're sitting here            20      A. Are you asking if his partner is his
 21     today with the knowledge we have here today. I       21   affiliate, is that what you're getting at --
 22     know there to be at least two guys.                  22      Q. No.
 23            And you know what, to this day, I think       23      A. -- or no?
 24     there might be more. If you look at Revable          24      Q. This is another instance where he's --
 25     online, there's other affiliate managers out         25   where Mr. Pierce is referring to only one partner,


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  1    correct?                                               1         I don't care if he has 1 guy or 50 guys
  2       A. Yeah, it appears so.                             2   running it. We want their traffic to increase.
  3       Q. And you responded to that, right?                3   We want more business. We want to keep growing
  4       A. Yeah.                                            4   together.
  5       Q. Okay. Let's turn to Page 17. Now I               5      Q. But if you believed he had 50 guys
  6    want to go on February 5th, 2016, at 6:16 p.m.         6   running it, why would you be concerned if only 1
  7    Okay?                                                  7   of those 50 guys bounced?
  8       A. Mm-hmm.                                          8         MR. COCHELL: Objection, form of the
  9       Q. Danny says, "My guy over here wants to           9   question.
 10    do something else, and I'm starting to feel like a    10   BY MR. LEVINE:
 11    slave owner. LMAO."                                   11      Q. You can answer.
 12          You respond two minutes later, "If he           12         MR. COCHELL: You can answer.
 13    bounced, is he the only one to keep the lights on?    13      A. Can you repeat the question?
 14    Would hate to see it die after all the work we all    14         MR. LEVINE: Could the reporter, please?
 15    putting into it. Thought you said was getting to      15               (Whereupon, record was read as
 16    be less work on your end with your new IP source."    16                requested.)
 17          Do you see that?                                17         MR. COCHELL: Objection, form of the
 18       A. Yeah.                                           18   question.
 19       Q. And Danny responds, "He's the one that          19         Go ahead.
 20    runs all the apps, scripts, and does the legwork,"    20      A. So I don't have a lot of insight into
 21    right?                                                21   Danny's organization other than what he's
 22       A. Yep.                                            22   disclosed to me and other than what's available
 23       Q. So you knew what Danny's partner was            23   publicly online.
 24    doing, didn't you?                                    24         So publicly online, I can see he has
 25       A. I mean, there's moments in time -- we've        25   multiple affiliate managers. He has a network

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  1     gone over, you know, I think, about a year plus of    1   that's listed in multiple affiliate network
  2     text message histories or chat histories. There's     2   directories representing to promote many affiliate
  3     times where he says partner, times where he says      3   offers, one of them being mine. All right.
  4     guy --                                                4           So I don't know if he has one partner
  5        Q. Well --                                         5   even at this point in time that's dedicated to
  6        A. -- times where he says different things.        6   managing this offer, managing multiple affiliates,
  7            But, I mean, I can agree it seems that         7   or if this is the affiliate himself.
  8     there is one person, maybe more, I don't know; but    8           So, yes, he sheds a little bit of
  9     there is one person that is managing this offer       9   insight into saying, my guy here, my partner
 10     for him.                                             10   there. But the reality is it's his business; and,
 11            That could be an affiliate manager            11   you know, he's free to run it however he wants.
 12     managing the traffic. It could be one affiliate.     12           And whether he has 1 guy, 2 guys, or 50
 13     But it -- you know --                                13   guys honestly doesn't really matter too much.
 14        Q. You say you don't know what he was             14      Q. It's true though that we've now gone
 15     doing, but you asked that if this partner bounced,   15   through five examples in which either you or
 16     was he the only one to keep the lights on.           16   Mr. Pierce refer to one partner of Mr. Pierce's,
 17            So you were at least concerned that if        17   correct?
 18     this partner left, the whole source would be cut     18      A. Correct.
 19     off, weren't you?                                    19      Q. And we haven't gone through any examples
 20            MR. COCHELL: Objection; form of the           20   where either you or Mr. Pierce refers to multiple
 21     question, lack of foundation.                        21   partners of Mr. Pierce, correct?
 22        A. So like any good business that's               22      A. Correct. But is this guy an affiliate
 23     managing partners and affiliates, right, we want     23   network? Is this guy an affiliate?
 24     the traffic to continue. I don't want Pierce's       24      Q. I'll ask -- thank you.
 25     traffic to go away.                                  25          And on two instances, you asked that if


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  1    this one guy left, would the whole source shut       1   traffic was much higher than any of your other
  2    down, didn't you?                                    2   sources, wasn't it?
  3        A. And I don't -- I don't know if you            3      A. That's incorrect.
  4    understand our industry very well.                   4     Q. Okay. Let's turn to Page 8. Now I'm
  5        Q. I'm not asking about the industry. I'm        5   looking 12-2-15 at 2:54 p.m.
  6    asking about the text messages and Skype messages    6      A. Mm-hmm.
  7    that are before you and before me.                   7     Q. You write -- actually, let's look at
  8        A. Yeah. There's some guy that Pierce uses       8   12-2-15 at 2:50 p.m. Danny writes, "Is the offer
  9    for traffic.                                         9   on those new MIDs you mentioned the other day?"
 10           Now, if that guy is an affiliate             10          And you respond, "They ready to go as
 11    manager, an affiliate -- or an affiliate network,   11   soon as we can throw some more volume at it.
 12    I don't have insight into that. And frankly, from   12   Can't just move the existing volume over. Have to
 13    my position, it doesn't matter a whole lot.         13   manage chargebacks."
 14        Q. Okay. Let's stick to 42-2, which is the      14          Do you see that?
 15    Skype conversation, Exhibit 19. Please turn to      15      A. Yep.
 16    Page 4 of Exhibit 19.                               16     Q. So this is another example -- well, tell
 17           If you look at November 24th, 2015, at       17   me what you meant by this.
 18    1:52 p.m., you write, "Never have this issue with   18          MR. COCHELL: I'm sorry. What was the
 19    other pubs though. Probably because you the only    19   question?
 20    one we have to load balance with."                  20   BY MR. LEVINE:
 21           And feel free to read the text around        21     Q. What did you mean by "have to manage
 22    it.                                                 22   chargebacks"?
 23           What I'm going to ask you is: What did       23     A. I mean exactly what I said. You know,
 24    you mean by load balance?                           24   there's -- different banks have different limits
 25        A. Can you point me to the page? Is it          25   on what they can accept, including chargebacks.

                                                    190                                                      192
  1     near the bottom?                                    1          And I think we went through some
  2            I see it now.                                2   different examples where a bank will say, I only
  3        Q. You're on -- yeah.                            3   want to get this many chargebacks. Other banks
  4            MR. COCHELL: What part of it?                4   will say, I only want to process this amount of
  5            MR. LEVINE: This is 11-24-15.                5   dollar volume.
  6            MR. COCHELL: It's like six lines from        6          So it means exactly that. We have to
  7     the bottom?                                         7   manage the volume and the guidelines that were
  8            MR. LEVINE: Yeah.                            8   provided in order to keep our accounts.
  9            MR. COCHELL: Okay. All right. Thanks.        9      Q. But "the existing volume," you refer to
 10        A. You know, it means exactly what it says.     10   the existing volume. That evidently had
 11     He's essentially a large affiliate.                11   chargebacks that were too high to go through the
 12            I say pubs. Publishers is also a term       12   new MIDs, correct?
 13     used interchangeably as affiliate.                 13      A. I don't see this stated anywhere. I
 14            He's -- he's my biggest customer, and so    14   think you're reading something into this that's
 15     big that I had to put the traffic on multiple      15   not here.
 16     sites. So we have certain processing limits for    16      Q. Well, you said, We need to "throw some
 17     different sites.                                   17   more volume at it. Can't just move the existing
 18        Q. And that had to do with chargebacks,         18   volume over. Have to manage chargebacks."
 19     didn't it?                                         19      A. I don't understand your question.
 20        A. This has to do with the volume that          20      Q. So the existing volume had a chargeback
 21     we're approved for at the merchant processing      21   rate that was too high to send through the new
 22     banks.                                             22   MIDs, correct?
 23        Q. But Danny Pierce is charged -- let me        23      A. It doesn't say that existing volume is
 24     strike that.                                       24   higher or lower. I don't know where you're
 25            The chargeback rate on Danny Pierce's       25   getting that.


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  1            But this is talk about how we manage our       1   what it was yesterday. Chargebacks always been a
  2     volume to stay within the guidelines of the bank.     2   shit ton over five percent."
  3        Q. And the existing volume wasn't good             3          Do you see that?
  4     enough because you said, "Can't just move the         4      A. Yeah, I do.
  5     existing volume over."                                5      Q. And you were talking about Danny
  6        A. And there's lots of reasons why you may         6   Pierce's traffic, right?
  7     not want to move volume over.                         7      A. Yeah. This is a perfect example,
  8        Q. But you say the reason: "Have to manage         8   another example of how it's a constant
  9     chargebacks."                                         9   negotiation, me saying, Your traffic is not good
 10        A. That may be one factor.                        10   enough, I want to pay you less, or he's saying, My
 11        Q. Okay. Let's move on.                           11   traffic is so amazing, I want to be paid more.
 12            Let's go to Page 20, very last message        12           So there's no way Pierce was over five
 13     on Page 20 of Exhibit 42-2, which is Deposition      13   percent. And, in fact, I know our chargeback rate
 14     Exhibit 19. 2-25-16, 11:54 p.m., Mike Brown.         14   to be much lower, especially at the time before
 15     "These chargebacks on this traffic killing me.       15   the lawsuit. So this is inaccurate but used for
 16     Had to drop the price of the offer to just keep it   16   Danny to get better deals and to make him feel
 17     running. A hundred percent losing money right        17   like he has no reason to negotiate for higher
 18     now."                                                18   payout.
 19        A. Okay.                                          19      Q. These are your words though.
 20        Q. Why was Danny Pierce's traffic -- why          20      A. Correct.
 21     was the chargeback on Danny Pierce's traffic         21      Q. So what you're saying is that you were
 22     killing you?                                         22   just not telling the truth to Danny.
 23        A. So this goes back to what I was saying         23      A. Correct. It's a constant negotiation.
 24     previously that it's a constant negotiation with     24      Q. And by "negotiation," you mean no need
 25     an affiliate. They say, We're not happy. We want     25   to tell the truth?

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  1    to get paid more.                                      1      A. Well, by negotiation, I mean he'll
  2           I say, I'm not happy. Their traffic             2   constantly say in your face, I'm going to send
  3    stinks.                                                3   this traffic to a different credit report offer.
  4           It's a constant negotiation that                4      Q. That's not what we're talking about.
  5    continues on for a long time.                          5          You said his chargeback rate was over
  6       Q. And the traffic stunk because the                6   five percent. Was that true or was it not?
  7    chargeback rate was so high.                           7      A. It's not true. I think the stats for
  8       A. No. This is something we say to                  8   the chargebacks will speak for themselves.
  9    negotiate.                                             9      Q. Danny says, "How do you keep processing?
 10       Q. So is this another instance in which you        10   Is your customer service not working?"
 11    refer to high chargebacks, but you didn't actually    11          You say, "Able to blend it with my other
 12    mean it?                                              12   volume."
 13       A. I think the data regarding the                  13          "Blend it," that's the load balancing we
 14    chargebacks will speak for themselves once we have    14   talked about earlier, right?
 15    access to the database.                               15      A. Of course. He is mixed in with other
 16       Q. But you had access to that during the           16   people whose traffic, like -- like business with
 17    operation of the business, did you not?               17   multiple sources of traffic.
 18       A. Of course I had access to the database.         18      Q. And that's what you were helping Tom
 19       Q. And you would even be able to break down        19   Fragala with, right?
 20    the chargeback rate by affiliate source, correct?     20      A. Tom Fragala was a white label partner
 21       A. Of course.                                      21   that owned the website ScoreOutlook.com.
 22       Q. Let's turn to page -- let's turn to the         22      Q. Yes. You've said that.
 23    next page, 2-25-16, 11:59 p.m. Danny: "How many       23          But you were helping Tom Fragala manage
 24    chargebacks are you getting?"                         24   chargebacks, correct?
 25           Brown: "Traffic looks like it's half           25      A. I think that's an inaccurate statement.


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  1        Q. Okay. Did Danny Pierce do affiliate                 1      Q. If you go down to 1:31 p.m., July 12th,
  2     marketing for Tom Fragala?                                2   2016, you talk about blending traffic. And you
  3        A. You would have to ask him.                          3   say, "No bank would take five percent one one let
  4        Q. Okay. Danny says, "Over five percent is             4   alone a ton of MIDs."
  5     death. Over 100 is death."                                5          Do you see that?
  6            And you respond, "Rest of the volume is            6      A. Yeah.
  7     good less than 1 percent, like .2 to .3 percent."         7      Q. And your testimony is, once again --
  8            Do you see that?                                   8   well, I'll ask you.
  9        A. Yeah.                                               9      A. I don't understand the question.
 10        Q. Was this also not true?                            10      Q. What you're telling Danny Pierce here
 11        A. Correct.                                           11   was not true either?
 12        Q. So when you told Danny Pierce that his             12      A. What part of the question is not sure
 13     chargeback rate was like a hundred and 50 times          13   because there's multiple sentences here, and I
 14     the rest of your traffic, that wasn't true?              14   want to be specific.
 15        A. It's not true.                                     15      Q. You say that you needed to blend Danny's
 16        Q. Okay.                                              16   traffic with other traffic because no bank would
 17        A. I think, like I said, the chargeback               17   take five percent. Do you see that?
 18     stats from the database will speak for themselves.       18      A. Yeah. I want -- I want Danny or Pierce
 19        Q. Okay. Let's go to Page 32, July 12th,              19   to feel like, you know, he can't take his traffic
 20     2016, at 12:54 p.m. It's the very top.                   20   somewhere else.
 21            Danny says, "What's the current" -- I'm           21      Q. So you were not telling the truth to
 22     sorry. Are you there?                                    22   him?
 23        A. Yeah.                                              23      A. Correct. It's none of his business what
 24        Q. Danny says --                                      24   my stats are.
 25             MR. COCHELL: What's the page number              25      Q. You didn't say, none of your business.

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  1     again?                                                    1   You lied.
  2            MR. LEVINE: Page 32.                               2      A. Yeah.
  3            MR. COCHELL: 32. What date? I'm                    3      Q. And this is the fourth time you lied to
  4     sorry.                                                    4   him about your chargeback rate?
  5            MR. LEVINE: 7-12-16.                               5      A. Yeah. He has no reason to know that.
  6            MR. COCHELL: Thank you.                            6      Q. Okay.
  7     BY MR. LEVINE:                                            7         MR. WARD: Off the record for a second.
  8        Q. Danny says, "What's the current                     8               (Whereupon, discussion was held
  9     chargeback percentage?"                                   9                off the record.)
 10            You respond, "I normally don't get into           10   BY MR. LEVINE:
 11     these details, only doing with you to be                 11      Q. You testified earlier that Danny
 12     transparent to keep it running. It's close to            12   Pierce's chargeback rate wasn't higher than any of
 13     five percent if by itself, always runs hot."             13   your other affiliates, right?
 14            Do you see that?                                  14      A. That's not what I said.
 15        A. Yeah.                                              15      Q. What did you say?
 16        Q. That wasn't true either?                           16      A. I said it wasn't, I think you said, 150
 17        A. No. I mean, just like I said, I don't              17   times higher.
 18     normally go into these details. These are the            18      Q. No. Earlier than that, I asked you, we
 19     private inner workings of my business. If an             19   can go back if we have to, about Danny's
 20     affiliate wants to ask stats on the chargebacks or       20   chargeback versus other chargebacks. And you said
 21     revenue or any other proprietary information, I          21   it was the same. You don't remember that?
 22     may give them an inaccurate number.                      22      A. Can you read back from the record?
 23        Q. And your testimony is that five percent            23               (Whereupon, discussion was held
 24     is inaccurate?                                           24                off the record.)
 25        A. Correct.                                           25


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  1                  (Whereupon, record was read as           1   China worker, Steve. I asked him to create this
  2                   requested.)                             2   report.
  3     BY MR. LEVINE:                                        3      Q. When was it generated?
  4        Q. Is it your testimony that the chargeback        4      A. I think it was the beginning to
  5     rate on Danny Pierce's traffic was the same as the    5   middle -- I'm sorry.
  6     chargeback rate on the other traffic going to your    6          Sometime after the lawsuit in January, I
  7     websites?                                             7   believe.
  8        A. You know, every -- every traffic source         8      Q. And what data did Steve -- did Steve
  9     has differences in chargeback rates, definitely.      9   rely on the CRM to generate this report?
 10        Q. Was Danny's -- I'm sorry.                      10      A. Yes.
 11        A. There's no doubt about it. And I think         11      Q. So Steve Score, that's Gordon Yang,
 12     the data, once we have access to the database, I     12   right?
 13     think it will speak for themselves.                  13      A. Yes.
 14        Q. Well, you do have access to the                14      Q. Gordon Yang had access to the CRM after
 15     database. But Danny --                               15   the filing of this lawsuit?
 16        A. No, we don't have access to the database       16      A. Yes.
 17     from my understanding. We have yet to turn that      17      Q. Does he have access as we speak today to
 18     over.                                                18   the CRM?
 19            MR. COCHELL: Well, no. It's been              19      A. No.
 20     turned over, but we can't decipher it just yet.      20      Q. At what point did he lose access?
 21        A. It's in a weird format or something.           21      A. So immediately after the lawsuit, we
 22        Q. Danny Pierce's traffic, was it                 22   prepared this type of report.
 23     consistently higher than the rest of your traffic?   23          And then thinking at the time we were
 24        A. I would need to see the data in the            24   complying with the PI, we cleared out all the
 25     database.                                            25   Source Code 35 data. And that resided still with

                                                      202                                                      204
  1        Q. You don't remember currently?                   1   Zenfia.
  2        A. I would need to see the data in the             2          So Steve would have had access to that
  3     database.                                             3   partial data until my declaration that we
  4        Q. That wasn't my question.                        4   certified we destroyed all the data.
  5            You don't remember currently, yes or no?       5      Q. Was this report generated in preparation
  6        A. I don't remember currently if Pierce's          6   for the preliminary injunction hearing?
  7     traffic was higher than the thousands or hundreds     7      A. I believe I wanted to use it then, yeah.
  8     of other people that had this traffic.                8      Q. So at the time of the preliminary
  9        Q. He was your largest affiliate by far.           9   injunction hearing, Steve Score had access to the
 10        A. Correct.                                       10   CRM, correct?
 11        Q. Okay. Showing you a document that's            11      A. That's not what I said. I said it was
 12     going to be Exhibit 20.                              12   around right after this lawsuit was filed in
 13                 (Whereupon Deposition Exhibit            13   January, this report was generated.
 14                  No. 20 was marked for                   14      Q. Well, there's a chronology. The PI
 15                  identification by the court             15   hearing was in February. So he had access to the
 16                  reporter.)                              16   CRM in January, correct?
 17     BY MR. LEVINE:                                       17      A. No. I said that we had removed the
 18        Q. Do you recognize this document? Do you         18   Source Code 35 data believing at the time we were
 19     recognize this document?                             19   complying with the order.
 20        A. Oh, yes.                                       20      Q. So you deleted data from the CRM prior
 21        Q. What is it?                                    21   to producing it to the FTC?
 22        A. This is the report on all the revenue          22      A. No. We made a copy of it.
 23     orders, refunds, and chargebacks.                    23      Q. And where did the copy go?
 24        Q. And how is this generated?                     24      A. That was in Zenfia's account.
 25        A. This was generated at my direction to my       25      Q. Where is the copy currently?


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  1       A. There are no copies of the database.            1   the preliminary injunction hearing?
  2       Q. Steve Score had a copy of the entire            2      A. So the receiver --
  3    database, didn't he?                                  3      Q. It's a yes or no question, Mr. Brown.
  4       A. No.                                             4      A. I can't answer it as a yes or no --
  5       Q. Well, how was he able to generate data          5          MR. COCHELL: Do you recall one way or
  6    on Source Code 35 if you had removed Source Code      6   the other?
  7    35 from the database?                                 7      A. I can't answer it as a yes or no
  8       A. So this is -- we talked about Amazon,           8   question.
  9    right? Amazon is a cloud provider. He was able        9          But what I can tell you is the
 10    to run these reports in the cloud provider. It       10   receivership took ownership, took control --
 11    doesn't mean he has a copy of the database. He       11      Q. I know that.
 12    had access to run a query on the database.           12          Answer my question: Did you have access
 13           And what we specifically deleted were         13   to the CRM, yes or no?
 14    not the records. It was the personal identifiable    14      A. I don't recall, unless you have
 15    information. So we replaced the name, like let's     15   something else to refresh my memory.
 16    say a record has Mike Brown, it was M, star, star,   16      Q. I have your testimony. I don't know if
 17    star, B, star, star, star, and everything else was   17   it's true.
 18    starred out.                                         18          I'm asking you: Did you have access --
 19           That's what we did to insure compliance       19   Steve Score worked for you, right?
 20    with the order, what we thought was complying with   20      A. Correct.
 21    the order at the time through my previous counsel,   21          MR. COCHELL: Okay. Look, he asked for
 22    which I now know to not be completely accurate.      22   you to refresh his memory. Show him the
 23       Q. So when you told Judge Kennelly you            23   testimony. Refresh his memory.
 24    didn't have access to the CRM, that wasn't true,     24          MR. LEVINE: His testimony wouldn't
 25    was it?                                              25   refresh his recollection as to what he had access

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  1            MR. COCHELL: At what time?                    1   to, only what he testified to.
  2            MR. LEVINE: During the preliminary            2          We'll get to the testimony later. I'm
  3     injunction hearing.                                  3   asking about access, a point on which the
  4        A. Can you refresh my memory?                     4   testimony has nothing to say.
  5        Q. Well, did you have access to the CRM           5          I'll ask the question unless you have an
  6     during the preliminary injunction hearing?           6   objection.
  7        A. Can you refresh my memory?                     7   BY MR. LEVINE:
  8        Q. No. I'm asking you if you remember             8      Q. Did you have access to the CRM during
  9     whether you had access to the preliminary            9   the preliminary injunction hearing?
 10     injunction during the -- excuse me --               10      A. You know, I need to refresh my memory as
 11            MR. COCHELL: He's asked for -- you said      11   to what time the receiver took over the AWS
 12     you would give him documents to refresh his         12   account.
 13     memory.                                             13      Q. Well, let's back it up.
 14            MR. LEVINE: I'm not going to give him a      14          Did you lose access to the CRM at the
 15     document at this time. I'm asking him if he         15   time the receiver took over the AWS account?
 16     remembers.                                          16      A. I don't recall when --
 17     BY MR. LEVINE:                                      17      Q. Well, we know you didn't because you
 18        Q. And if -- you haven't answered. If you        18   started a new business.
 19     don't remember, I'll give you the document.         19          MR. COCHELL: You've got to let him
 20            Let's start with seeing if you remember.     20   finish.
 21     See if that can be answered.                        21          MR. LEVINE: Okay.
 22        A. I'd have to look at --                        22      A. So --
 23        Q. Do you -- let me ask the question. Let        23      Q. Let me ask a new question. Okay?
 24     me ask the question.                                24      A. Mm-hmm.
 25            Did you have access to the CRM during        25      Q. You didn't lose access to the database

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  1     until the contempt hearing, correct?                  1   has both tainted and what you call non-tainted
  2        A. I know at the contempt hearing, we              2   data; am I clear?
  3     certified that we had deleted the data.               3      A. I understand.
  4            I mean, I can't recall specifically when       4      Q. The CRM had both types of data, didn't
  5     we -- before that, you know, when the receiver        5   it?
  6     took ownership of it, or I can't recall               6      A. Yeah.
  7     specifically --                                       7      Q. So there's no confusion.
  8        Q. You can't recall when you relinquished          8         David Ling testified at the contempt
  9     control of the CRM; is that your testimony?           9   hearing that you had access to the CRM data. Was
 10        A. Correct. But I know there's documents          10   he lying?
 11     and email that can refresh my memory. I would be     11      A. No.
 12     happy to --                                          12      Q. So you did have access to the CRM data.
 13        Q. There's not.                                   13   Thank you.
 14        A. -- review them.                                14         Now I want to go back to Exhibit 4,
 15        Q. There's not.                                   15   Page 201, which is docket Page 101.
 16            MR. COCHELL: We're going to move that         16         MR. COCHELL: Exhibit 4, what?
 17     strike that sidebar.                                 17         MR. LEVINE: Exhibit 4, Page 201, which
 18     BY MR. LEVINE:                                       18   is docket Page 101.
 19        Q. What you know is that Steve Score was          19         MR. COCHELL: Okay.
 20     one of your contractors, right?                      20   BY MR. LEVINE:
 21        A. Yeah.                                          21      Q. Now, you already testified today that
 22        Q. He created Exhibit 20 at your direction,       22   when you said -- when the court said, "And then
 23     right?                                               23   the third one -- the third one was the internal
 24        A. Yes.                                           24   one," you understood the court to be referring to
 25        Q. And you already testified that you             25   the CRM. You already testified that, you

                                                      210                                                       212
  1     directed him to create this in preparation for the    1   remember?
  2     preliminary injunction hearing, right?                2      A. What line are we talking about here?
  3        A. I think it was used around then.                3      Q. Line l1 on Page 201 -- I'm sorry, Line 9
  4       Q. So if he had access to the -- so Steve           4   to 10 on Page 201.
  5     Score had access to the CRM prior to the              5      A. It says, "LinkTrust, and then the third
  6     preliminary injunction hearing, correct?              6   one was the internal one."
  7        A. At some point, yeah.                            7      Q. And you already testified that that was
  8       Q. At some point prior to the preliminary           8   the CRM, right?
  9     injunction hearing.                                   9      A. By CRM, you're talking about the AWS
 10        A. Yeah.                                          10   one?
 11       Q. And if Steve Score had access, then you         11      Q. Yeah.
 12     had access too, didn't you?                          12      A. Yeah.
 13        A. At some point before the PI, yes.              13      Q. So if you go to Page 202, Line 16
 14       Q. Okay. Did you lose it at some point             14   through 19, Judge Kennelly says, "So the internal
 15     before the PI?                                       15   one -- I want to make sure I'm tying everything
 16        A. That's the part I don't recall. I don't        16   together in my head. You don't have access to the
 17     recall it exactly when the receiver, you know,       17   internal one right now because it's been taken
 18     locked us out.                                       18   over by the receiver?"
 19       Q. But we know you were still using the            19          And you answer, "Correct."
 20     data in March and April. David Ling filed a          20          And that wasn't true, was it?
 21     declaration that said that. Was Ling lying in his    21      A. That's not what I'm saying. I'm saying
 22     declaration?                                         22   that, you know, there's obviously a good amount of
 23        A. I think you're confusing the tainted           23   prep work and things that were done to set up that
 24     data with the good data.                             24   new business credit data partners.
 25       Q. No. I'm talking about a database which          25          So if this is where I testify we didn't


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  1     have access, then I did not have access at this          1           MR. COCHELL: Yeah. This is simply when
  2     point in time.                                           2   it was filed.
  3         Q. So you had access in January, you lost            3           THE WITNESS: Oh, this is when filed.
  4     it at the hearing, you gained it back in March?          4           MR. COCHELL: That's all.
  5     What's going on?                                         5           THE WITNESS: Okay.
  6         A. I mean, this is a complex --                      6           MR. WARD: Okay. So go ahead.
  7         Q. No, it's not. You had access or you               7      A. So the PI hearing was in early February,
  8     didn't.                                                  8   and the complaint was filed January 10th.
  9            MR. COCHELL: Objection --                         9           So my -- one of the early reactions was
 10         A. Excuse me.                                       10   to find out the scope of the damage by Pierce. I
 11            MR. COCHELL: -- form of the question,            11   instructed Steve to create this report so I can
 12     argumentative. Please just ask questions without        12   understand the scope and the revenues from Pierce.
 13     arguing.                                                13           So at the PI hearing, somewhere before
 14     BY MR. LEVINE:                                          14   that, I believe we had conversations with the
 15         Q. What's complicated about it?                     15   receiver to turn over access to the database.
 16         A. This is a complicated CRM, as you've             16           Now, I would need to refresh my memory
 17     noticed. I think there's probably 140-plus tables       17   as to what date that was; but when I testified to
 18     in the database, and it's a sizable database.           18   this fact, we did not have access to the CRM.
 19     It's not something you just set up instantly, you       19           And it's a complicated system. It's not
 20     have access to or you don't have access to.             20   like you just take the CRM and set it up
 21            So at this point in time, we did not             21   overnight. It's a process.
 22     have access to it because this is my testimony.         22      Q. Well, it's complicated to set up. But
 23     There's no confusion about that --                      23   accessing it simply requires credentials, correct?
 24         Q. What if it was just for negotiation?             24      A. No. I mean, just like you gave us the
 25            MR. COCHELL: Well, let him finish,               25   CRM data now and we can't access this format --

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  1     Counsel.                                                 1      Q. Steve Score --
  2            Go ahead.                                         2      A. -- and how long did it take you to
  3        A. What's your question?                              3   access the CRM data?
  4        Q. Steve Score had access to the CRM before           4      Q. Well, you testified earlier that it was
  5     the preliminary injunction, and so did you, you          5   in a more useable format before the lawsuit.
  6     already testified to that, right?                        6      A. Right. It's running on a web server,
  7        A. Correct.                                           7   and the web servers were seized. The web servers
  8        Q. So your testimony is on the eve of the             8   were shut down. The DNS pointing to these
  9     preliminary injunction, you relinquished control         9   websites were killed.
 10     of the CRM?                                             10      Q. Your --
 11        A. So let me walk through some dates real            11      A. So this is very different than the raw
 12     quick. So the PI hearing is on February 23rd.           12   data exports that you're referring to. The CRM is
 13     All right. The lawsuit was filed on January 10th.       13   referred to as the websites, what you interact
 14     And Steve Score --                                      14   with, what I see every day.
 15            MR. WARD: Sorry. It was on the 14th              15      Q. I appreciate your description of the
 16     and the 13th, the PI hearing, and on the 8th of         16   CRM, but that's really not what I'm talking about.
 17     February of 2017. I thought I would just put that       17          I'm talking about access to the CRM.
 18     out there.                                              18   We've already established that Gordon Yang in
 19            MR. COCHELL: Thank you. That's good.             19   China had access to the CRM before the injunction
 20     Thank you.                                              20   hearing. So it wasn't so complicated that you
 21            THE WITNESS: I'm confused. Can you               21   couldn't get it to China, was it, accessing those
 22     repeat that again?                                      22   CRM?
 23            MR. WARD: The PI hearing was on the 8th          23      A. I think you're mischaracterizing the
 24     of February and the 13th and 14th of February,          24   testimony and the facts.
 25     2017.                                                   25      Q. How so?


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  1       A. I think you're not understanding the             1   January 31st of 2017, didn't you?
  2    difference between the CRM and the underlying          2      A. I did not transfer the CRM to him. He
  3    database of the CRM, right?                            3   assisted in transferring the CRM.
  4            So, for example, you turned over the           4      Q. From whom to whom?
  5    underlying database of the CRM in a highly             5      A. To a new Amazon account.
  6    unusable format that neither of us can access          6      Q. From you to a new Amazon account?
  7    right now as we speak to you today.                    7      A. Correct, to a new Amazon account.
  8            So would I have the ability with this          8      Q. So you copied the CRM into a new Amazon
  9    information to recreate these stats and create         9   account right before the preliminary injunction
 10    this report today without the infrastructure          10   hearing --
 11    behind the CRM to power it? No.                       11      A. He did a --
 12       Q. Well, let's turn back to Exhibit 20             12      Q. -- and then told the judge you didn't
 13    then. This was prepared before the preliminary        13   have access.
 14    injunction hearing; and it's pretty clean data,       14      A. No, no. You're completely
 15    isn't it?                                             15   mischaracterizing what I said.
 16           It perfectly captures the membership           16          Like I said, a CRM consisted of multiple
 17    order count, the last 12-month membership order       17   components. You have the whole front end
 18    count, the Source 35 membership order count; you      18   infrastructure and UI that powers the CRM; and you
 19    see all that?                                         19   have the raw data behind it in a highly unusable
 20       A. Yeah.                                           20   form, like kind of like what we have today.
 21       Q. So your affiliate in China was able to          21          So when he did a backup and we purged
 22    use the CRM to generate very precise data on CBC's    22   all the irrelevant data, we don't have the CRM
 23    business operations, wasn't he?                       23   sitting in front of it to power it.
 24       A. So like I said, this was done in                24      Q. What data --
 25    January, like right after the lawsuit was filed,      25      A. We don't have the CRM in front of it to

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  1     to understand the scope of the lawsuit.               1   access it.
  2            So what does that have to do with my           2          So when I say it can't be accessed, it's
  3     testimony weeks later saying I don't have access      3   because there's no websites and there's nothing
  4     anymore? I'm not following you.                       4   pointing to it.
  5        Q. Is it your testimony that you                   5          This was made off of a website
  6     relinquished access prior to the CRM, prior to the    6   (indicating). What I'm holding in my hand as
  7     preliminary injunction hearing?                       7   Exhibit 20, this was loaded through a web browser
  8        A. I'm saying there was a window where the         8   on a website.
  9     lawsuit was filed and the receiver did not take       9      Q. How do you know?
 10     action to kill our websites and to kill our CRM.     10      A. Because I accessed it to print it out.
 11            That window, I believe, was                   11      Q. Accessed the website?
 12     approximately a week. This report was run in that    12      A. Correct.
 13     week.                                                13      Q. What website was it?
 14            Then the receiver killed all the              14      A. Something on admin.MyScore360.com.
 15     websites, killed the DNS. You're unable to log       15      Q. Which you had access to at the time of
 16     into the back end of the CRM.                        16   the preliminary injunction hearing.
 17            If you recall, I gave them a URL to           17      A. No. This was within approximately the
 18     access the CRM of admin.MyScore360.com; and          18   first week before the receiver killed all of the
 19     magically they are not able to access it because     19   domain names and all of the websites, there was a
 20     they killed the websites.                            20   small window of time from when the lawsuit was
 21        Q. Who is --                                      21   filed to when the receiver killed everything.
 22        A. That is different than the data.               22   This is when that was generated.
 23        Q. Who is Irving Popovetsky?                      23      Q. The Irving -- did the -- did Irving
 24        A. He is a contractor.                            24   Popovetsky destroy what you called irrelevant data
 25        Q. And you transferred your CRM to him on         25   at your direction?


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  1       A. Irving didn't destroy anything.                  1   Irving copied it.
  2       Q. You said that he got rid of irrelevant           2       Q. At your direction.
  3    data. You said he "purged irrelevant data". What       3       A. Correct.
  4    does "purged" mean?                                    4           MR. WARD: The entire database?
  5       A. If I said that, then I was mistaken.             5           THE WITNESS: You can only make an
  6           What I -- what did happen was he copied         6   option -- or operation on the entire database, so
  7    it over, and I believe it was Steve who helped         7   it's a two-step process.
  8    purge the irrelevant data or the data we believed      8           MR. WARD: So that -- so you're saying
  9    we were not supposed to have.                          9   I'm correct, that he copied the entire CRM --
 10       Q. And Steve -- Steve deleted the data at          10           MR. COCHELL: One questioner --
 11    your direction?                                       11           MR. WARD: -- at your direction.
 12       A. Correct.                                        12           MR. COCHELL: -- at a time.
 13       Q. And that was before the preliminary             13           MR. LEVINE: No. I'm allowing him to
 14    injunction hearing?                                   14   ask questions.
 15       A. I don't recall the exact date.                  15           MR. COCHELL: No.
 16       Q. So if he purged the irrelevant data, it         16           MR. WARD: I'll take that as an
 17    follows that he also had the relevant data, right?    17   objection.
 18       A. There's -- there's data there.                  18           MR. COCHELL: I'm going to direct the
 19       Q. And what data did you deem irrelevant           19   witness not to answer.
 20    such that you directed him to delete it?              20           MR. LEVINE: I'll answer it.
 21       A. So at the time, it seemed very clear            21           MR. COCHELL: There's no tag teaming in
 22    that we were not supposed to have the Pierce and      22   depositions.
 23    Lloyd data. So at some point in time, we removed      23           MR. LEVINE: Find me --
 24    that data --                                          24           MR. COCHELL: I've never heard of that.
 25       Q. While allowing --                               25           MR. LEVINE: Find me a Rule of Civil

                                                      222                                                       224
  1        A. -- believing we were complying with the         1   Procedure that prohibits it.
  2     court order.                                          2          MR. COCHELL: Find me a rule that allows
  3        Q. While allowing Mr. Yang, known as Steve         3   two or three lawyers to ask one witness a
  4     Score, and Mr. Popovetsky to maintain a copy of       4   question. I've never seen it done --
  5     the rest of the data, correct?                        5          MR. LEVINE: Well, too bad.
  6        A. That's completely inaccurate.                   6          MR. COCHELL: -- and I've never allowed
  7            The data sits in Amazon. People may --         7   it, and I'm not going to start today.
  8     people are not -- let's see. The database is          8          MR. LEVINE: I'll ask the question.
  9     large. It's not something you can just click and      9   BY MR. LEVINE:
 10     download a file like an Excel file. It's a long      10       Q. You transferred the whole database to
 11     time-consuming process.                              11   Popovetsky.
 12            It's not something that someone in China      12       A. I'd have to see the chat --
 13     over a very slow Internet connection is just going   13       Q. No, you don't.
 14     to be able to do.                                    14       A. -- to refresh my --
 15        Q. It takes about five and a half hours,          15       Q. You already answered Guy.
 16     right?                                               16       A. -- memory.
 17        A. It would depend on your Internet               17       Q. You said you can't transfer parts of the
 18     connection. It could take days or months.            18   data; you transfer the whole thing.
 19        Q. To transfer it to Irving Popovetsky, it        19       A. I am drawing a blank as to if we purged
 20     took about five and a half hours, right?             20   it before or after the transfer.
 21        A. I don't know. There's a chat                   21          But I know our chat transcripts, which
 22     conversation which would tell us.                    22   you're heading at over there, will gladly refresh
 23        Q. But you did copy the entire database to        23   my memory.
 24     Irving Popovetsky, correct?                          24       Q. This is on a Slack, right?
 25        A. I didn't copy the database to anyone.          25       A. Yeah.

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  1                 (Whereupon Deposition Exhibit             1   system which encompasses a database, right?
  2                  No. 21 was marked for                    2          So in this action, he's making a copy of
  3                  identification by the court              3   the database, and we're complying with the court
  4                  reporter.)                               4   order after this and removing the irrelevant data.
  5            MR. LEVINE: This is going to be                5   And this was done in preparation because the
  6     Exhibit 21.                                           6   receiver wanted the Amazon account.
  7            Okay. I'm showing you -- I'm sorry.            7          And if you recall, on the phone call
  8            MR. COCHELL: Thank you.                        8   with the receiver and the FTC, I specifically
  9            MR. LEVINE: We have got to share.              9   stated that this was Zenfia data.
 10     BY MR. LEVINE:                                       10          And you stated you wanted the whole
 11       Q. I'm showing you, Mr. Brown, a document          11   Amazon accounts and proceeded to give me some mini
 12     that's been marked for identification as             12   lecture.
 13     Exhibit 21.                                          13          And so we complied with that by giving
 14           Is this the chat that you said would           14   the Amazon account and made a copy of the data and
 15     refresh your recollection?                           15   complied with the order. And now the database is
 16       A. I believe so.                                   16   a piece of the CRM.
 17       Q. Okay. And this is a chat on Slack               17          So just because you have a copy of the
 18     between you, Irving Popovetsky, and Steve Score,     18   database like we do today, you purportedly sent us
 19     correct?                                             19   a copy of the database, I don't have the CRM
 20       A. Do I have two copies of this?                   20   infrastructure to view this data and access it in
 21       Q. Oh, thank you.                                  21   an easy way. This is a piece of this
 22       A. I believe so, yes.                              22   (indicating).
 23       Q. Okay. And David Ling is on this chat            23          So when I say I didn't have access to
 24     too, correct?                                        24   the CRM, that is accurate.
 25       A. I don't know. I don't see his name on           25      Q. But you have access to the data within

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  1     here.                                                 1   the CRM.
  2         Q. Okay. All right. So if you look at the         2      A. There's a copy of the CRM that was moved
  3     bottom of Page 21 -- excuse me, Exhibit 21, first     3   somewhere without being set up, I guess you could
  4     page, Popovetsky says on January 31st, "The           4   call it.
  5     database transfer is underway." Expect to             5     Q. But I'll ask the question again.
  6     complete it "in about five hours."                    6           But at the time of the preliminary
  7            Do you see that?                               7   injunction hearing, you had access to the data
  8         A. Oh, yes. I remember this.                      8   within the CRM, correct?
  9        Q. So that refreshes your recollection?            9      A. In some format.
 10         A. Yeah.                                         10      Q. Okay. Okay. Let's move on.
 11        Q. And this is January -- excuse me.              11            MR. COCHELL: No. Let's spend another
 12            This is January 31st, 2017, right?            12   20 minutes on that.
 13         A. Correct.                                      13   BY MR. LEVINE:
 14         Q. So when you told the judge you didn't         14      Q. Actually, I do have to ask you
 15     have access to the CRM, that just wasn't true, was   15   something.
 16     it?                                                  16           Did Irving -- are you aware whether
 17         A. That's completely not understanding           17   Irving Popovetsky destroyed his copy of the data
 18     the -- what I'm saying.                              18   after the contempt hearing?
 19        Q. Did you have access or didn't you have         19      A. Like I said, Irving never had a copy of
 20     access during the preliminary injunction hearing?    20   the data.
 21         A. Listen to what I'm saying very clearly.       21      Q. Okay. What about Steve Score, are you
 22            MR. COCHELL: Objection, form of the           22   aware whether Steve Score destroyed his copy of
 23     question.                                            23   the data after the contempt hearing?
 24         A. A CRM is a content management system.         24      A. Like I said, Steve Score never had a
 25     It's not a CM database. It's a content management    25   copy of the data.

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  1       Q. So whom were you transferring it to?            1   chargeback count, 10,204."
  2       A. A new Amazon account.                           2         Do you see that?
  3       Q. And who had access to that new Amazon           3      A. Yeah.
  4    account?                                              4      Q. Okay. You have a calculator out, I
  5       A. Me.                                             5   think, on your phone. Could you divide 9,126 by
  6       Q. Okay. Thank you.                                6   10,204 for me, please?
  7           All right. Let's go back to Exhibit 20,        7      A. Divide what?
  8    please. You have that in front of you?                8      Q. 9,126 by 10,204.
  9       A. Yep.                                            9      A. Hold on one second. So you're going to
 10       Q. Now that we've dealt with the provenance       10   compare the Source Code 35 chargebacks with which
 11    of this data, let's talk about it.                   11   ones?
 12           We were talking about Danny Pierce's          12      Q. Do you mind if I take the exhibit, and I
 13    chargeback, right; do you recall that?               13   can highlight them for you?
 14       A. Yeah.                                          14      A. Yeah.
 15       Q. If you look at the bottom of this table,       15      Q. I'm going to take the last 12-month
 16    I want to draw your attention to two rows. Okay?     16   chargeback count as the denominator.
 17    One row says, "last 12 months chargeback count."     17      A. Mm-hmm.
 18           It's about six or seven from the bottom.      18      Q. And the Source 35 last 12-month
 19           And then the third row from the bottom        19   chargeback count as the numerator. Got it?
 20    says, "Source Code 35 last 12 month chargeback       20      A. Yeah. This isn't accurate.
 21    count."                                              21      Q. What's not accurate?
 22           Do you see that?                              22      A. The chargebacks were not ten times
 23       A. Give me a moment, please.                      23   larger as this shows.
 24       Q. Sure. Just tell me when you're ready.          24      Q. What do you mean?
 25       A. Yes, I see it.                                 25      A. Let me review this real quick. One

                                                     230                                                       232
  1       Q. Now, this is the 12 months before               1   moment.
  2    whenever Gordon Yang created this database, right,    2         Okay.
  3    or created this document, right?                      3     Q. You were saying --
  4       A. Can you repeat the question?                    4      A. Okay. What number do you want me to
  5       Q. When it says "last 12 months," is that          5   divide?
  6    referring to 12 months prior to the time that this    6     Q. Let's do the math, 9,126 divided by
  7    report was created?                                   7   10,204.
  8       A. Yes.                                            8      A. What number are you trying to reach?
  9       Q. And it was created sometime in                  9      Q. That's what the calculator will tell us.
 10    January 2017, correct?                               10      A. I want to know your -- your --
 11       A. Correct.                                       11         MR. COCHELL: He wants to know what the
 12       Q. Okay. So if you look at the last               12   percentage of chargebacks are for --
 13    12-month chargeback count, there were 10,204         13   BY MR. LEVINE:
 14    chargebacks.                                         14      Q. Is it accurate?
 15          Source 35 is Danny Pierce, you testified       15         MR. COCHELL: -- Danny Pierce of the
 16    earlier, correct?                                    16   whole thing.
 17       A. Correct.                                       17   BY MR. LEVINE:
 18       Q. And if you look at his chargeback count        18      Q. Is it accurate, and you can check it on
 19    in the last 12 months, 9,126, right?                 19   your calculator, that 89.4 of your chargebacks in
 20       A. The Source Code 35 says, "last                 20   the 12 months before January 2017 were
 21    12 months, 9,126," yep.                              21   attributable to Danny Pierce?
 22       Q. And last 12 months overall is 10,204,          22      A. I don't believe that to be so, no.
 23    correct; do you see that?                            23     Q. So Exhibit 20, the -- but you agree with
 24       A. Which line are you looking at?                 24   the math, right?
 25       Q. Seven from the bottom, "Last 12 months         25      A. I agree your -- your math of dividing


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  1     one number by another --                              1   question.
  2        Q. Did I choose the right numerator and the        2   BY MR. LEVINE:
  3     right denominator?                                    3      Q. Why is there -- just answer the question
  4        A. You know, I think the data will speak           4   I asked.
  5     for itself in the database. I mean, it's entirely     5      A. I'm sorry. Can you repeat the question?
  6     possible someone could have made an error in          6      Q. I'll rephrase it.
  7     generating this report.                               7          What is your basis for saying that the
  8        Q. You produced this report to us.                 8   data reflected in Exhibit 20 is mistaken?
  9        A. I didn't produce this report. Steve             9          MR. COCHELL: Objection; form of the
 10     Score produced this report.                          10   question, asked and answered.
 11        Q. Your attorney produced this report.            11          Go ahead and answer it again.
 12     That's why it says at the bottom, CBC, slash,        12      A. So according to this document, it says
 13     Brown 296.                                           13   last 12 months, chargebacks are 10,000, right?
 14        A. I talked about who developed this              14          And then it says last 12 months for
 15     report, right? Someone wrote a query to arrive at    15   Source Code 35, 9,000.
 16     this number. Obviously the query is incorrect.       16          So this would lead me to believe that
 17        Q. Why is it obviously incorrect?                 17   the chargebacks were only 1,000 higher to
 18        A. Because I know that Pierce wasn't 80 or        18   encompass all of the chargebacks, which I don't
 19     90 percent of the chargebacks for a fact.            19   think to be true.
 20        Q. Even though you told Pierce over and           20      Q. But you don't have any specific
 21     over his chargeback rates were five times higher,    21   mathematical error that you can point to that
 22     that was all a lie, so is Exhibit 20; is that your   22   would have generated this purported error, do you?
 23     testimony?                                           23      A. Well, see, this is where the data and
 24        A. So the data in the database will show us       24   the database is going to tell us because realize,
 25     the accurate chargeback count; and if there was a    25   a human being created a report and wrote a sequel

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  1     mistake in how this is calculated, then I would --    1   query to generate this; and it's entirely possible
  2     I would love to see the real data.                    2   that the total could be inaccurate.
  3        Q. Well, you generated -- Steve Score              3          I would love to go in there and generate
  4     generated this data at your direction based on the    4   an accurate total. And the data in the database
  5     database that he had access to. Where is the          5   doesn't lie. It's in the database.
  6     error from?                                           6     Q. Apparently this data did, which it comes
  7        A. Sometimes developers make mistakes.             7   from the database.
  8        Q. But you don't have any specific basis           8          MR. COCHELL: Objection, argumentative.
  9     for rejecting the data in Exhibit 20, do you?         9   BY MR. LEVINE:
 10           MR. COCHELL: Objection; form of the            10     Q. You relied on this data in battling the
 11     question, misstates the witness's testimony.         11   preliminary injunction, didn't you?
 12           MR. LEVINE: Okay. I'll ask.                    12     A. I don't know if we presented this at the
 13           MR. COCHELL: He disagrees with it.             13   preliminary injunction.
 14     You've asked him for the basis of his                14          MR. COCHELL: It wasn't marked as an
 15     disagreement. He's told you.                         15   exhibit.
 16           MR. LEVINE: I'm going to ask a new             16          MR. LEVINE: That's true.
 17     question.                                            17   BY MR. LEVINE:
 18     BY MR. LEVINE:                                       18     Q. But you said in your first declaration
 19        Q. You've already agreed that my math is          19   that Pierce generated about $6.8 million in
 20     right based on Exhibit 20.                           20   revenue for CBC; do you remember that?
 21           What I'm asking you is: Are you aware          21     A. Yeah.
 22     of any specific error in the math behind             22     Q. And look at that, 6.8 million, and
 23     Exhibit 20 that would have led to what you call a    23   that's just for the last 12 months for Source Code
 24     mistake?                                             24   35; do you see that?
 25           MR. COCHELL: Objection, form of the            25     A. No. That's for all time.


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  1        Q. Oh, okay. I'm sorry. Right, you're                 1      Q. And you decided not to use this data at
  2     right.                                                   2   the preliminary injunction as evidence?
  3            And that's exactly what you wrote in              3          MR. COCHELL: Objection, form of the
  4     your opposition. That's exactly what was                 4   question.
  5     reflected in your opposition to the preliminary          5          Go ahead.
  6     injunction, correct?                                     6      A. So I think it's no secret that my
  7        A. Yes.                                               7   previous counsel was not good. There's a lot I
  8        Q. So you relied on this data in opposing             8   would have preferred to do differently.
  9     the preliminary injunction, correct?                     9          And I think you might be proving our
 10        A. On this particular line item, the                 10   point, you know, whether this number is right or
 11     6.8 million, yes.                                       11   wrong.
 12        Q. So that line item is right, and you're            12          If you think it's right, then this just
 13     certain that's right?                                   13   goes to show that the rest of our business was
 14        A. Well, you know what, this calls me to             14   that much more good and untainted, right?
 15     question the accuracy of all the numbers here. If       15          If it's not right, like I think it is,
 16     one is correct, I think we should validate them         16   then I think it will show that the chargeback rate
 17     all.                                                    17   is not that much different; so --
 18        Q. Okay. Okay. Actually, I do have some              18      Q. So you want to use this data in whatever
 19     further questions about Exhibit 20.                     19   way best serves your case or not use it?
 20            Did -- how did you -- how did you obtain         20          MR. COCHELL: Objection, argumentative.
 21     Exhibit 20?                                             21   BY MR. LEVINE:
 22        A. I asked Steve to generate this.                   22      Q. Isn't that what you just said?
 23        Q. And that was before the preliminary               23          MR. COCHELL: No. That's not what he
 24     injunction hearing.                                     24   said. Object --
 25        A. This was sometime in early January.               25      A. No, that's not what I said.

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  1        Q. Right. Did you look at it?                         1          MR. LEVINE: Please have your client
  2        A. Of course.                                         2   answer the question.
  3        Q. Did you go back to him and say, this               3      A. That's not what I said. I think you're
  4     can't be right, 90 percent of my chargebacks are         4   mischaracterizing this.
  5     from Danny Pierce?                                       5          And, you know, frankly, I don't think we
  6        A. I don't recall saying that.                        6   subtracted the refunds and chargebacks from the
  7        Q. You were really -- I think it's fair to            7   6.8 million number. I think now that that could
  8     say you were really determined to modify the             8   be another error. The numbers might -- the
  9     temporary restraining order such that you could          9   damages might be lower from Pierce and Lloyd.
 10     continue to operate a portion of your business,         10      Q. You don't know --
 11     correct?                                                11      A. I think we should revisit that. It
 12        A. Correct.                                          12   looks like the -- the refunds for Pierce was
 13        Q. That was what your attorneys were                 13   nearly half a million dollars. And the
 14     seeking at the preliminary injunction hearing,          14   chargebacks, which also count as refunds, look
 15     correct?                                                15   like they total about $400,000. So I think the
 16        A. Correct.                                          16   damages might be closer to 6 million.
 17        Q. And one of the things you kept arguing            17      Q. So that data you trust.
 18     in the preliminary injunction hearing is that the       18      A. Well, we would have to go through and
 19     data would show a lot of your business was              19   verify it, like I previously said. If there's a
 20     untainted, right?                                       20   problem with one of these fields, like I suspect
 21        A. Correct.                                          21   there is, I think we should go through it and
 22        Q. And you had your affiliate -- you had             22   recreate this.
 23     your contractor, Steve Score, generate this report      23          You have the data. He supposedly has
 24     about data from the business, correct?                  24   the data. I think this would be a great
 25        A. Correct.                                          25   opportunity to go through and analyze it.

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  1        Q. In January, you had the data, and you          1          So if you want to look for the Source
  2     did have someone analyze it. And this is what he     2   Code 35 refund amounts, $471,000, versus all
  3     generated, isn't it?                                 3   refund amount, $884,000, that will go to show you
  4        A. Well, sometimes people make mistakes. I        4   as a percentage how different or similar the
  5     asked a software engineer to create these stats.     5   traffic was.
  6     And with software comes mistakes.                    6          This looks more in line with what I
  7        Q. You blame your attorney for not using it       7   would be expecting the chargeback count to reflect
  8     at the preliminary injunction hearing; but Steve     8   because the chargeback count and refund counts are
  9     Score sent it to you, right? He didn't send it to    9   very similar.
 10     Gregory Zini.                                       10      Q. Okay.
 11            MR. COCHELL: Objection. Direct the           11      A. And that's what the data will reflect.
 12     witness not to answer.                              12      Q. Any other errors you spotted in this,
 13     BY MR. LEVINE:                                      13   errors or things you believe are accurate on
 14        Q. Let me rephrase that.                         14   Exhibit 20 during the break?
 15           Steve Score sent this database to you,        15      A. You know, I think analyzing the full
 16     correct?                                            16   database, you know, might come across more; but
 17        A. Steve Score did not send the database to      17   there's none that I can see in this moment.
 18     me.                                                 18      Q. Okay. Let's go -- let's talk.
 19        Q. I'm sorry. Steve Score, aka Gordon            19          Okay. We're moving -- you can put that
 20     Yang, sent Exhibit 20 to you, correct?              20   exhibit aside.
 21        A. I got this from Steve. He provided a          21          Now, you understood that Danny Pierce
 22     link or this in some way to me, yes (indicating).   22   was using Craigslist to generate traffic, correct?
 23        Q. And you didn't say to -- never mind.          23      A. Yeah.
 24            MR. COCHELL: Is this time for a break?       24      Q. And --
 25            MR. LEVINE: Yeah, sure.                      25      A. Sorry. What number was the -- off the

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  1            MR. COCHELL: Because I need to go down        1   record, I guess.
  2     the hall.                                            2                (Whereupon, discussion was held
  3            MR. LEVINE: Yeah, that's fine.                3                 off the record.)
  4                  (Whereupon, a short break was           4   BY MR. LEVINE:
  5                   taken.)                                5     Q. You knew that Danny Pierce was using
  6        A. So if I may, upon further review of this       6   Craigslist to generate traffic, correct?
  7     document you presented --                            7      A. Of course.
  8        Q. And that's Exhibit 20?                         8     Q. And you knew that the whole time he was
  9        A. -- Exhibit 20, you know, I see multiple        9   your affiliate?
 10     errors in here.                                     10      A. Yes.
 11        Q. What else?                                    11     Q. And you knew it was traffic for people
 12        A. Just to show you a blaringly obvious          12   seeking rental properties?
 13     one, look where it says, "Source Code 35 refund     13      A. Yes.
 14     counts."                                            14     Q. And you knew this traffic involved
 15        Q. Mm-hmm.                                       15   sending emails?
 16        A. It says 21,816.                               16      A. Yes.
 17        Q. Yeah.                                         17     Q. And you knew that these emails had a
 18        A. One line below that, "Last 12 months          18   template?
 19     refund counts" for Source Code 35, 21,816.          19      A. Yes.
 20     Obviously all the refunds did not occur in the      20     Q. Okay. Let's go back to Exhibit 18,
 21     last 12 months. This is another blaring example     21   which is the iMessage conversation with Danny
 22     of this being inaccurate.                           22   Pierce. I'll ask you to please turn to Page 36.
 23            Now, what I can tell you to back up what     23     A. Sorry. What exhibit again?
 24     I'm saying is that the refund amounts and the       24     Q. Exhibit 18, Page 36.
 25     chargeback amount is generally near hand in hand.   25      A. 36?

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  1       Q. Yeah.                                            1      A. I mean, I know the process of posting an
  2          Okay. So I'm looking at 7-24-16. And             2   ad on Craigslist. I know the process of getting
  3    the gray is you, right?                                3   rental data. I know the process of sending an
  4       A. Mm-hmm.                                          4   email. I have a good understanding of that.
  5       Q. Yes?                                             5      Q. Getting rental data can cost a lot,
  6       A. Yeah.                                            6   right?
  7       Q. Okay. Let's actually first look at the           7      A. No.
  8    blue, at the -- right under 7-24-16, 5:44 p.m.         8      Q. Didn't you say in a declaration that it
  9    Pierce says, "How much do you think running this       9   costed a minimum $699 a month to --
 10    costs?"                                               10      A. No. I'm sorry. I didn't think that
 11          Do you see that?                                11   that was a lot.
 12       A. Yes.                                            12      Q. Well, I'm in government.
 13       Q. You respond, "Your costs all break down         13          So you don't list that as a cost here,
 14    to the number of sales per post, and then             14   do you?
 15    calculate the resource costs to make that post. I     15      A. To me, that's a negligible cost when
 16    estimate about $1 per post plus the guy to oversee    16   he's getting -- he made a lot more than that per
 17    it. Look, I'm not here to beat you up over            17   day.
 18    profits, but understand I know what they are and      18      Q. Okay. You say, "I estimate about $1
 19    how this works."                                      19   per -- $1 per post plus the guy to oversee it."
 20          Do you see that?                                20      A. Mm-hmm.
 21       A. Yes.                                            21      Q. Here's another reference to one guy,
 22       Q. So I want to go through and -- that text        22   right?
 23    and try to -- you can help me understand what you     23      A. Yeah.
 24    meant.                                                24      Q. What did you mean "the guy to oversee
 25          So how did you know -- what was your            25   it"?

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  1     basis for saying that "your costs all break down      1      A. I'm sure he has a campaign manager, an
  2     to the number of sales proposed"?                     2   affiliate, a technical guy, someone to oversee
  3        A. Because this point in time, you know, I         3   this.
  4     do know that Pierce is posting ads on Craigslist,     4      Q. What does overseeing it involve, as you
  5     right? He's posting ads for apartments on             5   understood it then?
  6     Craigslist, and he gets a certain number of people    6      A. I mean, I would understand this to make
  7     who reply to these ads; and he'll send an email to    7   sure that's, you know, your ads are being posted
  8     these customers.                                      8   successfully, that the emails are going out to
  9            And it costs money to post at that scale       9   consumers, the consumers are clicking on the
 10     on Craigslist. And at the end of the day, people     10   emails.
 11     are trying to calculate their earnings per click     11      Q. And these emails contain links, right?
 12     or their earnings for the day, right?                12      A. Yeah.
 13            So everything comes down to the cost per      13      Q. And those links would go to your
 14     post and how much they make per click.               14   website.
 15        Q. And --                                         15      A. Correct.
 16        A. So basically in one way or another, I'm        16      Q. And those links included tracking links
 17     saying, look -- he's complaining about profit,       17   within them that allowed Pierce to track how many
 18     complaining that he gets zero transparency because   18   people were clicking, right?
 19     he's not entitled to any in my business.             19      A. So there's multiple tracking systems
 20            And I'm saying, look, you're being            20   involved, right?
 21     greedy. I know you're making a lot of money          21          So Pierce, I believe, had his own. He
 22     because you're probably paying a dollar per post.    22   would redirect to my tracking link, and I would
 23        Q. You say you knew "how this works."             23   redirect to my website.
 24            You meant you knew what his costs were        24      Q. So the link that appeared in the email
 25     approximately?                                       25   to consumers, it wasn't just eFreeScore.com, was


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  1     it?                                                   1   where I think the failure or the fraud was.
  2        A. No.                                             2      Q. You remember these emails. They say --
  3        Q. It was a link that included -- it was a         3   well, let's talk about that later. Okay. We'll
  4     link that included a tracking -- tracking link        4   go back to that.
  5     within it?                                            5          Let's turn to Page 37. So we're still
  6        A. It was Pierce's tracking link for his           6   in July 24th, 2016. You asked, "How many posts
  7     affiliate link, yes.                                  7   per day are you doing?"
  8        Q. And if he had subaffiliates, there might        8          You're referring to Craigslist posts,
  9     be an additional tracking link within that link?      9   right?
 10        A. I don't understand your question.              10      A. Yeah.
 11        Q. Strike that.                                   11      Q. Pierce, Pierce responds, "4 to 5,000."
 12            Did Pierce show you those links before        12          Do you see that?
 13     putting them in emails?                              13      A. Yeah.
 14        A. He didn't show me that particular link.        14      Q. That's a lot of -- that would be a lot
 15     You know, I have -- I have seen them.                15   of properties, wouldn't it?
 16        Q. And where have you seen them?                  16      A. Yep.
 17        A. I've seen them online a few places             17      Q. You thought Pierce was handling rentals
 18     posted. I've seen them in -- as a referring URL      18   for 4 to 5,000 properties?
 19     in Offerit. That's all that I can recall.            19      A. I think that Pierce had access to an MLS
 20        Q. Where did you see them posted online?          20   database of at least 4 to 5,000 rental properties.
 21        A. Various websites. I think there might          21          Now, I don't think he was a property
 22     have been some on like Quora. I think there's one    22   manager of that many. That would be ridiculous.
 23     on Quora.com.                                        23          But going back to my previous comment,
 24        Q. And were the links alone, or were they         24   and I think it was in my declaration, you can buy
 25     in the full email?                                   25   access to the MLS database for about $700 a month.

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  1        A. I don't recall specifically, but I              1   And this would be many more than 4 to 5,000
  2     believe it was probably the email.                    2   properties.
  3        Q. So you recall seeing the emails Pierce          3      Q. So your understanding was that Pierce
  4     sent online?                                          4   bought -- your understanding, let's break it down,
  5        A. Yes.                                            5   was that Pierce posted 4 to 5,000 property ads per
  6        Q. At what point did you see them?                 6   day.
  7        A. I don't recall specifically. I have             7      A. More or less.
  8     seen different emails over the course of our          8      Q. In markets all over the country,
  9     relationship with him.                                9   correct?
 10        Q. And you know now those emails were for         10      A. Correct.
 11     phony properties, right?                             11      Q. And didn't you say in your declaration
 12        A. See, that's the part I'm a little              12   that the 699 per month was just MLS in one market?
 13     confused about to this day; and I would love to      13      A. No, I don't believe so.
 14     find out the answer to this.                         14          And to clarify, I mean, he did say 4 to
 15            But I don't know if he was advertising        15   5,000 per day. But, you know, sometimes you take
 16     phony nonexistence properties for rent or if he      16   what affiliates say with a grain of salt. Could
 17     was advertising legitimate properties for rent but   17   be more, could be less. But he has said some
 18     then failing to send the email to the prospective    18   different things.
 19     renter to the landlord.                              19      Q. Okay. And you asked, "How many replies
 20            I think, you know, looking at these           20   per ad?"
 21     properties, they seem to be legitimate properties    21          Do you see that?
 22     that he's advertising for rent.                      22      A. No.
 23            And I think the fraud took place when         23      Q. You don't see where you say, "How many
 24     Pierce failed to match up this prospective renter    24   replies per ad," toward the top of Page 37?
 25     with the landlord, credit report in hand. That's     25      A. Yes.


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  1        Q. You say, "4 to 5,000 per day is too much          1           Then I'll see another email that says,
  2     for the" average "number of sales. How many             2   We're pet friendly, right?
  3     replies per ad you average? 80?"                        3           So all these emails are different, and
  4            Do you see that?                                 4   they are unique. And the way it was explained to
  5        A. Yes.                                              5   me is that he's doing what's called a spinning or
  6        Q. So you estimated that there would be 80           6   a text spinning, syntax spinning to customize the
  7     replies to 4 to 5,000 ads every day?                    7   email to the property.
  8        A. No. What I'm getting at is I'm reverse            8           So if I see an email that says, Okay,
  9     calculating his costs, right?                           9   great, you have a recently remodeled kitchen, and
 10            So if we know that for every X number of        10   the next one, it says a pet friendly, it seems
 11     visitors he sends to the website, X number are         11   like it's custom to property.
 12     going to enroll, right, then we take it a step         12      Q. So you saw multiple landlord emails.
 13     further and say, okay, how many ads does he have       13      A. Yes.
 14     to post to get X number of visitors to the             14      Q. And when I say landlord emails, you
 15     website? And then, okay, how many replies is that      15   understand I'm referring to what later turned out
 16     on average per ad? That's what we're getting at        16   to be fake landlord emails, right?
 17     here.                                                  17      A. I think that's mischaracterizing the
 18            So I'm saying there's no way it's               18   email.
 19     possible he would get one customer to enroll by        19           I think the -- again, I think if Pierce
 20     posting ten properties for rent. I would have to       20   had matched up that prospective renter with the
 21     imagine there's a lot more prospective renters         21   property owner, I think there would be nothing
 22     than that.                                             22   wrong with this email.
 23        Q. Right, because you thought there would           23      Q. So the FTC alleged in its complaint that
 24     actually be 80 replies based on the volume of 4 to     24   Pierce sent ads, emailed -- let me back up.
 25     5,000 ads, correct?                                    25           The FTC alleged in its complaint that

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  1         A. Yeah.                                            1   Pierce posted ads for properties that he didn't
  2         Q. So we're talking over 300,000 emails.            2   own or have any authority to rent to own; are you
  3         A. I'm -- I mean, I'm obviously doubting            3   aware of that allegation?
  4     what he's saying. I said, "4 to 5,000 a day is          4      A. I believe that's in your complaint.
  5     too much for the number of sales."                      5      Q. But you believe he actually had access
  6             I'm not necessarily believing what he           6   to these properties?
  7     says. Like I said, I'm taking it with a grain of        7      A. I believed he had access to the MLS
  8     salt.                                                   8   database, and he has represented to me on numerous
  9         Q. But you --                                       9   occasions he does for other websites.
 10         A. He says, "4 to 5,000" per day.                  10          Now, there's one in particular that
 11             And I said right here, "4 to 5,000 per         11   comes to mind called RTO database, which is a
 12     day is too much for the number of sales."              12   rent-to-own property.
 13         Q. But you did think there would be 80             13          And now, you know, I feel bad because I
 14     replies for every ad.                                  14   saw these emails. I saw the properties. I have
 15         A. That would be my guess, yeah.                   15   gone through, and I've seen some of the
 16         Q. And you thought Pierce was personally           16   properties. And they look real. The ads look
 17     responding to all of these replies?                    17   real.
 18         A. No. I think he had an automated system          18          And, you know, the responses don't
 19     in place, a template that was customizing the          19   mention free credit report. They don't mention
 20     template for the property.                             20   free credit score. And, you know, he pulled a
 21         Q. Okay.                                           21   fast one on us.
 22         A. Now, I'll give you an example of this.          22          I feel like the difference between
 23     I'll see one template online that says something       23   compliance and noncompliance with this type of
 24     to the effect of, We had a recently remodeled          24   campaign is a small difference of matching up the
 25     kitchen.                                               25   renter with the landlord. And had he have spent


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  1     the extra $700 to do this, we would not be in this    1      Q. But you were quite familiar with those
  2     situation.                                            2   emails.
  3             And you know what, if I had any               3      A. Yes.
  4     indication at all that he was posting fraudulent,     4      Q. Okay. So you didn't know whether your
  5     nonexistent properties or doing any sort of fraud,    5   traffic was RTO or not. You -- let me back up.
  6     it's not worth the headache. I would have             6           I think I might have misheard what you
  7     immediately cut ties with him.                        7   said. Did you testify that you believed the
  8         Q. When you say you saw the ads and the           8   traffic going to your offer was rental,
  9     emails and they looked real, that was before the      9   traditional rental, not RTO?
 10     lawsuit was filed, right?                            10      A. Can you repeat the question?
 11         A. Correct.                                      11      Q. The traffic Pierce generated that went
 12         Q. You mentioned RTO. That is rent to own?       12   to your offer, was it RTO?
 13         A. Correct.                                      13      A. So RTO is rent to own. So I don't know
 14         Q. And I believe it was your understanding       14   if you're familiar with rent-to-own traffic. So
 15     that Pierce was -- his particular niche in the       15   rent-to-own traffic can be operated a few
 16     rental market was RTO?                               16   different ways, right?
 17         A. I understood that was one of the offers       17           So one way is you're advertising a
 18     that he represented that he owned or drove traffic   18   property and then selling access to listings. So
 19     to.                                                  19   CBC was not at this point in time selling access
 20         Q. What about -- but you -- he drove             20   to listings.
 21     traffic to your offer, right?                        21           We didn't have at this point in time the
 22         A. But he also had a rent-to-own offer. I        22   MLS listings to do that. But this was a business
 23     don't know if it's true or not, but he told me       23   that we were definitely interested in.
 24     that he did.                                         24      Q. That's not what I meant.
 25         Q. Let's leave that aside. We're talking         25      A. So I don't think you're -- you're asking

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  1     about your offer, Credit Bureau Center. Okay?         1   like, you know --
  2        A. Okay.                                           2      Q. I'll rephrase.
  3        Q. Did you believe that that traffic that          3      A. Okay.
  4     he generated for CBC was RTO traffic?                 4      Q. You said that you saw some of Pierce's
  5        A. I believed it was rental traffic.               5   ads on Craigslist, right?
  6        Q. You didn't know whether it was RTO or --        6      A. Yes.
  7        A. No. I mean, RTO would be specifically           7      Q. You also saw some of the emails, right?
  8     for people looking for rent to own. That type of      8      A. Yes.
  9     traffic is for showing people a listing.              9      Q. And you knew that those ads and emails
 10            But I do know that he on these websites       10   linked to your offer, right?
 11     that he provided, I believe, did provide a search    11      A. Yes.
 12     engine to access rent-to-own traffic.                12      Q. Did you know that -- did you believe
 13            So I don't know if you recall some of         13   that those ads and emails were for RTO
 14     these emails from the landlords. But on the          14   opportunities?
 15     emails from the landlords, if you go to that         15      A. So the email itself is not for an RTO
 16     website, it's a rental listing website, which        16   opportunity, but he represented he had an RTO
 17     looks like it includes all type of rental            17   offer.
 18     listings. Could be rent to own, could be a           18          And if you recall from the text message
 19     property search, could be anything.                  19   history, he was going to monetize these customers
 20            So I don't know what type of properties       20   other ways and didn't want to step on our toes.
 21     he had access to. Maybe he was fabricating this      21          One of these ways involved enrolling
 22     the whole time.                                      22   customers in a rent-to-own program, which he
 23            But if we had known this, we would have       23   purported to have, one of them specifically being
 24     declined to work with him, like we've done with      24   rent-to-own database.
 25     all the other affiliates that committed fraud.       25          So he may direct a customer to our

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  1     website, at the same time market to that customer     1   between advertising a fake, nonexistent,
  2     and saying, Hey, do you have poor credit? Would       2   fraudulent property that doesn't exist, and
  3     you like to get a rent-to-own home? Sign up for       3   there's a difference between advertising a real
  4     rent-to-own database. And guess what? As in           4   property that does exist.
  5     rent-to-own database, we need a copy of your          5          Sitting here today, I don't know which
  6     credit report.                                        6   one is true because I see some properties that
  7            So this could be RTO traffic too. So           7   look real and pop up to a real MLS listing. And
  8     they kind of complement each other in how they        8   then I see some complaints where they say it
  9     work that way. So it can be RTO traffic; but it       9   doesn't exist. So I don't know.
 10     can be to an RTO offer or credit report offer, if    10      Q. Okay. I'm showing you a document that's
 11     that makes sense.                                    11   been marked for identification as Exhibit 22.
 12        Q. Yes.                                           12                (Whereupon Deposition Exhibit
 13            You said that you -- did you have an RTO      13                 No. 22 was marked for
 14     offer?                                               14                 identification by the court
 15        A. We had an RTO offer at one point in            15                 reporter.)
 16     time.                                                16   BY MR. LEVINE:
 17        Q. Did it -- was there any traffic to that        17      Q. Do you recognize it?
 18     RTO offer?                                           18      A. Yes.
 19        A. We were just about to launch it before         19      Q. What is it?
 20     the lawsuit got filed.                               20      A. It's an email from Tom to myself.
 21        Q. So there was no traffic to the RTO             21      Q. Do you see it's Tom Fragala?
 22     offer?                                               22      A. Yes.
 23        A. No.                                            23      Q. April 2015?
 24        Q. Now, you said that you were familiar           24      A. Mm-hmm.
 25     with Pierce's ads and emails before the lawsuit,     25      Q. Yes?

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  1     correct?                                              1      A. Yes.
  2        A. Yes.                                            2      Q. He says, "You were the one that taught
  3        Q. How many of the -- let's start with the         3   me about these type of scams, and I know you've
  4     emails.                                               4   been burned by them. I happened to notice this
  5        A. Mm-hmm.                                         5   fake ad for apartment to get credit report from
  6            Excuse me. Do you mind if I go off the         6   March."
  7     record and heat up my coffee?                         7          Do you see that?
  8        Q. Yeah.                                           8      A. Yes.
  9                 (Whereupon, a short break was             9      Q. Had you told Tom Fragala about scams
 10                  taken.)                                 10   with fake ads for apartments?
 11            MR. LEVINE: Okay. Let's go back on the        11      A. No. I told him about scams for fake job
 12     record whenever everyone is ready.                   12   applications. People post a job that doesn't
 13     BY MR. LEVINE:                                       13   exist, and they get an applicant to apply for a
 14        Q. You're aware that the fraud in this --         14   job and tell them to get a credit report.
 15     discussed in this case involves fake Craigslist      15      Q. So Tom was mistaken that you had told
 16     ads -- excuse me, involves Craigslist ads for fake   16   him about rental scams?
 17     properties and fake landlord emails, that's the      17      A. No. I think he is not mistaken. I
 18     allegation; do you understand that?                  18   think what he says speaks for himself: "You
 19        A. No. I don't understand that to be true.        19   taught me about these types of scams."
 20     I understand what you're saying though.              20          So he's obviously not referring to this
 21        Q. Are you aware of fraud of the nature           21   specific scam but a type of scam in general.
 22     that I described?                                    22      Q. And his next sentence, doesn't he refer
 23        A. Yeah. I think there's some clarity.            23   to "fake ads for apartments to get credit report"?
 24     Maybe I'm not the one to provide this, and maybe     24      A. He said, "I happened to notice this fake
 25     you're not either, but there's a difference          25   ad" for an apartment to get a credit report.


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  1        Q. Did you click on that link?                        1   to a landlord ad. So I can't go down, chase the
  2        A. I did.                                             2   ad, chase the landlord, and say, hey, landlord,
  3        Q. Do you remember what it says?                      3   why didn't you reply to Customer A?
  4        A. I saw something regarding a landlord               4      Q. But if you --
  5     that didn't get a response to their email.               5      A. Do they have poor credit? Did you not
  6        Q. Did it have to do with a fake ad?                  6   like their reply? What was the reason?
  7        A. I didn't read that complaint as having             7      Q. If you got a fake ad -- if you got a
  8     to do with a fake ad.                                    8   fake ad complaint that was linked to Pierce, you
  9            Hindsight is 20/20. Looking back at               9   could have asked Pierce about it, right?
 10     this now, maybe I'll say we should have launched a      10      A. So we talked about his campaign a lot.
 11     full-on fraud investigation.                            11   Like I said, hindsight may be 20/20.
 12            But we're in the complaint business. We          12          But it's expected if you're posting any
 13     get customers that complain about things all the        13   type of volume on Craigslist, any sort of rental
 14     time.                                                   14   property, legitimate or not, customers are going
 15            For someone to say -- you know, I've             15   to say, This is fake.
 16     heard things like, Your Google ads are fake, your       16      Q. Did you ever ask Pierce if he had been
 17     website is fake, your email is fake. You get            17   posting fake ads?
 18     these type of things all the time.                      18      A. Pierce represented to me he had access
 19            So when I clicked on this link, I see a          19   to MLS database.
 20     complaint that a landlord didn't reply, it doesn't      20      Q. Not my question.
 21     seem alarming to me because I know people are           21      A. He never represented to me he was
 22     posting ads on Craigslist.                              22   posting fake ads.
 23            And it's not just Danny. We're                   23      Q. That wasn't my question either.
 24     marketing to real estate agents. We're marketing        24          Did you ever ask Pierce if he was
 25     to lenders. We're marketing to all sorts of             25   fake -- if he was posting fake ads?

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  1     people. And there's nothing in here that would           1      A. No, because Pierce represented to me he
  2     tie this ad to Pierce, let alone an ad, let alone        2   was posting real ads.
  3     a fake ad.                                               3      Q. Okay. When did he represent that to
  4            So if someone says, This ad is fake --            4   you?
  5     or, I'm sorry, if someone says, The landlord             5      A. I don't recall specifically. But it's
  6     didn't reply, that happens. Landlords don't reply        6   been multiple times throughout the course of us
  7     for any number of reasons.                               7   working together. And it all comes back to a long
  8        Q. It says "fake ad" right in the                     8   line of trust that was abused and to me believing
  9     hyperlink, doesn't it?                                   9   him too.
 10        A. Yeah. Like I said, customers say weird            10          Don't forget, he came from Tom Fragala
 11     things all the time. I've heard our websites are        11   who referred JC Media. JC Media referred Roger.
 12     fake. I've heard the emails are fake, our people        12   Roger referred Pierce.
 13     are fake. People say crazy things.                      13          All right. So these are people that I
 14        Q. You say these are very hard to track.             14   trusted. This is someone who represented -- he
 15     You're referring to these scams?                        15   didn't just send traffic to me. He sent traffic
 16        A. No. I'm referring to the ad. I have               16   to other credit report offers. He has his own
 17     zero visibility into Pierce and what ad goes            17   rent-to-own offer.
 18     where.                                                  18          He sent me fake screenshots of how big
 19            So let's say that, A, I click on this            19   he was as an affiliate to hype himself up.
 20     link. First of all, I click on this link, there's       20      Q. Did Pierce ever tell you in writing he
 21     a customer's first name and first name only. I          21   was posting real ads?
 22     can't track down this customer to Pierce. I can't       22      A. You would need to reference the chats,
 23     track down this customer to an ad.                      23   but --
 24            Even if I could track it to a customer,          24      Q. Do you remember him -- I'm not asking
 25     I can only track it to Pierce. I can't track this       25   you to reference the chats.

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  1            I'm asking you: Sitting here currently,        1   days. I had the local police department.
  2     do you remember any time Pierce told you in           2     Q. Okay.
  3     writing that he was posting real ads?                 3          MR. COCHELL: I think he gets your
  4        A. I can't recall without referencing the          4   point.
  5     chats.                                                5   BY MR. LEVINE:
  6            But I know for sure, he referenced the         6     Q. You got a lot of complaints about fake
  7     rent-to-own MLS database that he had, which would     7   ads to CBC, didn't you?
  8     include real legitimate properties, unless, of        8     A. I disagree with that statement.
  9     course, he was lying about that too.                  9     Q. Well, you got enough complaints that you
 10       Q. Which he said he was sending to his own         10   actually hired a copywriter to draft an email
 11     offer, didn't he?                                    11   template when you got such complaints, didn't you?
 12        A. Correct.                                       12     A. See, this is an example --
 13       Q. He knew it wasn't going to you --               13     Q. Answer my question. Didn't you?
 14        A. Which means he has MLS data. I think           14     A. We have copywriters create templates --
 15     you're missing the point.                            15     Q. No. That wasn't my question. And I'm
 16            If you have a rent-to-own offer, you          16   not asking about FEMA.
 17     have MLS properties. You have a database. In         17          Isn't it true that you hired a
 18     fact, the site is called rent-to-own database.       18   copywriter to draft a template for when customers
 19     This means he has MLS data.                          19   complained about ads on Craigslist?
 20            Why would I suspect someone with an MLS       20     A. That's not true.
 21     database would market a fraudulent property?         21     Q. Isn't it?
 22       Q. Well, let's talk about --                       22     A. No.
 23        A. Fraudulent property, we don't know.            23     Q. Do you know the name Josh Margulies?
 24       Q. Let's talk about some of the reasons you        24     A. I know that name.
 25     might suspect it.                                    25     Q. And what did you hire him to do?

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  1        A. You know, and if I can add.                     1      A. He's a copywriter.
  2        Q. Yeah.                                           2     Q. Okay. This will be Exhibit 23.
  3        A. I just did a project for FEMA. I helped         3                (Whereupon Deposition Exhibit
  4     FEMA recruit people for the Puerto Rico disaster      4                 No. 23 was marked for
  5     that happened.                                        5                 identification by the court
  6            We got 12,000 people who applied for           6                 reporter.)
  7     this FEMA job. I had tons of complaints about         7      A. So does --
  8     people saying this was a fake website, this was a     8     Q. Let's let me ask the questions.
  9     fake ad, this was fraud. And you know what, a few     9      A. Okay.
 10     people were saying -- they were complaining to the   10     Q. Unless you have a correction to your
 11     FTC about it.                                        11   previous testimony.
 12            This is us helping out the people of          12      A. No.
 13     Puerto Rico who were ravaged by a hurricane doing    13     Q. Okay. I'm just trying to move this
 14     legitimate marketing, and even this type of          14   along.
 15     business has fraud complaints and scam complaints.   15          Okay. I'm showing you a document that's
 16        Q. Okay.                                          16   been marked for identification as Exhibit 23. Do
 17        A. And you know what? I know the website          17   you recognize the document?
 18     wasn't fake and fraud, but does that stop a          18      A. Yes.
 19     consumer from saying that it is?                     19     Q. What is it?
 20        Q. Okay.                                          20      A. It is a communication from Tom Fragala
 21        A. We had the Department of Homeland              21   sent to the copywriter, Josh Margulies; customer
 22     Security call us --                                  22   service supervisor; myself; Jens Sorenson, the
 23        Q. I'm not asking about Puerto Rico, and          23   project manager.
 24     I'm not --                                           24     Q. Turn to Page 3. And the date of this
 25        A. -- within days. I had ICE call us in           25   email is September 20th, 2015, correct, this most

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  1     recent email?                                        1   estate, sales/rentals, rent-to-own programs,
  2            MR. COCHELL: Page 3?                          2   please work with Josh to make an appropriate
  3     BY MR. LEVINE:                                       3   template that would deescalate the customer."
  4        Q. I'm sorry. Page 1, the date of the             4         Do you see that?
  5     email is September 20th, 2015, right?                5      A. Yes.
  6        A. Yeah.                                          6      Q. Why were you only escalating food
  7        Q. Okay. Let's turn to Page 3 of                  7   stamps, government aid, and gift card complaints?
  8     Exhibit 23. Mike Super writes, "I am the person      8      A. These were the known scams at the time.
  9     responsible for flagging for removal vast number     9   We give processes and procedures to the customer
 10     of fake ads your people are putting on Craigslist   10   service department on the known scams.
 11     in the St. George, Utah, area."                     11         So the known scams are job applications,
 12           Do you see that?                              12   application for food stamps, government aid,
 13        A. I sure do.                                    13   unemployment, something like that, gift cards,
 14        Q. And it says, "You're using it to bait --      14   escalate these to me.
 15     as bait to entice people to come to                 15         You know, this wasn't on our radar. It
 16     CreditUpdates.com and eFreeCreditReport.com."       16   wasn't.
 17        A. Correct.                                      17      Q. But Tom Fragala had emailed you five
 18        Q. And you saw this email, didn't you?           18   months earlier to tell you about rental scams with
 19        A. Correct.                                      19   fake ads. We just went over that. It was
 20        Q. And Diego M. was your customer service        20   exhibit --
 21     guy, right?                                         21      A. Yeah, so --
 22        A. Yes.                                          22      Q. Let me finish. It was Exhibit 22.
 23        Q. And he writes to Josh Margulies on            23      A. So first of all, I want to go back to
 24     September 17th, 2015, that's the bottom of Page 2   24   this email on Page 3.
 25     going on to the top of Page 3, "Can we possibly     25      Q. Are we talking about Exhibit 23?

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  1    create a response for upset clients who we don't      1      A. The one you handed me latest, the latest
  2    have an account for and are sending messages and      2   one.
  3    are clearly upset about the way they brought to       3      Q. Yeah. Okay.
  4    the program. Some people are upset about the          4      A. So this customer is clearly being
  5    Craigslist posting."                                  5   abusive to our customer service people making wild
  6           Do you see that?                               6   claims.
  7       A. Yeah.                                           7           So first they say, I flagged your fake
  8       Q. Tom emails you on September 8th, 2015,          8   ad, and then I contacted some legitimate ones.
  9    and says, "Aren't all or most of these ads done by    9           I don't know what he's saying. First of
 10    essentially fraudulent affiliates who are playing    10   all, there's no email address. There's no ad.
 11    the game of pumping in as many clients to get the    11   There's no nothing. It's just someone that's
 12    payouts by 'advertising' phony themes like get a     12   being abusive to our customer service department.
 13    credit check in order to qualify for a job, that     13           And we created a template for this
 14    doesn't exist?"                                      14   person. And if you'll notice, the key sentence is
 15           Do you see that?                              15   "create a response for clients who we don't have
 16       A. Yes.                                           16   an account for."
 17       Q. Okay. You respond, "If ever a                  17           We did not have an account for this
 18    Craigslist related complaint" -- you respond         18   user, so we cannot track this user. I don't know
 19    September 21st, 2015, "if ever a Craigslist          19   where they came from. Was it Pierce? Was it
 20    related complaint related to a job application,      20   Lloyd? Maybe not. Was it a legitimate landlord?
 21    application of food stamps, government aid, or $40   21   I don't know.
 22    gift card, please escalate to me."                   22           But I can tell you it doesn't make
 23           Do you see that?                              23   sense, what the customer is saying, and --
 24       A. Yes.                                           24      Q. You say the claims are wild, but you did
 25       Q. And you say, "Anything related to real         25   nothing to investigate whether they were wild, did


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  1     you?                                                 1      Q. What was your basis for saying it's
  2        A. This was not a customer of ours.               2   wild?
  3     There's nothing I can do to investigate this. And    3      A. I have worked at Experian. I've worked
  4     like --                                              4   for FreeCreditReport.com. I've listened to phone
  5        Q. Nothing you can do to investigate it?          5   calls in customer service. It's not uncommon for
  6     You couldn't have asked Danny Pierce about it,       6   customers to say, scam, fraud, not legitimate,
  7     your largest affiliate?                              7   this ad was fake, your website is fake.
  8        A. I would have no reason to believe this         8      Q. He said, "Vast number of fake ads."
  9     is from Pierce.                                      9          You just didn't believe him?
 10             You have to put this in context. At the     10          I'm sorry. Mike Super on September 7th,
 11     time, we're scaling up our offer targeting real     11   2015, said, "Vast number of fake ads."
 12     estate agents. We have thousands of real estate     12          You didn't believe him?
 13     agents and loan officers and people in the real     13      A. Why would I believe there's a fake ad?
 14     estate space, many people posting on Craigslist.    14   This seems like someone who wants a refund.
 15             I have no reason to believe this has        15   Hindsight is 20/20.
 16     anything to do with did Danny, let alone Danny's    16      Q. He wasn't a customer, you said.
 17     properties. And this is not a customer of ours.     17      A. You're right. I'm sorry. I misspoke on
 18             And let me also add, we're trying to run    18   that. He's not a customer.
 19     a good customer service department. And we're       19      Q. So --
 20     working with outside people like Josh, the          20      A. We don't have an account. I don't know.
 21     copywriter, to better our customer service          21   I can't track this to a fake ad. I don't see a
 22     department. We're saying, these are the known       22   phone number for this customer. And we can't
 23     scams, and escalate these.                          23   launch a full-on fraud investigation for every
 24             And this got past us. And I am not          24   single customer who says, your website is fake.
 25     happy about it.                                     25      Q. Mike Super is not a customer; and you

                                                      278                                                     280
  1       Q. But Josh Margulies told you about a scam        1   had his email, correct?
  2    with fake ads. Five months later, you have --         2      A. Correct.
  3       A. Josh --                                         3      Q. You could have emailed him, right?
  4       Q. Let me finish my question.                      4      A. This is why we're working with the
  5           Josh Margulies told you about a scam in        5   copywriter is to come up with an email to email
  6    April 2015 involving five months -- let me            6   these customers.
  7    restart.                                              7      Q. But Mike Super is not a customer. Why
  8           Josh Margulies told you about an ad in         8   didn't you just --
  9    April 2015 --                                         9      A. So this is what we're -- we're coming up
 10           MR. WARD: Tom Fragala.                        10   with an email template to email these people.
 11           MR. LEVINE: Thank you. I just need            11      Q. Mike Super tells you there's a vast
 12    some caffeine.                                       12   number of fake ads sending traffic to
 13           MR. COCHELL: Tom, Josh, it's all the          13   eFreeScore.com; and you don't contact him to see
 14    same.                                                14   whether this is indeed a wild charge, do you?
 15           MR. LEVINE: I'm going to start over           15      A. So we are in the complaint business.
 16    again.                                               16   People complain. All right? People say, I don't
 17    BY MR. LEVINE:                                       17   recognize this charge.
 18       Q. Tom Fragala told you about a fake ad           18          But we know they did it. We have their
 19    scam in April 2015. Five months later, you're        19   IP address. We have --
 20    told about the same type of scam; and you don't do   20      Q. He's not a customer.
 21    anything about it, do you?                           21      A. You're right. I'm not talking about him
 22           MR. COCHELL: Objection; asked and             22   this second.
 23    answered, form of the question, argumentative.       23      Q. So let's talk about him because that was
 24       A. Okay. So what I'll say is: People say          24   my question. You didn't contact him, did you?
 25    wild things all the time --                          25      A. So this guy --


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  1        Q. Just answer my question. You didn't            1   the landlord.
  2     contact Mike Super, did you?                         2     Q. So when you said in the beginning of the
  3        A. Let me say why --                              3   deposition that any known scam must be escalated,
  4        Q. I've asked you a number of times -- no.        4   what you really meant is any known scam brought to
  5     You have to answer the question first.               5   your attention by someone who wasn't cursing; is
  6        A. And I can't answer that a yes or no            6   that accurate?
  7     question --                                          7          MR. COCHELL: Objection; form of the
  8        Q. Did you contact him or not?                    8   question, argumentative.
  9        A. No. And let me tell you why.                   9          Go ahead.
 10        Q. Okay.                                         10      A. I'm saying we got defrauded, and I feel
 11        A. This guy is being abusive to our              11   bad sitting here today that this got past me.
 12     customer service --                                 12          I looked into these ads. I saw these
 13        Q. Okay.                                         13   properties. They seem real. And it got past me,
 14        A. -- department saying, "You assholes."         14   and I feel bad about it. We made a mistake.
 15     "Keep wasting your time." "Fucking ads." "Fake      15   Looking back, there are things we could have done
 16     adds." I'm "flagging them."                         16   better.
 17            This is not someone we want our customer     17     Q. You also had a script on the phone for
 18     service department to interact with.                18   people who complained about Craigslist ads,
 19        Q. What about you --                             19   correct?
 20        A. This is an abusive person that is making      20      A. I believe there was a section of the
 21     wild accusations that are contradictory that we     21   script regarding that.
 22     can't trace to an affiliate.                        22     Q. Specifically targeting Craigslist ads,
 23            Now, you may sit here with hindsight and     23   correct?
 24     take this as we should have launched a fraud        24      A. Correct.
 25     investigation. But you don't work in this type of   25     Q. You also knew that customer service

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  1    business, and you don't understand how many people    1   created a category within its internal system just
  2    make wild accusations like this.                      2   for people complaining about Craigslist ads,
  3      Q. Okay.                                            3   correct?
  4      A. You can't launch a full --                       4      A. I think I became aware of that at the PI
  5      Q. By the way, Mike Super sent this on              5   hearing, and there was like 80-something that were
  6    September 7th, 2015; do you see that?                 6   in that category if I recall correctly.
  7      A. Correct.                                         7          MR. COCHELL: 80 what? What are you
  8      Q. That was three days after you told Danny         8   talking about?
  9    Pierce to modify the landlord template; do you        9          THE WITNESS: 80 customers out of 16,000
 10    remember that?                                       10   were categorized as Craigslist. At the PI
 11      A. I don't remember the date, but I recall         11   hearing, they had 16,000 call records, I believe,
 12    saying that to him.                                  12   or was that 80 from...
 13      Q. Did it ever occur to you to ask Danny           13          MR. LEVINE: Let's take a break so I can
 14    Pierce if any of these emails you were aware of      14   gather my exhibits here. Thank you.
 15    involve fake properties?                             15                (Whereupon, a short break was
 16      A. I personally have looked at the                 16                 taken.)
 17    properties. I believe them to be real. They          17   BY MR. LEVINE:
 18    looked real. I've seen them show up on other         18      Q. Okay. This is going to be --
 19    websites. I don't think they are fake ads.           19          MR. LEVINE: Are we back on?
 20           I've looked at them personally, and I         20          THE REPORTER: Sure.
 21    don't know to this day if they are fake ads.         21                (Whereupon Deposition Exhibit
 22           I strongly believe the fraud is that          22                 No. 24 was marked for
 23    Pierce did not match the prospective renter with     23                 identification by the court
 24    the landlord. It was a stupid email he could have    24                 reporter.)
 25    sent to this landlord to connect this person with    25


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  1     BY MR. LEVINE:                                       1   something.
  2        Q. Okay. Mr. Brown, I'm now showing you a         2      Q. But you knew it went to eFreeScore.com,
  3     document that's been marked for identification as    3   right?
  4     Exhibit 24. Do you recognize this document?          4      A. You're right, and we have a lot of
  5        A. Yes.                                           5   customers.
  6        Q. What is it?                                    6      Q. Did you do anything to determine what
  7        A. It's an email between Heather with CSID,       7   the source -- let me back up.
  8     also known as Experian.                              8         Heather references negative media
  9        Q. And yourself?                                  9   attention on eFreeScore.com, right?
 10        A. Yes.                                          10      A. I see that.
 11        Q. Let's turn to the second page of              11      Q. Were you aware of that negative media
 12     Exhibit 24. This is November 12th, 2015. Do you     12   attention?
 13     see that?                                           13      A. No.
 14        A. Yeah.                                         14      Q. Didn't you hire someone just to improve
 15        Q. This is two months after the email            15   your Google results?
 16     exchange in Exhibit 23, correct?                    16      A. Yeah. We always hire people to improve
 17        A. Correct.                                      17   SEO.
 18        Q. "Mike," Heather writes, "TransUnion           18      Q. You were aware of the Google reviews of
 19     legal called me and requested that you take their   19   your website, weren't you?
 20     logo off their home page ASAP. There's some         20      A. Yeah.
 21     negative media attention on that site, something    21      Q. You talked about them with Danny Pierce.
 22     about deceptive listings on Craigslist."            22      A. Yeah.
 23            Do you see that?                             23      Q. And a lot of those reviews alleged fake
 24        A. I see that.                                   24   ads, didn't they?
 25        Q. You respond, "Okay. Will do. Is this          25      A. Yeah.

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  1    is in response to a customer complaint or when        1      Q. So you saw fake -- you saw allegations
  2    they checked out our updated T&Cs, question mark.     2   of fake ads on Google, correct?
  3    If a complaint, can you forward any additional        3      A. Correct.
  4    info, email site, link, et cetera, so we can track    4      Q. You were notified by one of your biggest
  5    down any bad affiliates on our end?"                  5   contractors that there was a lot of attention on
  6           Do you see that?                               6   fake ads going to your website, correct?
  7       A. Yes.                                            7      A. No. That's not what it says.
  8       Q. This is alleging the same type of fraud         8      Q. Negative media attention about
  9    that Mike Super had alleged, right?                   9   Craigslist.
 10       A. No.                                            10      A. It says, "Negative media attention,
 11           MR. COCHELL: Objection, form of the           11   something about deceptive listings on Craigslist,"
 12    question.                                            12   yes.
 13           Go ahead.                                     13      Q. And that didn't make you think, hmm, I
 14    BY MR. LEVINE:                                       14   have my largest affiliate advertising on
 15       Q. Well, it's deceptive ads on Craigslist,        15   Craigslist, I have all these Google complaints
 16    right?                                               16   about fake Craigslist ads, maybe I should ask my
 17       A. I don't know. It says, "Negative media         17   largest affiliate if he's posting fake Craigslist
 18    attention, something about deceptive listings."      18   ads?
 19           We're speculating as to what it is, let       19      A. So when I -- and let's put this in
 20    alone who it's from. Nothing in this email would     20   perspective, right? So I have my largest
 21    lead me to believe it's related to Pierce.           21   affiliate, Pierce.
 22    Nothing in this email would direct me to an ad.      22          And at the PI hearing, I believe he
 23           In fact, I explicitly asked her, can you      23   presented evidence that Pierce had sent over 2
 24    forward me any additional information? I need an     24   million prospective renters to our website.
 25    email, I need a site, I need a link so I can track   25          So out of 2 million people, is it normal


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  1     to hear a customer here and there to say a fake ad    1   correct?
  2     because a landlord didn't reply to me?                2      A. Are you talking about the link in the
  3            My train of -- my state of mind is that        3   landlord email?
  4     it's not un-normal for a volume of that size to       4      Q. Yeah.
  5     have some customers who are confused say, this is     5      A. Yes.
  6     a fake ad because the landlord didn't respond to      6      Q. Okay. This will be Exhibit 25.
  7     me. Why didn't they respond to you? Could be any      7                (Whereupon Deposition Exhibit
  8     number of reasons.                                    8                 No. 25 was marked for
  9            So this is not -- you know, it's easy to       9                 identification by the court
 10     look back now with hindsight and say this is         10                 reporter.)
 11     wrong; but put it in perspective. And I can't        11          MR. COCHELL: What's the problem?
 12     trace this to Pierce, can't trace this to a          12          MR. LEVINE: Nothing, nothing.
 13     landlord.                                            13          MR. COCHELL: Poor Doug, getting abused
 14            And, you know, I asked her for more           14   again.
 15     information to track it. I'm not sticking my head    15          MR. LEVINE: I know.
 16     in the sand. This is our partner. This is our        16          MR. COCHELL: Wait until tomorrow.
 17     credit bureau data provider.                         17   BY MR. LEVINE:
 18         Q. You could have asked Pierce; but you          18      Q. Okay. So this is -- I'm showing you a
 19     didn't, correct?                                     19   document that's been marked for identification as
 20         A. How would I know this is related to           20   Exhibit 25. Do you recognize the document?
 21     Pierce?                                              21      A. Yes.
 22         Q. Well, you knew he was posting 5,000           22      Q. What is it?
 23     Craigslist ads a day. That should have been a        23      A. It's an email between myself, and it's
 24     clue, right?                                         24   cut off on the top, but I believe to Diego, my
 25         A. Actually, I doubted he was posting that       25   customer service supervisor.

                                                      290                                                       292
  1     much, if you recall the conversation.                 1         I'm asking him to respond to a complaint
  2            So I know he was posting ads, but guess        2   from a company that's similar to the BBB.
  3     what? We're marketing to lots of people, and we       3   Apparently there was eight complaints. And I said
  4     want them to post ads on Craigslist. We want          4   I "want to turn these negative eight experiences
  5     people to use our website.                            5   around."
  6       Q. But you never asked him, did you?                6      Q. And you knew they were negative
  7       A. Because he told me he was not using fake         7   experiences because you looked at the complaints,
  8     ads.                                                  8   right?
  9       Q. Please give me a yes or no. You never            9      A. Because they are a complaint.
 10     asked Pierce whether he was posting fake ads, did    10      Q. Did you look at the complaints?
 11     you?                                                 11      A. I don't recall these specifically.
 12       A. No, because he told me he was using real        12      Q. Okay. So you said earlier when you were
 13     ones.                                                13   talking about the email you got from CSID that you
 14       Q. But never in writing. Okay. All right.          14   couldn't link the negative media attention to any
 15       A. And additionally, I'll say because I            15   specific affiliates because she didn't give you
 16     have looked at the ads, I was able to see they       16   any specific consumer names, correct?
 17     don't look fake.                                     17      A. I'm saying in that case.
 18            MR. COCHELL: Okay. You have already           18      Q. Right.
 19     put that on the record.                              19      A. Yes.
 20            THE WITNESS: Okay.                            20      Q. In this case, in Exhibit 25, you have
 21     BY MR. LEVINE:                                       21   eight complaints that you attach to your email,
 22       Q. By the way, when you looked at the ads,         22   correct?
 23     you could see the links in the ad, right?            23      A. Correct.
 24       A. No. The ad doesn't have a link.                 24      Q. And these complaints actually have the
 25       Q. But you saw some of those links,                25   consumers names, don't they?


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  1        A. Correct.                                        1   link, at least one through some complaints, I
  2        Q. They have their addresses, don't they?          2   located a legitimate property.
  3        A. And I'm not saying there was never a            3      Q. Okay. Let's turn to Page 4, Gordon
  4     complaint that never had a consumer's name or         4   Benson. Okay?
  5     email on there. That's not what I'm saying at         5      A. Page --
  6     all.                                                  6      Q. Gordon Benson is the name at the top; do
  7        Q. Did you ever do any investigation to            7   you see that?
  8     follow up on these complaints?                        8      A. Yes.
  9        A. Yes. At at least one point in time, I           9      Q. First line of his complaint, "Fake
 10     went through, I checked the links, I googled the     10   Craigslist ads are being posted."
 11     links, I -- not the link. I think I googled like     11          Okay?
 12     a property name, or I saw a link to an ad in a       12      A. Yeah.
 13     complaint.                                           13      Q. Now, you could have -- Gordon --
 14            And I tracked down an ad on Craigslist,       14   Mr. Benson included his email, phone number,
 15     and I looked at the ad on Craigslist. And I          15   address, and name in his complaint, did he not?
 16     copied and pasted the description from the ad, and   16      A. He did.
 17     I located a property description that was the same   17      Q. You could have entered his email and
 18     on a different website.                              18   immediately determined which affiliate drove him
 19        Q. Is that --                                     19   to eFreeScore.com, correct?
 20        A. So I was able to validate that the ad in       20      A. Right, I could have. But I have no
 21     the complaint was real.                              21   visibility into an ad.
 22        Q. And when --                                    22          I can maybe trace this to Pierce, or
 23        A. In addition to that, I have Pierce             23   maybe it's someone else, and I cannot see what ad
 24     telling me that he's doing real ads. And I           24   or what property Pierce posted that resulted in a
 25     chalked it up to a customer that's confused          25   complaint of a fake ad.

                                                       294                                                     296
  1     because at this scale, you're going to get a few.     1            And it's not unreasonable, my thoughts
  2     And you know we had eight.                            2   at the time, to think that it's -- it's
  3        Q. That investigation you did, when did you        3   personally -- it's perfectly reasonable to assume
  4     do it?                                                4   a landlord won't always reply to some people; and
  5        A. I don't recall specifically. I know             5   that doesn't mean it's a fake ad.
  6     there was one around June of 2016 was one of them,    6            So I know it wasn't fake because I
  7     but I know I had done them previously --              7   validated it. I have other people telling me
  8        Q. Was the investigation of these                  8   it's -- it's real.
  9     complaints, the complaints attached to exhibit --     9       Q. You validated the ad, Gordon Benson?
 10        A. I don't recall specifically. I mean, it        10       A. I validated not this ad in this --
 11     was around the same time frame I looked at these;    11       Q. Well, let's --
 12     but I don't know if it was this one specifically.    12       A. -- particular complaint because I can't.
 13        Q. So five out of eight -- let me back up.        13   I can't trace this to the ad.
 14            No. Five out of eight of the complaints       14       Q. Let's stick to Gordon Benson. Okay? My
 15     attached to Exhibit 25 deal with Craigslist, fake    15   questions are about Gordon Benson in Exhibit 25.
 16     Craigslist ads; are you aware of that?               16            MR. COCHELL: And he answered the
 17        A. I mean, these customers appear to be           17   question.
 18     complaining for various issues. One has an issue     18            MR. LEVINE: You don't know what my
 19     with Google Chrome, their web browser. One is        19   question is going to be.
 20     saying it's a fake ad.                               20            MR. COCHELL: No. He answered. You
 21        Q. So this customer was able to figure out        21   said, "Let's stick to Gordon Benson," but --
 22     the ad was fake, but you were never able to figure   22            MR. LEVINE: Oh, okay.
 23     that out?                                            23            MR. COCHELL: -- his last response was
 24        A. No. What I'm saying is my own                  24   about Gordon Benson.
 25     investigation, when I looked at the -- a property    25            MR. LEVINE: Thank you.


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  1            MR. COCHELL: Okay?                                 1   this an attachment in an email, do you know?
  2     BY MR. LEVINE:                                            2      Q. It was later an attachment in an email.
  3        Q. You never looked up Benson's email to               3      A. And I believe I saw this one.
  4     see who the affiliate was, did you?                       4      Q. Okay. Okay. So let's -- so you recall
  5        A. No. What I did is --                                5   seeing it attached to an email?
  6        Q. I'm not asking what you did. I'm                    6      A. I know there were some BBB
  7     just --                                                   7   communications I testified to at the PI hearing.
  8        A. No. I'm going to tell you what I did.               8   I've seen a lot of these communications since. So
  9     So I sent this complaint to my customer service           9   I don't recall if it was this one specifically I
 10     supervisor, and I said, I want to turn these             10   saw, but --
 11     negative experiences around.                             11      Q. Okay. Let's go to Page 10 of
 12            They are trained to handle cases of               12   Exhibit 26. Okay? Do you recognize -- I think
 13     fraud; and if there was an issue, they would have        13   you're on -- there you go.
 14     escalated it.                                            14          Do you recognize Page 10 of Exhibit 26?
 15            Now, clearly looking back at it,                  15      A. It says Page 1 on the bottom, right?
 16     hindsight, this was a scam. Now, I don't know if         16      Q. Yes. Sorry. For the purposes of
 17     the scam was a fake ad or that he didn't email the       17   Exhibit 26, I'll be referring to the docket page
 18     response to the landlord. I think the properties         18   number. Okay?
 19     are real.                                                19      A. Okay. So 326, page ID number?
 20        Q. So you think all the consumers are                 20      Q. I'm going to be referring to the page
 21     lying, and Danny Pierce was telling the truth?           21   number out of -- the thing -- the Page 10 of 101;
 22        A. I think out of 2 million prospective               22   does that make sense?
 23     renters, we only got 8 that complained, or you           23      A. Okay.
 24     said 5 that complained out of 8 right here of a          24      Q. So we're looking at Page 10 of 101,
 25     fake ad.                                                 25   Exhibit 26.

                                                        298                                                         300
  1            Most of the ones say, the landlord                 1      A. Okay.
  2     didn't respond to me; therefore -- therefore, the         2      Q. Do you recognize this email?
  3     ad is fake.                                               3      A. I believe so.
  4            That's not what it means.                          4      Q. What is it?
  5        Q. Okay. This is going to be Exhibit 26.               5      A. It's an email from the Better Business
  6                 (Whereupon Deposition Exhibit                 6   Bureau to me.
  7                   No. 26 was marked for                       7      Q. Okay. If you turn the page, do you
  8                   identification by the court                 8   recognize this as the attachment?
  9                   reporter.)                                  9      A. I believe so.
 10     BY MR. LEVINE:                                           10      Q. That's Page 11?
 11        Q. Mr. Brown, I'm handing you a document              11      A. I believe so, yeah.
 12     that's been marked for identification as                 12      Q. And I'll represent to you --
 13     Exhibit 26. This is a big packet. I'll represent         13      A. Is this -- I mean, I just want to be
 14     to you it's what was filed in connection with the        14   sure this is the right attachment because the
 15     FTC's complaint.                                         15   email is from June 30th, and this is from
 16            Let's -- I'm going to go through it bit           16   June 2nd.
 17     by bit. Okay?                                            17      Q. So I'll represent to you that my
 18        A. Okay.                                              18   understanding, which is that the BBB sent the
 19        Q. Let's start, please, on Page 1. Do                 19   letter on June 2nd and then resent it later and
 20     you -- and -- yes. Do you recognize Page 1 of            20   attached it. Okay?
 21     Exhibit 26?                                              21      A. Okay.
 22        A. I think I've seen this before on the               22      Q. Do you recall receiving this letter on
 23     filing, yeah.                                            23   Page 11?
 24        Q. And have you seen it before the filing?            24      A. Not specifically. But, you know, I got
 25        A. I don't recall this specific one. Was              25   this email I'm sure. And if you're telling me

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  1     this is the attachment, then I believe so.           1   perspective, Pierce sent over 2 million people to
  2        Q. Now, June 2016, you were seeking BBB           2   the website. And with the Better Business Bureau
  3     accreditation, correct?                              3   on CreditUpdates, I think we had about 60
  4        A. Around there.                                  4   complaints, 60 complaints; and my business has
  5        Q. And you had actually received complaints       5   been around for over 6 years.
  6     from some of your partners because the BBB had       6          Now, sometimes people say wild things;
  7     placed an alert on your -- on their page for your    7   but please put this into perspective and realize
  8     companies, correct?                                  8   where we're coming from. We're not sticking our
  9        A. Correct.                                       9   head in the sand. I looked for these ads. They
 10        Q. And that alert involved fake ads, did it      10   looked real.
 11     not?                                                11          We had an A plus rating with the Better
 12        A. I think it said something to the effect       12   Business Bureau, and we're getting this
 13     of a pattern of complaints.                         13   communication. We had an A plus rating.
 14        Q. About fake ads, correct?                      14      Q. Okay. So the BBB letter on June 2nd
 15        A. I don't think it said specifically fake       15   gave you enough concern that you actually looked
 16     ads. I think it was like a template type text       16   up some of the ads; is that what -- is that right?
 17     possibly. But maybe you can refresh my memory.      17      A. I don't remember what triggered it; but
 18        Q. Yeah. Let's turn to Page 7 of                 18   it was sometime around then, I looked into the
 19     Exhibit 26.                                         19   ads.
 20        A. Okay.                                         20      Q. And how did you go about looking into
 21        Q. "According to BBB files, records show         21   the ads?
 22     that the company has a pattern of complaints        22      A. So one of the complaints I came across,
 23     concerning consumers alleged being misled into      23   and I don't recall where, but it had a link to a
 24     signing up for a credit reporting service when      24   Craigslist ad. And so luckily, that Craigslist ad
 25     they thought they were applying for housing."       25   was still available online. They are not always.

                                                     302                                                        304
  1            Do you see that?                              1          I was able to access this Craigslist ad.
  2       A. Correct.                                        2   I was able to copy and paste a section in the ad
  3       Q. Okay. And that was the alert you were           3   and Google that. And when I googled that, I found
  4    just describing?                                      4   the property available on multiple websites.
  5       A. Correct.                                        5          So obviously I came to the conclusion
  6       Q. Okay. So going back to Page 11, the BBB         6   that this is not a fake property; this is the
  7    is telling you, "Consumers allege being misled        7   legitimate property.
  8    into signing up for a credit reporting service        8      Q. And this was a complaint that had the
  9    when they thought they were applying for housing."    9   consumer's name?
 10            Do you see that?                             10      A. I don't recall.
 11       A. Yes.                                           11      Q. How would the complaint have arrived?
 12       Q. So that's consistent, right?                   12   How did you receive the complaint?
 13       A. Yes.                                           13      A. I don't recall the one that I used to
 14       Q. And that would suggest that there wasn't       14   track down to the ad where it came from. But it
 15    actually housing because it says, "They thought      15   obviously had a Craigslist link.
 16    they were applying for housing," right?              16      Q. Did you look up which affiliate had
 17       A. This was around the same time that I           17   produced the ad?
 18    investigated some of the ads and found a property    18      A. I don't recall. I was more interested
 19    that did exist.                                      19   in verifying the property was legitimate.
 20            So at the time of seeing these               20      Q. You could have looked up the affiliate
 21    complaints and putting them into perspective of      21   who generated the ad, correct?
 22    our business, it didn't seem like an issue.          22      A. If the ad was related to a customer, a
 23            And I now know that to be wrong. I           23   piece of customer data, it's in our database, yes.
 24    obviously made some mistakes.                        24      Q. Even if it wasn't because you could have
 25            But, again, to put this into                 25   looked at the link, right, and figured out who the

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                                                      305                                                      307
  1     affiliate is?                                        1   ability to track down, I took the position that
  2        A. No, because I'm looking at the ad, not         2   the person has been disabled because I know that
  3     the email.                                           3   this ad is not going to be posted again.
  4       Q. Oh, okay. But you also looked at                4      Q. Who was disabled?
  5     emails?                                              5      A. The landlord.
  6        A. I've seen some of the emails, yes.             6      Q. By whom?
  7       Q. In connection with the investigation you        7      A. Because the ad won't be -- the -- you
  8     undertook in or around June 2016, did you also       8   know, the properties are only available for rent
  9     look up any landlord emails?                         9   for so long.
 10        A. I've seen various landlord emails that        10      Q. Mr. Brown, you said, "We disable the
 11     seem to be customized for the property.             11   offending party."
 12       Q. And did you ever determine which               12          Who is --
 13     affiliate had generated those landlord emails?      13          MR. COCHELL: Wait. Objection.
 14        A. I know Pierce was generating those            14   That's -- this sentence doesn't say that. "It's
 15     emails.                                             15   our policy that once we identify a pattern of
 16       Q. Okay. If you'd now please turn to              16   potential abuse, we disable the offending party,
 17     Page 22 -- or actually -- okay.                     17   which we have done."
 18            Exhibit 26, Page 22, if you go way to        18          MR. LEVINE: There it is.
 19     the bottom of 22, there's an email June 30th,       19          MR. COCHELL: It doesn't say that he
 20     2016, at 2:24 p.m. And then the email is on         20   disabled anybody. It's not saying the complaint
 21     Page 23; do you see that?                           21   was resolved by disabling it. I think you're
 22        A. What's the -- sorry. Can you repeat           22   misstating the document.
 23     that?                                               23          MR. LEVINE: I think you're acting like
 24       Q. The bottom of Page 22, there's an email        24   a witness rather than the lawyer.
 25     from you on June 30th, 2016, at 2:24 p.m.; do you   25          MR. COCHELL: I think it's a gross

                                                      306                                                      308
  1     see that?                                            1   mischaracterization.
  2         A. Yeah.                                         2   BY MR. LEVINE:
  3         Q. And the actual email is visible on            3      Q. All right. You said, "We disable the
  4     Page 23; do you see that?                            4   offending party, which we have done."
  5         A. Yeah.                                         5          What did you do, Mr. Brown?
  6        Q. Do you recognize this email?                   6      A. So what I'm talking about here is the
  7         A. Yes.                                          7   landlord. Not every -- like I said, there was no
  8         Q. You wrote it, right?                          8   way for me to track down an ad to a landlord.
  9         A. Yes.                                          9      Q. So you didn't disable anything, did you?
 10         Q. All right. So you write, about halfway       10      A. I did not disable anything. And I could
 11     through, "It's our policy that once we identify a   11   have handled this better.
 12     pattern of potential abuse, we disable the          12          But I took this as it's easier to
 13     offending party, which we have done."               13   address it this way than it is to -- you know, we
 14            Do you see that?                             14   can't track down a landlord that we don't have.
 15         A. Yes.                                         15      Q. So you were not telling the truth to the
 16         Q. Which party did you disable?                 16   BBB?
 17        A. So what I did, and, you know, I made a        17          MR. COCHELL: Objection, form of the
 18     mistake, this wasn't the best approach, but I       18   question.
 19     believed that any complaints relating to a          19      A. That's not what I'm saying. What I'm
 20     landlord is going to be self resolving. You know,   20   saying is: The offending party will automatically
 21     if there's a property where a landlord doesn't      21   drop off.
 22     reply, that property is not going to be on the      22      Q. But you said, we disabled it. And you
 23     market forever.                                     23   didn't do that, did you?
 24            And instead of chasing down and hunting      24      A. What I'm saying is the offending party
 25     down a landlord, which I, by the way, have no       25   will automatically drop off.

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                                                      309                                                       311
  1        Q. I'm not asking --                               1     A. So it seemed -- sorry.
  2        A. I understand what you're saying, and I'm        2          It seemed like the consumer was
  3    getting to your answer.                                3   mistaken, which is very common in our business.
  4            So by the time we get a complaint for an       4     Q. Okay. Let's turn to Page 15 of
  5    ad, most of the time, the ad is not even up            5   Exhibit 26. So this is July -- let's go to the
  6    anymore. So which particular ad, did we disable        6   bottom. It says -- actually, move on. Strike
  7    it, or was it disabled automatically?                  7   that.
  8        Q. Okay. Let's turn to Page 22, top of the         8          Let's go to Page 14 of Exhibit 26,
  9    page. There's an email that begins, "Good              9   please. Are you there?
 10    afternoon, Mike," sent on July 6, 2016, at            10     A. Yeah.
 11    3:01 p.m.; do you see that, Page 22?                  11     Q. All right. If you go to the bottom of
 12        A. Yep.                                           12   the page, you see an email from you to Brandi
 13        Q. Do you recognize the email?                    13   Turner from the BBB; do you see that?
 14        A. The top or the bottom one?                     14     A. Yes.
 15        Q. Bottom one from Brandi Turner at               15     Q. Do you remember sending this email?
 16    3:01 p.m.; do you see that?                           16     A. Yes.
 17        A. Yep.                                           17     Q. When you asked what the decision of the
 18        Q. You received this email, right?                18   board is, you're talking about decision on getting
 19        A. Yes.                                           19   BBB accreditation?
 20        Q. Okay. She says, "I have attached three         20     A. Yes.
 21    complaints with similar statements of your company    21     Q. You say, "We are still looking to remove
 22    creating false advertisements for homes for rent      22   the libelous statements published by the BBB."
 23    on Craigslist."                                       23          Do you see that?
 24            Do you see that?                              24     A. Yes.
 25        A. Yes.                                           25     Q. Libelous means false, doesn't it?

                                                      310                                                       312
  1        Q. Did you think this was a wild                   1      A. Yes.
  2     allegation?                                           2      Q. And that's what you meant?
  3        A. Again, putting this in perspective, we          3      A. Yes.
  4     had about 2 million prospective renters visit our     4      Q. So you actually asserted to the BBB that
  5     website, we had an A plus rating with the Better      5   the complaints from consumers were false?
  6     Business Bureau, and at the time, I believe we had    6      A. I asserted to the BBB that what the BBB
  7     about 50 complaints; and we'd been in business for    7   published on their websites that people are
  8     over 6 years.                                         8   complaining about fraudulent properties on
  9            So I think that it's not unreasonable          9   Craigslist was false. I know that not to be
 10     that a consumer will be confused, 60 of them out     10   false.
 11     of 2 million would be confused that a landlord is    11      Q. Now you know that not to be false.
 12     fake because he didn't reply.                        12      A. I knew that around this time. I have
 13            But what I did is I forwarded these, I        13   heard it from Pierce that he's posting ads on
 14     believe, to the customer service supervisor to       14   Craigslist with real properties. I've validated
 15     look into them and process them, like we do with     15   the properties myself.
 16     all complaints.                                      16          And we work with a high volume of
 17        Q. And you --                                     17   customers, and we had 50 complaints.
 18        A. All complaints are handled with the            18          And I believed at the time that BBB was
 19     refund, and the customer's refunded.                 19   posting false information about these complaints.
 20        Q. Did you do anything else?                      20   I didn't believe there was a fake ad. I looked at
 21        A. I already told you, around this time, I        21   an ad. I knew it to be real.
 22     looked into the fraudulent -- alleged fraudulent     22      Q. But these complaints, however you
 23     postings on Craigslist. I validated the ad,          23   characterize their volume, were imperilling your
 24     seemed legitimate.                                   24   BBB accreditation clearly, right?
 25        Q. So you thought --                              25      A. No, yeah. We were, as a good business,

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  1    going -- spending extra money and time to get a       1   think you're understanding the MLS system.
  2    BBB accreditation when we had an A plus rating        2      Q. So you're not aware whether he had
  3    wanting to take our good customer service to the      3   authorization from the landlords to advertise
  4    next level.                                           4   their properties?
  5       Q. And you believed that the real source of        5      A. I'm saying the MLS is set up to
  6    these complaints was just that Brown wasn't           6   distribute listings on multiple websites.
  7    properly routing -- excuse me.                        7          So if I buy access to the MLS data,
  8           You believed the real source of these          8   which I can for $700 and which I have done, you
  9    complaints was that Pierce wasn't properly routing    9   can distribute that on your website, on other
 10    the landlord emails?                                 10   websites; you can distribute it anywhere. People
 11           MR. COCHELL: Objection, form.                 11   charge for access to that data.
 12       A. At the time, I believed the complaints         12      Q. When you say "distribute it," you mean
 13    to be that the landlord did not reply to the         13   the -- exactly the information contained in the
 14    customer; and a landlord can not reply to a          14   MLS database?
 15    customer for any number of reasons. It doesn't       15      A. However you want to display it.
 16    mean there's a scam.                                 16      Q. If I find an ad for Guy Ward's home on
 17           MR. LEVINE: Okay. Let's take -- let's         17   the MLS database, I could then advertise Guy
 18    take a break, please.                                18   Ward's home and say whatever I want about it?
 19                 (Whereupon, a short break was           19      A. I mean, I believe you have a duty to not
 20                  taken.)                                20   probably change it significantly. You can't say
 21           MR. LEVINE: Let's go back on.                 21   his home has a -- you know, something it doesn't
 22    BY MR. LEVINE:                                       22   have.
 23       Q. All right. Mr. Brown, I want to                23          But if you're using the listing right,
 24    understand how you believed Pierce's model worked.   24   there's businesses built on advertising MLS data.
 25    So explain it to me in detail, if you will.          25   Look at Trulia. Look at Zillow. They are

                                                     314                                                       316
  1        A. I don't understand. When you say model,        1   advertising data that's in the MLS database.
  2     can you clarify for me?                              2      Q. So Pierce was advertising data that was
  3        Q. So you believe he had access to an MLS         3   in the MLS database on Craigslist. People
  4     database?                                            4   responded to the ads on Craigslist, right?
  5        A. Correct.                                       5      A. Yes.
  6        Q. And you believed he was posting ads for        6      Q. Where did you believe those responses
  7     rental properties from that database?                7   were going?
  8        A. Correct.                                       8      A. They went to one of Pierce's property
  9        Q. Did you believe he had the permission of       9   websites.
 10     the landlords to do so?                             10      Q. Directly to one of Pierce's property
 11        A. You know, you don't need the permission       11   websites?
 12     to advertise the MLS data. The data is in the MLS   12      A. Or the email for one of Pierce's
 13     to be distributed. That's how the MLS works.        13   property websites.
 14        Q. So you believed -- well, that wasn't my       14      Q. Okay. And the email contained -- these
 15     question.                                           15   are the landlord emails that we've talked about
 16            Did you believe that Pierce was              16   earlier.
 17     advertising these properties with the               17      A. I don't think we've got to that point
 18     authorization of the landlord?                      18   yet.
 19        A. So the MLS data when it's distributed is      19      Q. Which emails are these?
 20     distributed to be published. So he's publishing     20      A. Now I'm confused. You're confusing me.
 21     the data on a property listing site, which is the   21      Q. When the -- when consumers click on an
 22     intent of the MLS.                                  22   ad in one of -- when consumers email one of
 23        Q. Did he have authorization from any of         23   Pierce's Craigslist ads, they get a response,
 24     the landlords, yes or no?                           24   right?
 25        A. That's not how the MLS works. I don't         25      A. Yeah. Would it help if I just walk

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  1     through the entire process real quick?               1      A. No.
  2        Q. Sure.                                          2      Q. Let me finish my question.
  3        A. So Pierce will advertise a property for        3           Pierce had the authority to waive the
  4     rent on Craigslist. Multiple people can view the     4   security deposit for any property to which he had
  5     property on Craigslist. A customer or prospective    5   access on the MLS database?
  6     renter will email the email address on the           6      A. No. What Pierce should have had if he
  7     listing.                                             7   had access to the MLS database, like he said he
  8            Then one of Pierce's websites or emails       8   did, he would have had the properties or data
  9     will email the prospective renter telling them,      9   fields for each property to say: This one
 10     get your credit report here, and we'll set you up   10   requires a security deposit. This one does not.
 11     for a tour.                                         11   This one is three bedrooms. This one is four
 12            And so they go. They can click on the        12   bedrooms. This one allows pets. This one has a
 13     link in the email, get their credit report, and     13   kitchen. This one has HOA fees. This one has
 14     then credit report in hand, get matched up with     14   utilities included.
 15     the landlord.                                       15           You know, there's any number of fields
 16            So they are providing a service to the       16   that come with the MLS data.
 17     customer. The user is demonstrating good credit     17      Q. And you saw these landlords -- you saw
 18     to the landlord. It's a win-win for everyone.       18   these emails that Pierce sent, right?
 19        Q. But you said Pierce could post these ads      19      A. Yes.
 20     without any authorization from the actual           20      Q. And these emails impersonated landlords,
 21     landlords, correct?                                 21   did they not?
 22        A. No. What I said is the MLS database is        22      A. No.
 23     intended to be distributed. And it's distributed    23      Q. Okay.
 24     on multiple websites. It can be your own website    24      A. This was an email. If you look at the
 25     or a third-party website.                           25   email address, it was from -- it was from a

                                                      318                                                      320
  1        Q. Answer my question. Were you aware of          1   property site, a property listing site.
  2     any relationships Pierce had with actual             2          Had you have gone to this property
  3     landlords, yes or no?                                3   listing site, you will see that they represent
  4        A. No.                                            4   they have access to millions of properties.
  5        Q. You're not aware, or he didn't have any?       5      Q. All right. Let's look at one.
  6        A. I don't know if Pierce had relationships       6                 (Whereupon Deposition Exhibit
  7     with any landlords. I assume not.                    7                  No. 27 was marked for
  8            He had access to the MLS database, or so      8                  identification by the court
  9     I believed at the time, to market these              9                  reporter.)
 10     properties.                                         10   BY MR. LEVINE:
 11        Q. And these emails said to bring a credit       11      Q. This is going to be exhibit --
 12     report and it could lower the security deposit,     12          MR. COCHELL: 27.
 13     didn't they?                                        13          MR. LEVINE: Thank you.
 14        A. The emails are customized to each             14   BY MR. LEVINE:
 15     property, or so I believed at the time, like I      15      Q. Okay. I'm showing you a document that's
 16     went over how one will say it has the recently      16   been marked for identification as Exhibit 27. Do
 17     remodeled kitchen. The other says, we're pet        17   you recognize it?
 18     friendly.                                           18      A. I don't recognize this specific one.
 19            This is data he should have from the MLS     19      Q. Does this represent a typical one of
 20     database. It's all categorized and coded. So I      20   the -- does this represent a typical email that
 21     can customize my email to say, new kitchen, no      21   you believe Pierce was sending?
 22     security deposit, say pet friendly. These are       22      A. I mean, I -- I don't agree with what
 23     easy things to do.                                  23   you're saying is typical because it was my
 24        Q. So Pierce had the authority to waive the      24   understanding that the emails were custom to the
 25     security deposit --                                 25   property and unique; so I don't think there's a


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  1     typical template.                                     1   one you did.
  2        Q. So you thought that each email was              2      A. Who is this email from though?
  3     unique.                                               3      Q. This is going to be Exhibit 28. I'm
  4        A. Yes.                                            4   sorry.
  5        Q. And you -- this says, "Nice to talk to          5                (Whereupon Deposition Exhibit
  6     you. Here's some good news. The unit's still          6                 No. 28 was marked for
  7     available. We thought we had the unit rented to       7                 identification by the court
  8     someone we gave a walk-through to, but now it         8                 reporter.)
  9     seems they can't get out of their current lease,      9   BY MR. LEVINE:
 10     so we need to keeping searching."                    10      Q. Mr. Brown, I'm showing you an email
 11            Do you see that?                              11   that's been marked -- a document that's been
 12        A. Yeah.                                          12   marked for identification as Exhibit 28. Do you
 13        Q. Did you ever see that in any other             13   recognize the document?
 14     emails?                                              14           MR. COCHELL: Do you have a copy for me?
 15        A. I mean, I think in most of the emails I        15           MR. LEVINE: I'm sorry.
 16     have reviewed, they all say something to the         16           MR. COCHELL: Thank you.
 17     effect of they are still available and something     17      A. I have never seen this specific one.
 18     to that effect.                                      18   But it looks like it could be the same template.
 19        Q. How would Pierce even know that?               19      Q. And this was, in fact, the same day,
 20        A. Well, the MLS database does have the           20   September 4th, 2015, that you told Danny Pierce to
 21     status of the property.                              21   change his template, didn't you?
 22            And I don't know if this is Pierce is --      22      A. I requested Pierce for security reasons
 23     I mean, who is this from and who is this to? Is      23   to tell people to not email the template, to print
 24     this Pierce pretending to be a landlord? Is this     24   it out and bring it for the tour because we don't
 25     from a landlord? Who is -- who are these email       25   want users to feel phished.

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  1     addresses on here?                                    1           You know what phishing is -- do I need
  2        Q. Well, if you had seen this email, you           2   to define what phishing is?
  3     would have been able to figure out, right, because    3       Q. And you were concerned because some of
  4     that's what you did?                                  4   the -- some of the emails apparently said, please
  5        A. If I saw this email, I would be able to         5   email the credit report?
  6     figure out what?                                      6       A. Yeah. It's not a secure process, and
  7        Q. If you saw this posted online, you would        7   it's not a good practice to email a credit report.
  8     have been able to figure it out, right?               8   It's not secure.
  9        A. It depends if one of these emails               9       Q. But the landlord's email address wasn't
 10     addresses is a customer.                             10   in these -- these emails, were they, the actual
 11        Q. If you're a consumer and you get this          11   landlord's email address?
 12     email, you certainly believe that the email is       12       A. If Pierce knew what property the
 13     from the landlord, don't you?                        13   customer contacted, he knew what property it was
 14        A. So I know this is not an email from a          14   for.
 15     landlord.                                            15       Q. So you thought consumers were emailing
 16        Q. How do you know?                               16   Pierce credit reports that they got from your
 17        A. And the reason I know that is I can tell       17   website, and then Pierce was forwarding them to
 18     from the email address. I believe his emails came    18   actual landlords?
 19     from a touring website. I've never seen              19       A. Yes.
 20     mailcycled.com before.                               20       Q. 4 to 5,000 posts a day, 80 replies per
 21        Q. Let's do one more. This will be                21   post, 300,000 emails?
 22     exhibit -- I'm sorry.                                22       A. I clearly said I did not believe he was
 23            MR. LEVINE: I lost the stickers. Where        23   doing 4,000 a day. I said -- I think what I said
 24     are we?                                              24   was clear.
 25            THE REPORTER: This is -- 27 is the last       25       Q. Did you notice that all of the emails

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  1     you looked at said that "we typically waive the       1   you knew Pierce was not telling the truth when he
  2     security deposit"?                                    2   was making those claims about the husband or the
  3        A. No. I recall that not every email says          3   this or the that?
  4     that.                                                 4      A. I think you're completely --
  5        Q. Let's look at these emails side by side,        5          MR. COCHELL: Objection, lack of
  6     Exhibit 27 and Exhibit 28, shall we?                  6   foundation.
  7        A. Okay.                                           7      A. I think you're completely
  8        Q. One is from February 2015, and the other        8   mischaracterizing this email.
  9     is from -- Exhibit 27 is from February 2015, and      9          My understanding at the time was a
 10     Exhibit 28 is from September 2015; do you see        10   renter was interested in a property, and Pierce
 11     that?                                                11   was matching them up with the landlord. You know,
 12        A. Are you talking about Exhibit 28 and 27        12   you can have credit report in hand, demonstrate
 13     side by side?                                        13   good credit to the landlord; this would be a
 14        Q. Yeah. Do you see that?                         14   valuable service.
 15        A. Yes.                                           15      Q. So you believe that Pierce was in touch
 16        Q. And you see, if you look at the second         16   with both the landlords and their spouses?
 17     page of Exhibit 28, that's another -- I'm sorry.     17      A. I believe he should have, and the
 18           If you look at the second page of              18   difference between this being a compliance
 19     Exhibit 28, that's from October 28, 2015; do you     19   campaign and not, would be forwarding the renter's
 20     see that?                                            20   information to the landlord.
 21        A. Yes.                                           21      Q. But you agree that these emails in
 22        Q. So we have three different emails here,        22   Exhibit 27, 28 certainly would give someone the
 23     and if you notice, each of them says, I'm sure you   23   impression that they are from the owner, right?
 24     want the address, but for some reason, I can't       24      A. I mean, this just says that the unit's
 25     advertise the address; do you see that?              25   available, and I can't give you the address, and

                                                       326                                                      328
  1       A. Yeah. Now, the reason --                         1   I'd love to schedule a walk-through.
  2       Q. No. Let me ask the questions, please.            2          This could be your property company, it
  3            Exhibit 27 says, "I'm sure you want the        3   could be a landlord, it could be an assistant. I
  4    address, but my husband doesn't want me to             4   don't know.
  5    advertise the address."                                5      Q. Let's go back to Exhibit 26 again, but
  6            Exhibit 28 says, I'm sure "you want the        6   keep those Exhibit 27 and 28 in front of you.
  7    address, but my husband doesn't want me to             7   Turn to Page 25, which is the page listed at the
  8    advertise the address."                                8   top, ECF Page 25. Got it?
  9            Exhibit 28, Page 2, says, "I know you          9      A. Yeah.
 10    need the exact address, but the owner advised us      10      Q. Go to the bottom. Look at that. "I
 11    not to divulge the address."                          11   know that you want the precise address of the
 12            Did you believe that Pierce had all this      12   property, but my husband does not want me to
 13    data on husbands and owners and what they wanted      13   divulge due to safety reasons."
 14    and when they wanted it?                              14          Do you see that?
 15      A. So I think that's -- he designed this            15      A. Okay.
 16    process so a person won't cut them out. I think       16      Q. Did you believe Pierce had a husband who
 17    that if he disclosed the address in the first         17   was concerned about safety?
 18    reply, now the customer might cut Pierce out of       18      A. I really think that that doesn't matter.
 19    the transaction.                                      19   I think that regardless, he should have been, and
 20      Q. So you knew Pierce was lying about being         20   I thought he was, matching up the customer with
 21    the landlord.                                         21   the landlord.
 22            MR. COCHELL: Objection; form of the           22      Q. But you agree that this email makes it
 23    question, no time frame.                              23   appear as though it is being sent from the
 24    BY MR. LEVINE:                                        24   landlord, don't you?
 25       Q. At the time you reviewed these emails,          25      A. You know, they are all different


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  1     landlord emails --                                    1   husband," that wasn't true, was it?
  2        Q. Well, let's look --                             2          MR. COCHELL: Objection; form of the
  3        A. -- and it's hard to -- you know, you're         3   question, lack of foundation. You have to show
  4     picking different ones that say different things.     4   that Pierce sent this.
  5        Q. Well, let's look at the one in                  5          MR. LEVINE: Don't testify, Steve.
  6     Exhibit 26, Page 25. How about in the first           6          MR. COCHELL: Well, I mean --
  7     paragraph, it says, "The first prospective            7          MR. LEVINE: Let me ask your client the
  8     tenant" --                                            8   question.
  9        A. Page 5?                                         9          MR. COCHELL: My client is perplexed by
 10        Q. Page -- same page you're on, Page 25,          10   your questions.
 11     Exhibit 26. "Thank you for your interest in the      11          MR. LEVINE: No. He's been quite
 12     property listed for rent. You were the second to     12   verbose.
 13     reach out from the ad. The first prospective         13      A. I mean, you're showing me these
 14     tenant no longer had to move because of his work     14   different emails, which honestly supports my
 15     situation, so we give the opportunity to you."       15   belief that they are custom to each property. One
 16            Pierce wasn't talking about himself, was      16   says one thing, the other says a different thing.
 17     he? He couldn't have been.                           17   Are these customized for each property?
 18        A. So this is -- this is --                       18          Even to this day, I'm pretty perplexed,
 19           MR. COCHELL: Objection; form of the            19   and I don't understand.
 20     question, lack of foundation.                        20      Q. So if they are customized to each
 21     BY MR. LEVINE:                                       21   property, then Pierce would have had to consult
 22        Q. It's clear that Pierce was not talking         22   with each landlord and see how that landlord's
 23     about himself, isn't it?                             23   husband felt about divulging the address due to
 24           MR. COCHELL: Objection, lack of                24   safety reasons, right?
 25     foundation.                                          25          MR. COCHELL: Objection; form of the

                                                      330                                                       332
  1        A. It's perfectly reasonable and fine and          1   question, lack of foundation.
  2     common practice to create a sense of urgency in a     2      A. I think you're mischaracterizing the
  3     marketing campaign.                                   3   email.
  4            And it can be in the form of a countdown       4          You know, to have a husband, not have a
  5     on a website, five minutes to get your trial. You     5   husband, divulge the address, or not divulge the
  6     can say, only 50 products left in stock, or           6   address, you know, it doesn't say he's the
  7     there's three other people looking at this            7   landlord. And, you know, he's free to say if he
  8     apartment, right? It could be in multiple ways.       8   has a husband or not.
  9            So to say that you're the second person        9      Q. What --
 10     interested in rent, or we're getting a lot of        10      A. And he's free to act as a matchmaking
 11     replies or different things, it doesn't make it a    11   service with prospective renters and landlords.
 12     bad email.                                           12      Q. But your --
 13        Q. I'm not -- let's not characterize the          13      A. So I think you're missing --
 14     email.                                               14     Q. Your attorney is shaking his head no.
 15        A. Or to say, my -- my -- you know, I can't       15   But what we do know is that every -- every one of
 16     give you the address or my husband doesn't want to   16   these emails referenced credit reports, right?
 17     give the address, doesn't matter.                    17      A. Correct. And it doesn't say free credit
 18            If he would have been replying with this      18   report, and it doesn't say free credit score.
 19     prospective renter to the landlord, credit report    19      Q. Well, actually, if you look at
 20     in hand, we wouldn't be here today.                  20   Exhibit 27, it does say free report, doesn't it?
 21        Q. Answer my questions now.                       21   "Get your free report."
 22            To the best of your knowledge, Pierce         22      A. Where?
 23     did not have a husband, did he?                      23     Q. "If you want us to schedule you for a
 24        A. No.                                            24   tour, then please visit the link below and get
 25        Q. So when Pierce in his emails wrote "my         25   your free report."


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  1        A. It says just, "You can get your report,         1      Q. Okay. Look at Exhibit 26, Page 25,
  2     just click here."                                     2   bottom of the page. It says, "We are not
  3            Where are you looking at?                      3   concerned with any negative report items."
  4        Q. Exhibit 27. "If you want us to schedule         4         Do you see that?
  5     you for a tour" --                                    5      A. Is it 26?
  6            MR. COCHELL: Exhibit 27. I'm sorry.            6      Q. Exhibit 26. You're in the right one.
  7     BY MR. LEVINE:                                        7   Page 25, top of the page.
  8        Q. -- "then please visit the link below and        8         MR. COCHELL: It's this one right here
  9     get your free report."                                9   (indicating). You can look at it.
 10            Do you see that?                              10         I'm just highlighting it for him.
 11        A. This is the first time I've seen               11   BY MR. LEVINE:
 12     something mention free report. These other ones      12      Q. You see where it says, "We are not
 13     do not say free report.                              13   concerned with any negative report items"?
 14        Q. Okay. So --                                    14      A. Okay.
 15        A. Do you know what -- I mean --                  15      Q. Do you see that?
 16        Q. So every one of these emails had a             16      A. Yeah.
 17     request that the consumer obtain a credit report,    17      Q. So Pierce felt comfortable telling
 18     right?                                               18   consumers that this landlord out there didn't care
 19        A. Correct.                                       19   what their credit report -- didn't care what their
 20        Q. So how did Pierce know that every one of       20   credit score was?
 21     these thousands of landlords wanted a credit         21         MR. COCHELL: Objection; form, lack of
 22     report, period?                                      22   foundation.
 23            MR. COCHELL: Objection; form of the           23      A. I think the data in the MLS database
 24     question, lack of foundation.                        24   controlled the text on this template.
 25                                                          25         So you might point to this one email

                                                       334                                                      336
  1     BY MR. LEVINE:                                        1   that says "not concerned with negative report
  2        Q. What was your understanding of how              2   items," and you know what, this one on Number 27
  3     Pierce knew that every one of these landlords         3   doesn't say that. So was it or was it not
  4     wanted the consumer to bring a credit report on       4   customized?
  5     the tour?                                             5          And there might be something in the MLS
  6            MR. COCHELL: Objection; form, lack of          6   data that says that they are not concerned. You
  7     foundation.                                           7   know, bad credit okay would be an example. If it
  8        A. So I don't know if you have ever rented         8   had the text bad credit okay, that could clearly
  9     an apartment. Credit reports are typically            9   control what this template says.
 10     involved in that process.                            10      Q. What about the last line of every one of
 11            And whether you're a renter, you know,        11   these emails we've looked at which say, get me the
 12     you want to demonstrate good credit to a landlord,   12   credit report, and then I'll schedule you for a
 13     or you're a landlord and you want to check the       13   tour? We see that in Exhibit 27.
 14     credit of a renter --                                14      A. Yep.
 15        Q. Answer my question, Mr. Brown.                 15      Q. We see it on Exhibit 28. We see it on
 16        A. -- this is a common thing --                   16   Exhibit 26, Page 25. We see it on Exhibit 28,
 17            THE REPORTER: One at a time.                  17   Page 2. You see it on all those, right?
 18        A. I'm answering the question.                    18      A. Yes.
 19            This is a common thing that everyone          19      Q. How was Danny Pierce going to schedule a
 20     does to run a financial transaction. You need to     20   tour for thousands of landlords?
 21     demonstrate good credit to be a renter.              21      A. So it's --
 22        Q. But --                                         22          MR. COCHELL: Objection; lack of form --
 23        A. And to say that a landlord would be            23   lack of foundation, form.
 24     upset that a potential renter demonstrated good      24      A. So it should be a very simple process,
 25     credit is -- is very silly.                          25   right? You have a -- you have a prospective


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  1     renter. You have a property that's for rent. And      1      Q. Exhibit 28, first page.
  2     you just match them up.                               2          Your attorney is laughing, and I might
  3            Had he have just forwarded this reply to       3   too.
  4     the landlord, credit report in hand, said, here's     4          MR. COCHELL: Yeah. There seems to
  5     a customer, schedule a tour with them, end of         5   be --
  6     story, we wouldn't be here today.                     6          MR. LEVINE: Don't --
  7        Q. So you acknowledge that Danny Pierce            7          MR. COCHELL: -- a disconnect with logic
  8     wasn't scheduling tours for consumers.                8   here --
  9        A. This is an automated system.                    9          MR. LEVINE: I agree. I agree.
 10        Q. So you acknowledge that Danny Pierce           10          THE WITNESS: There's a big disconnect
 11     wasn't scheduling tours for consumers.               11   in logic, so --
 12        A. No. I believed he was scheduling them          12   BY MR. LEVINE:
 13     through an automated system.                         13      Q. But answer my question.
 14        Q. You believed an automated system was           14      A. The answer to your question is, look, he
 15     scheduling tours of properties for thousands of      15   used a template; and he replied to customers, and
 16     consumers across the country with thousands of       16   he was supposed to match these up with the
 17     landlords?                                           17   renters --
 18        A. Yes, exactly. I believe --                     18      Q. And the --
 19        Q. What was that system?                          19      A. -- and he didn't do that. And that's
 20        A. I believe just like he had a system to         20   the fraud.
 21     shoot out an email to a prospective landlord, he     21      Q. And the template included false
 22     could have shot out a second email to the landlord   22   information, didn't it?
 23     saying, here, here you go, got a renter and          23      A. You know, saying like you're --
 24     property, schedule a tour.                           24      Q. Did it or didn't it?
 25        Q. Okay. But that's something different.          25      A. You're -- I can't answer that question

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  1     That's matching up the consumer with the real         1   yes or no.
  2     landlord, right?                                      2      Q. You can't --
  3        A. That's not something different. That's          3      A. What I can say is that you're -- you're
  4     exactly what we're talking about.                     4   mincing words to say I said he would do this, he
  5        Q. Okay. But Danny Pierce himself wasn't           5   said he would do this. You know what? He should
  6     saying, well, I've got some availability after        6   have been matching them up with the landlord.
  7     3:00 on Friday. You understand that, right?           7          If he said I did, you know what? He's
  8        A. And -- and you're mischaracterizing this        8   controlling this through an automated system, or
  9     email.                                                9   we thought he was; so, I mean, I don't know what
 10        Q. No. Just answer my --                          10   your point is.
 11        A. Nowhere does it say that he's scheduling       11      Q. When Pierce says, "I can personally
 12     times with people.                                   12   schedule a walk-through of the place," that isn't
 13        Q. It says, "I can then schedule you for a        13   true, is it?
 14     walk-through of the" -- let's look at Exhibit 28.    14      A. I don't know if that's true or not --
 15             "I can personally schedule a                 15      Q. So you thought --
 16     walk-through of the place."                          16      A. -- because we don't know if he is
 17             That is exactly what the email says.         17   scheduling this.
 18        A. And he can't forward this to the               18          I mean, we assume because we're here
 19     landlord to do that personally and schedule it,      19   today that he's not doing that. But at the time,
 20     whether it's --                                      20   we did not know he wasn't scheduling tours with
 21        Q. It's first person, Mr. Brown, "I can           21   people.
 22     personally schedule."                                22      Q. So --
 23             And you -- and that is not true, is it?      23                (Brief pause.)
 24        A. Let me make sure I'm looking at your           24      A. And --
 25     first --                                             25      Q. Go on.


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  1        A. -- on your Exhibit 28 --                       1      Q. Just so I understand then, the emails
  2        Q. Mm-hmm.                                        2   that we've been looking at have links to your
  3        A. -- who is this email from and to?              3   website, right -- your websites, right?
  4        Q. You were just whispering to your               4      A. You know, I can't tell looking at this
  5     counsel. Is there something else you wanted to       5   exhibit.
  6     ask me?                                              6      Q. Okay. But --
  7        A. Just the question I just asked. Who is         7      A. But I don't know.
  8     this email to? Is this from --                       8      Q. You knew Danny Pierce's emails had links
  9        Q. You're the witness, Mr. Brown. And you         9   to your website, you already testified to that,
 10     testified that you were familiar with these         10   right?
 11     emails.                                             11      A. Correct.
 12        A. I said I recognized similar templates to      12      Q. Okay. So the idea was that consumers
 13     these emails.                                       13   would get their credit report from you, right?
 14        Q. Right.                                        14      A. Correct.
 15        A. But, you know, these are all to the same      15      Q. And then whatever happened afterward,
 16     person, you know, 27 and 28. So is this landlord    16   landlord, no landlord, property available, no
 17     email being sent to the same person over and over   17   property available, you still had the sale on your
 18     from different customers? It doesn't make any       18   end, right?
 19     sense.                                              19      A. I think you're mischaracterizing this
 20        Q. It looks suspicious, doesn't it?              20   whole activity.
 21        A. It looks very suspicious.                     21          It's not property available, no property
 22        Q. Yet when you saw all these ads before         22   available. This is a property that's supposed to
 23     this lawsuit, you did nothing to follow up, did     23   be in an MLS database, meaning the property is
 24     you?                                                24   available.
 25        A. Because I don't think I've seen a             25      Q. Let's talk just about the chronology

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  1     situation where a landlord email is being sent       1   though. You -- the consumer has to sign up with
  2     multiple times from different email addresses to     2   eFreeScore or CreditUpdates before ever having any
  3     the same person.                                     3   interaction with the actual landlord, correct?
  4            Who is this FrazerTrug@gmail.com? Is          4      A. It's not a requirement. You know, the
  5     that a customer?                                     5   customer could reply and say, hey, I already have
  6        Q. Did you believe landlords were getting         6   a credit report.
  7     commissions from you or from Danny Pierce?           7          And if it was an automated system, it
  8        A. I don't know if he was getting                 8   would kick it over to the landlord, and it's up to
  9     commissions or not.                                  9   them what they want to do.
 10        Q. How did the transaction end if it was         10      Q. But the way the system was set up was to
 11     done as you thought it would? So Pierce forwards    11   encourage customers to get credit reports from
 12     the email to the landlord, and then what?           12   you, and then the tour would be scheduled,
 13        A. That could be it. There could be more.        13   correct?
 14     So my understanding at the time was he matched up   14      A. Yeah. A credit report is very important
 15     the prospective renter with the landlord.           15   in the rental process.
 16            I know he also did some other activities     16      Q. So in terms of your own income on
 17     to monetize the customer, marketing other           17   Pierce's traffic, it made no difference whether
 18     rent-to-own products. I don't know how or when      18   the landlords were real or fake, did it?
 19     that took place afterwards, but that's my           19      A. That's a completely inaccurate
 20     understanding.                                      20   statement. If it was a fake landlord email, I
 21        Q. And presumably, he would have received a      21   would have not have done business with them; and I
 22     commission from the landlord if he refers a         22   would have terminated the relationship, like I've
 23     consumer to that landlord, right?                   23   done in many other cases with other people.
 24        A. He definitely could have. That would          24      Q. Okay. So you still -- okay. Okay.
 25     have been a great business.                         25   Let's move on.


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  1           Now, at some point -- you said this in a        1       Q. Okay. Now, Paragraph 2, you say, "The
  2     declaration, and I can get it out. But at some        2   landing pages that are the subject of this lawsuit
  3     point in late 2015 or early 2016, you changed your    3   were activated and used by CBC starting in or
  4     landing pages, correct?                               4   about December 2015 to January 2016," right?
  5           MR. COCHELL: Changed what?                      5       A. Correct.
  6     BY MR. LEVINE:                                        6       Q. Those landing pages, when you say they
  7        Q. Your landing pages, correct?                    7   are the subject of the lawsuit, you base that on
  8           MR. COCHELL: Got it.                            8   the landing pages that were attached to the
  9        A. Can you refresh my memory?                      9   complaint?
 10        Q. Sure. Let's go to the Skype                    10       A. Yes.
 11     conversation, which is Exhibit 19.                   11       Q. So those were the landing pages in use
 12        A. Yep. I have it in front of me.                 12   in around 2016, but you're saying that they
 13        Q. Okay. Let's turn to Page 77, and I'm           13   changed; is that accurate?
 14     talking about the pages at the top.                  14       A. To make this more accurate, this --
 15           Actually, I'm sorry, let's go to               15   these were the pages that were in use specifically
 16     Page 78, please. So it looks to me like you were     16   for Pierce and Lloyd for that time period. So
 17     talking to Danny Pierce about designing a new        17   it's not the use across the whole sites. It was
 18     landing page to get better results. Take a look,     18   designed actually specifically by Pierce for
 19     and tell me if that is accurate.                     19   Pierce's traffic. We plugged it into the system
 20        A. Where am I looking?                            20   on that date.
 21           MR. COCHELL: Page 78 of 159?                   21       Q. And when you say these pages, I think
 22     BY MR. LEVINE:                                       22   that's what you said, you're referring to the
 23        Q. You know, I have a shortcut. Let's put         23   pages that were attached to the FTC's lawsuit,
 24     Exhibit 19 to the side. And I want to introduce      24   correct?
 25     you to a new exhibit. This should be faster.         25       A. Yes.

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  1           MR. LEVINE: Okay. We're on which?               1      Q. Okay. Now, you say in Paragraph 3E,
  2           THE REPORTER: The last one I have is            2   okay, that "Danny Pierce's texts which showed that
  3     28.                                                   3   the landing page at issue became 'live' on
  4           MR. COCHELL: Yeah. It should be 29.             4   December 1st, 2015."
  5           MR. LEVINE: Thank you. Okay.                    5         Do you see that?
  6     BY MR. LEVINE:                                        6      A. Yes.
  7        Q. Okay. I'm showing you a document that's         7      Q. Okay. And if you go -- if you go to
  8     been marked for identification as Exhibit 29.         8   Exhibit E of -- of Exhibit 29 --
  9                 (Whereupon Deposition Exhibit             9      A. My --
 10                  No. 29 was marked for                   10      Q. -- it's the final page of this exhibit.
 11                  identification by the court             11      A. Okay.
 12                  reporter.)                              12      Q. Okay? This looks like an excerpt from
 13     BY MR. LEVINE:                                       13   your Skype conversation, right?
 14        Q. You see there's already an exhibit             14      A. This appears to be Document 42-2,
 15     sticker on it, but my exhibit sticker trumps.        15   Page 80 or Page 79.
 16           So Mr. Brown --                                16      Q. Okay. You say, "The new LP."
 17           MR. COCHELL: Let's not get the                 17         That means landing page, right?
 18     president involved.                                  18      A. Yes.
 19           MR. LEVINE: Exactly, right.                    19      Q. And you say, "It's like 60 to 70 percent
 20     BY MR. LEVINE:                                       20   better than before," is that right?
 21        Q. You recognize this document, right?            21      A. Yeah. But I don't know if it's accurate
 22        A. Yes.                                           22   because then right after that, I say we are at 1
 23        Q. It's a declaration you filed in                23   in 13 and now we are at 1 in 15.
 24     November, right?                                     24      Q. But the goal was to increase
 25        A. Yes.                                           25   performance.


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  1       A.     Definitely.                                  1          Actually, so let's start on -- I
  2       Q.     And by performance, I mean revenue.          2   apologize. Let's start on Page 32 of Exhibit 30.
  3       A.     It's to increase the conversion rate.        3   Okay? Are you there?
  4       Q.     Okay. Fair.                                  4      A. Yeah.
  5            Now, if we return to Exhibit 19,               5      Q. Okay. So order does not appear in this
  6     Page 78, I think it's where we were, you say also     6   page, does it?
  7     at a -- you say at 8:26 p.m., "Also changing the      7      A. So what I'm saying, and what I said in
  8     header image of the order page -- pages to remove     8   this message, is very clear on the top of the
  9     the word order."                                      9   website, I said I'm changing the header image.
 10            Do you see that?                              10   See right now, it says, "Complete, confirm,
 11        A. Yeah.                                          11   verify."
 12        Q. Okay. Why were -- well, let's start            12      Q. Yeah.
 13     with which page is the order page?                   13      A. It doesn't make sense to have one of the
 14        A. So all of them excluding the landing           14   steps be called order on a three-step order
 15     page. So I refer to them as what are Page 1, 2,      15   process. What are the other two steps for, right?
 16     and 3; personal information, credit card, social,    16         So on the top of the page, you'll see it
 17     date of birth.                                       17   says "Page 1, order" on the -- in the browser
 18        Q. So you were removing the word "order"          18   toolbar, right?
 19     from each of the -- each of those pages?             19         And you come to Page 35 of this
 20        A. No. What I'm referring to is the header        20   document, the confirm page, it says, "When you
 21     image. There's three steps it says. It will say      21   place your order here, you will begin your
 22     like order, confirm view, or sign up, confirm        22   membership in eFreeScore. You will be billed $1
 23     view, something along those lines, something         23   today and start your trial membership. After your
 24     substantially similar to that on the order page.     24   7-day trial period, you will be charged 29.94
 25            So I think there was some issue we            25   every month. If you wish to cancel, just call us

                                                       350                                                       352
  1     corrected. You know, it wouldn't make sense to        1   at 800-934-1938 to stop your membership."
  2     have one page be order when all three of them are     2      Q. Okay.
  3     order.                                                3      A. And this is in a header that says
  4        Q. So in the end, none of the pages said           4   "payment information," and you have to both submit
  5     order, correct?                                       5   and continue on to the next page affirmatively
  6        A. No. They -- it definitely says order on         6   giving consents and enrollments in this negative
  7     the credit card page. When you place your order       7   option membership.
  8     here, when you click "submit secure order," that's    8      Q. Where did the order image previously
  9     the language that's on the credit card page.          9   appear?
 10            There's no mistake on the credit card         10      A. It was on Number 1 where it says
 11     page. The terms and the price and the order          11   "complete". That would have said order instead.
 12     details are there.                                   12      Q. Instead of complete?
 13        Q. Okay. This is going to be Exhibit 30.          13      A. Correct.
 14                  (Whereupon Deposition Exhibit           14      Q. And "Number 2, confirm" and "Number 3,
 15                   No. 30 was marked for                  15   verify" would have been the same?
 16                   identification by the court            16      A. Correct.
 17                   reporter.)                             17      Q. Okay. You knew lots of people were
 18     BY MR. LEVINE:                                       18   complaining that they didn't know they signed up
 19        Q. Mr. Brown, I'm showing you a document          19   for credit monitoring, right?
 20     marked for identification as Exhibit 30. You         20      A. I think that's inaccurate statement,
 21     recognize this as the complaint in the lawsuit,      21   grossly inaccurate statement.
 22     right?                                               22          You know, we had a very large customer
 23        A. Correct.                                       23   base; and our customers overwhelmingly knew what
 24        Q. Let's first turn to Page 35, please.           24   they were signing up for and exercised their
 25     And these are the pages at the top.                  25   rights in the trial period and after and benefited


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  1     from our products and services.                      1   general.
  2        Q. Do you remember working on a website           2          People want refunds. And you know what?
  3     called SimpleRefund.org?                             3   When they complain, after reasonable business
  4        A. Yes.                                           4   efforts to try to retain them and keep them happy,
  5        Q. And the goal of that website was to            5   we'll offer them a refund.
  6     reduce chargebacks, right?                           6          That's just a good business practice in
  7        A. Correct.                                       7   general. I don't see anything wrong with this.
  8        Q. And you were working with some folks to        8      Q. Okay. Elsewhere in the website, you had
  9     set up the website and design the pages, correct?    9   text that included, "Credit card charge from
 10        A. Correct.                                      10   CreditUpdates.com you didn't approve."
 11           MR. LEVINE: All right. This will be           11          Do you recall that?
 12     Exhibit?                                            12      A. Correct.
 13           MR. WARD: 31.                                 13      Q. Okay.
 14           MR. LEVINE: 31.                               14      A. These are to rank in Google for
 15                 (Whereupon Deposition Exhibit           15   keywords. So if someone searches for
 16                  No. 31 was marked for                  16   CreditUpdates, not familiar, they come to this
 17                  identification by the court            17   website.
 18                  reporter.)                             18      Q. You even had a canned response for
 19     BY MR. LEVINE:                                      19   people who got charges they didn't recognize,
 20        Q. Okay. Mr. Brown, do you recognize             20   didn't you?
 21     Exhibit 31?                                         21      A. I believe so.
 22        A. Yes.                                          22      Q. You don't believe so?
 23        Q. What is it?                                   23      A. I believe so.
 24        A. It's a website called SimpleRefund.           24      Q. Oh, you believe so. Okay.
 25        Q. And you were involved in creating             25          Now, you've said on numerous occasions

                                                      354                                                      356
  1    Exhibit 31?                                           1   in this case that your company had a liberal
  2       A. Yeah. You know, the way this came about         2   refund policy; is that right?
  3    is one of our competitors, which is much larger       3      A. Correct, after reasonable business
  4    than us, we noticed had a similar process where       4   efforts to retain customers.
  5    they'd create a website and try to rank it in         5      Q. And refund, what does refund mean to
  6    Google.                                               6   you?
  7            And basically if there's a customer who       7      A. It means refund the customer.
  8    has an issue, we want to direct them to us. We        8      Q. How much, the total amount they paid, or
  9    would love to help them out and issue them a          9   what?
 10    refund if they have an issue.                        10      A. There's no fixed amount. Some customers
 11            It's cheaper if they contact us and not      11   will want just the refund of a dollar. Some
 12    their bank, and we want to provide good customer     12   customers will want half of the month refunded.
 13    service.                                             13   Some customers will want a full month. You know,
 14       Q. But it says, "SimpleRefund is a company        14   in some cases, they go up to two months. But I
 15    that gets you refunds for charges you don't          15   think I've seen some cases where there's more.
 16    recognize and did not authorize."                    16          But it's really on a case-by-case basis
 17            Do you see that?                             17   to do what's necessary to try to create a
 18       A. Correct.                                       18   satisfied customer.
 19       Q. So you were aware that there was a             19      Q. But, in fact, your policy was to not
 20    problem for people complaining about charges they    20   give refunds, wasn't it?
 21    didn't authorize, weren't you?                       21      A. I disagree with that statement.
 22       A. Yeah. So this -- like I said, we're in         22          MR. LEVINE: Okay. Are we on 32.
 23    the complaint business. It's not uncommon for        23          THE REPORTER: Looks like it.
 24    people to say, I don't recognize this, I didn't do   24
 25    this, this is fraud, Pierce or not, anyone in        25


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  1                  (Whereupon Deposition Exhibit            1      A. Again, you're completely
  2                   No. 32 was marked for                   2   mischaracterizing this email.
  3                   identification by the court             3          We asked Josh --
  4                   reporter.)                              4      Q. I'm not asking about an email, just so
  5            MR. COCHELL: Just so you know, we're           5   you understand my question.
  6     probably at the end. I'm not sure. It's about         6      A. So -- so I think the statistics that we
  7     5:30.                                                 7   went over were over, I think it was, $800,000 in
  8            MR. LEVINE: Okay. How about we take a          8   refunds were issued clearly shows that we had a
  9     break after this, and we'll -- Guy and I will         9   refund policy in place and customers were
 10     confer.                                              10   refunded.
 11            MR. COCHELL: Sure.                            11      Q. So is this --
 12            MR. LEVINE: This is the last before the       12      A. And we had to have an email template to
 13     break, I promise.                                    13   satisfy both possible scenarios. If a customer is
 14     BY MR. LEVINE:                                       14   refunded or not refunded, we have to send the
 15        Q. All right. I'm showing you a document          15   appropriate template to that email.
 16     that's been marked for identification as             16      Q. So it was not your policy to give
 17     Exhibit 32. Do you recognize it?                     17   refunds because you just said that you often did
 18        A. Yes.                                           18   not give refunds, right?
 19        Q. And what is it?                                19      A. I don't think I said that.
 20        A. It's an email between myself and a             20      Q. You often did not -- there were times
 21     copywriter, Josh Margulies.                          21   when you did not give refunds to customers,
 22            He's sending me two customer service          22   correct?
 23     email templates. Apparently one of the templates     23      A. Can you be more specific?
 24     is for when a customer requests a refund and they    24          I mean, we have hundreds of websites, I
 25     are canceled and get a refund, and another           25   think, on this platform by multiple partners that

                                                       358                                                      360
  1     template for when a customer asks for a refund and    1   have different rules for refunds. I need more
  2     no refund is provided.                                2   specific --
  3        Q. And you say on June 8th, 2016, "Needs to        3      Q. Well, Josh was writing a script for your
  4     be a soft rejection for a refund," right?             4   people in Colombia, right?
  5        A. Correct.                                        5      A. No. He's writing an email template
  6        Q. And Josh responds, "I tried to be very          6   that's sent in an automated fashion --
  7     gentle when explaining that we cannot issue a         7      Q. Right.
  8     refund," right?                                       8      A. -- to be sent to consumers on who knows
  9        A. Yeah. So I think you're reading                 9   what website. It could be a white label website,
 10     something into this that's not there.                10   could be a cobrand website, could be my website,
 11            So I asked Josh to create a template for      11   could be anyone's --
 12     both possibilities, when a customer is refunded      12      Q. So Josh was writing emails to be sent
 13     and when they are not refunded.                      13   from -- strike that.
 14            Now, keep in mind, we run a white label       14          So when Josh says, "Our policy is that
 15     business; and we have many websites on our           15   we're not able to issue a refund," it's your
 16     platform. I don't even control the refund policy     16   testimony that doesn't reflect CBC's actual
 17     on some of the websites. It's up to our white        17   policy?
 18     label provider, so we need a template for both       18      A. I'm saying Josh was instructed to create
 19     scenarios.                                           19   two emails, an email where a customer is refunded
 20        Q. Okay. Well, let's look at the template,        20   and an email where they are not; and they are
 21     which is attached to 32. First template, second      21   plugged into a system.
 22     full paragraph, says, "Unfortunately, our policy     22      Q. Well, actually --
 23     is that we are not able to issue a refund on past    23      A. So if a customer gets a refund, they are
 24     payments."                                           24   sent the email that reflects you got a refund so
 25            Was that your policy?                         25   we can communicate accurately to the customer what


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  1     we did for them.                                     1          MR. COCHELL: Sure.
  2        Q. All right. Let's look at the second            2          MR. LEVINE: Okay.
  3     email template, "No refund."                         3                (Whereupon, a short break was
  4            If you look at the second page -- excuse      4                 taken.)
  5     me, the third page of Exhibit 32, it says,           5   BY MR. LEVINE:
  6     "Unfortunately, our policy is that we're not able    6      Q. All right. Mr. Brown, you are under
  7     to issue a refund on past payments."                 7   oath still, you understand?
  8            So both these email templates, you're         8      A. Yes.
  9     saying no refund, right?                             9      Q. I think my questions will be brief.
 10        A. I think you're completely                     10          My understanding is that you have opened
 11     mischaracterizing --                                11   new bank accounts since the filing of this case;
 12        Q. I'm reading it.                               12   is that correct?
 13        A. I think you're completely                     13      A. Correct.
 14     mischaracterizing the email.                        14      Q. And are those bank --
 15            Again, going back to the email, I said,      15      A. No, sorry, bank account.
 16     hey, "Josh, can you make some email copy for        16      Q. Single account.
 17     Diego," the customer service supervisor.            17          THE REPORTER: What? Oh, okay, single.
 18            "He needs a template for when, one,          18      A. Are you talking about ones -- I'm sorry.
 19     customer requests to cancel and refunded. Number    19   Take a step back.
 20     two, customer asks for a refund and no refund       20          So since what date?
 21     provided."                                          21      Q. Since the filing of this lawsuit.
 22            There's two templates, one for refunded,     22      A. I've opened one bank account since the
 23     one for not.                                        23   filing of this lawsuit.
 24        Q. So you're --                                  24      Q. And that bank account is in your own
 25        A. This has nothing to do with a refund          25   name?

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  1     policy. This is about creating good customer         1      A. Yes.
  2     service templates to accurately communicate what     2      Q. Did you open any corporate bank
  3     happens when it happens.                             3   accounts?
  4        Q. Go to the second page, first email             4      A. No.
  5     template. You say that this is a template for        5      Q. And the second question -- or thank you.
  6     when you have given refunds?                         6          When did you open that bank account?
  7            MR. COCHELL: Objection,                       7      A. I don't recall specifically; but, you
  8     mischaracterizes the testimony.                      8   know, I want to say about two months ago.
  9        A. So you're mischaracterizing the email.         9      Q. And which bank did you open it at?
 10            Look, my instructions are clear. We          10      A. Banco Popular.
 11     need two templates.                                 11      Q. Is that a Mexican bank?
 12        Q. I'm not asking about the instructions.        12      A. It's a Puerto Rican bank.
 13        A. No. Look, I'm answering your question.        13      Q. Oh, Puerto Rican?
 14     And it's not a yes or no answer.                    14          Is that the bank where you had an
 15            My instructions are clear: Template          15   account prior to this lawsuit?
 16     one, refunded; template two, no refund provided.    16      A. No.
 17            Apparently what Josh delivered was not       17      Q. Okay. Okay. The -- I also wanted to
 18     what I asked because look at what he sent           18   ask you about the disposition of your cars, if you
 19     apparently. Email one, no refund. Email two, no     19   could just tell me the status of that.
 20     refund.                                             20      A. Yeah. So, you know, first of all, I
 21            That doesn't reflect what I asked him to     21   have a buyer lined up for the BMW who made an
 22     do, right?                                          22   offer for $14,000.
 23        Q. That was my question. Thank you.              23          I need to check with the balance of the
 24            MR. LEVINE: We'll take a break now, and      24   loan with the Wells Fargo Dealer Services company.
 25     we can hopefully wrap this up. Okay?                25   I think, but I'm not positive, that the loan is


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  1     slightly higher than that amount; so I think it's     1         MR. COCHELL: We'll review and sign.
  2     going to take some negotiation to get the party to    2             (Whereupon the deposition
  3     the correct figure, but I'm not positive. I need      3              adjourned.)
  4     to contact the bank.                                  4
  5             Regarding the Jeep, you know,                 5
  6     unfortunately, the FTC waited until two hurricanes    6
  7     damaged St. Croix and the Virgin Islands. It's a      7
  8     little difficult right now to sell a Jeep. I          8
  9     haven't had any responses or interest in my car       9
 10     yet.                                                 10
 11        Q. When did you -- how are you advertising        11
 12     the Jeep?                                            12
 13         A. It was posted on Craigslist.                  13
 14        Q. Had you --                                     14
 15         A. Love that site, right?                        15
 16        Q. What?                                          16
 17             THE REPORTER: What?                          17
 18         A. We all love that site.                        18
 19             MR. COCHELL: But it's a real -- it's a       19
 20     real ad.                                             20
 21             THE WITNESS: It's a real ad, yeah, I         21
 22     promise.                                             22
 23     BY MR. LEVINE:                                       23
 24        Q. And when --                                    24
 25         A. I did it myself.                              25

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  1        Q. And when did you post that ad?                  1   STATE OF ILLINOIS )
  2        A. I -- I don't recall specifically.               2           ) SS
  3            MR. COCHELL: Can you print out a copy?         3   COUNTY OF C O O K )
  4     Can we like generate the ad --                        4
  5             THE WITNESS: Yeah, yeah. I can print          5
  6     it out for you and --                                 6   I,______________________________________,
  7            MR. COCHELL: -- and generate a copy of         7   do hereby certify that I have read the foregoing
  8     the bank account and give it to them --               8   transcript of my deposition consisting of pages
  9             THE WITNESS: Yeah.                            9   ____ through ___, inclusive; and I find it is a
 10     BY MR. LEVINE:                                       10   true and correct transcript of my deposition so
 11        Q. And you put a --                               11   given as aforesaid.
 12            MR. COCHELL: -- tomorrow?                     12
 13     BY MR. LEVINE:                                       13
 14        Q. You put a price or best offer?                 14   ________________________________________
 15        A. I don't remember if I put or best offer,       15
 16     but I did put a price --                             16
 17        Q. Do you remember what the price is?             17   Subscribed and sworn to
 18        A. I think it was $22,000, but don't hold         18   before me this ____ day
 19     me to it. It was right around there.                 19   of _____________, 2017.
 20             MR. LEVINE: Okay. I think we are all         20
 21     done. This concludes the deposition of Michael       21   ___________________________
 22     Brown.                                               22   Notary Public
 23            MR. COCHELL: We'll reserve our                23
 24     questions for trial or summary judgment.             24
 25             THE REPORTER: What about signature?          25

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  1     IN RE THE CASE OF: FEDERAL TRADE COMMISSION vs.
  2     CREDIT BUREAU CENTER, LLC, et al.
  3     taken on: December 13, 2017
  4
  5     PAGE LINE        REASON AND CHANGE
  6     ___________________________________________
  7
  8     ___________________________________________
  9
 10     ___________________________________________
 11
 12     ___________________________________________
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 14     ___________________________________________
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 16     ___________________________________________
 17
 18     ___________________________________________
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 20     ___________________________________________
 21
 22     ___________________________________________
 23
 24     ___________________________________________
 25


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  1   STATE OF ILLINOIS )
               ) SS:
  2   COUNTY OF C O O K )
  3
  4
                   I, Layli Phillips, RPR, CRR,
  5   CSR, in and for the County of Cook and State of
      Illinois, do hereby certify that MICHAEL BROWN on
  6   December 13, 2017, was by me first duly sworn to
      testify to the truth, the whole truth, and nothing
  7   but the truth, and that the above deposition was
      recorded stenographically by me and transcribed by
  8   me.
  9           I FURTHER CERTIFY that the foregoing
      transcript of said deposition is a true, correct,
 10   and complete transcript of the testimony given by
      the said witness at the time and place specified.
 11
             I FURTHER CERTIFY that I am not a
 12   relative or employee or attorney or employee of
      such attorney or counsel, or financially
 13   interested directly or indirectly in this action.
 14          IN WITNESS WHEREOF, I have set my hand.
 15
 16
      s/Layli Phillips
 17   Layli Phillips
      Registered Professional Reporter
 18   Certified Realtime Reporter
      Certified Shorthand Reporter
 19   Certificate No. 084.003900
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